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                                                                                                                                          Current General                                        Current 503(b)(9)
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                 Creditor Name and Address                Claim No. Claim Date                      Debtor                                Unsecured Claim                                         Admin Priority
                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                 Amount
3D Medical Staffing, LLC
4700 S. 900 E.
Suite 13
Salt Lake City, UT 84117                                    529     2/14/2019           Promise Healthcare Group, LLC                            $54,587.63                                                                           $54,587.63
3M Company/3M Health Information Systems
Dentons US LLP
c/o Alison Elko Franklin
303 Peachtree St., NE
Suite 5300
Atlanta, GA 30308                                           1578    7/15/2019              Success Healthcare, LLC                                                                                                     $54,712.92     $54,712.92
3M Health Information Systems
3M Company
Dentons US LLP
c/o Alison Franklin
303 Peachtree St., NE, Suite 5300
Atlanta, GA 30308                                           1406    5/31/2019              Promise Healthcare, Inc.                               $8,755.29                                                                            $8,755.29
3M Health Information Systems
3M Company
Dentons US LLP
c/o Alison Franklin
303 Peachtree St., NE, Suite 5300
Atlanta, GA 30308                                           1410    5/31/2019              Success Healthcare, LLC                               $47,576.45                                                            $54,712.92    $102,289.37
9W Halo OpCo LP
Neal Quiriconi
1901 Myers, Suite 630
Oakbrook Terrace, IL 60181                                  474      2/4/2019           Promise Healthcare Group, LLC                           $305,602.60                                                                          $305,602.60
A&E TECHNICAL SERVICE, INC. DBA
204 CARNATION AVE.
METAIRIE, LA 70001                                          822     5/13/2019        Promise Hospital of Baton Rouge, Inc.                          $764.32                                                                             $764.32
AAA Safety Inc
Attn: Michelle Pons
PO Box 3296
Shreveport, LA 71133                                        1668     1/9/2020           Promise Healthcare Group, LLC                                                                                                     $441.29       $441.29
AAS Holdings LLC
320 Court Street
Plymouth, MA 02360                                          166     12/3/2018           Promise Healthcare Group, LLC                             $8,300.00                                                                            $8,300.00
Abbott Diabetes Care Sales Corporation
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         672      4/3/2019             Success Healthcare 1, LLC                               $4,275.01         $4,183.76                           $4,183.76                     $12,642.53
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         665      4/3/2019           Promise Healthcare Group, LLC                             $7,663.41                                             $4,022.45                     $11,685.86
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         673      4/3/2019      Promise Hospital of East Los Angeles, L.P.                   $125,873.72         $2,051.00                           $2,051.00                    $129,975.72
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         1662    10/10/2019     Promise Hospital of East Los Angeles, L.P.                   $125,873.72                                             $2,051.00      $13,470.00    $141,394.72
Abbott Diagnostics Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                         1667     1/3/2020      Promise Hospital of East Los Angeles, L.P.                   $127,924.72                                             $2,051.00                    $129,975.72


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Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           671      4/3/2019           Promise Hospital of Louisiana, Inc.                         $5,761.42                                              $472.64                       $6,234.06
Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           721      5/3/2019           Promise Hospital of Louisiana, Inc.                         $5,761.42                                                $31.51                      $5,792.93
Abbott Point of Care Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           531     2/15/2019       Promise Hospital of East Los Angeles, L.P.                     $14,803.29                                                                           $14,803.29
Abbott Point of Care Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           666      4/3/2019             Promise Healthcare Group, LLC                             $1,241.41                                                                            $1,241.41
ABI Arbor Inc
PO Box 352530
Palm Coast, FL 32135                                          158     12/6/2018     Promise Hospital of Florida at The Villages, Inc.                 $6,603.21                                                                            $6,603.21
Acadian Ambulance Service, Inc.
Attn: Bankruptcy
P.O. Box 92970
Lafayette, LA 70509                                           120     11/30/2018            Promise Healthcare Group, LLC                            $81,595.86                                                                           $81,595.86
Accident Fund Insurance Company of America
c/c Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                                        1411    5/31/2019                Promise Healthcare, Inc.                             $839,894.68                                                                          $839,894.68
Accident Fund Insurance Company of America
c/c Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                                        1582    7/15/2019                Promise Healthcare, Inc.                                                                                                   $839,894.68    $839,894.68
Accident Fund Insurance Company of America
c/o Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                                        1427    5/31/2019                 Success Healthcare, LLC                             $839,894.68                                                                          $839,894.68
Accident Insurance Company of America
Geoffrey T. Pavlic
200 N. Grand Avenue
P.O. Box 40785
Lansing, MI 48901-7985                                        1581    7/15/2019                 Success Healthcare, LLC                                                                                                   $839,894.68    $839,894.68
Account Management Services, Inc.
PO Box 2296
Cypress, CA 90630                                             213     12/11/2018            Promise Healthcare Group, LLC                             $3,695.68                                                                            $3,695.68
ACCOUNTABLE HEALTHCARE STAFFING,INC.
P.O. BOX 732800
DALLAS, TX 75373-2800                                         942     5/22/2019            Promise Hospital of Phoenix, Inc.                         $12,870.00                                                                           $12,870.00
ACCOUNTABLE HEALTHCARE STAFFING,INC.
P.O. BOX 732800
DALLAS, TX 75373-2800                                         965     5/22/2019     Promise Hospital of Florida at The Villages, Inc.                $19,476.13                                                                           $19,476.13
Accreon, Inc.
Kimberly Post, CFO
425 Boylston Street, 2nd Floor
Boston, MA 02116                                               54     11/27/2018                Success Healthcare, LLC                              $70,862.50                                                                           $70,862.50


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                                                                                                                                         Amount                                                 Amount
ACCUTEMP REFRIGERATION
3231 E WASHINGTON STREET
PHOENIX, AZ 85034                                      156     12/5/2018           Promise Healthcare Group, LLC                                                                                   $5,015.00                      $5,015.00
ACI SPECIALTY BENEFITS
6480 WEATHERS PLACE
SUITE 300
SAN DIEGO, CA 92121                                    891     5/20/2019           Promise Healthcare Group, LLC                               $650.00                                                                             $650.00
ACTION DUCT CLEANING CO., INC
2333 LINCOLN AVE.
ALTADENA, CA 91001                                     1528    6/10/2019             Success Healthcare 1, LLC                               $7,923.00                                                                            $7,923.00
ACTION DUCT CLEANING CO., INC.
2333 LINCOLN AVE
ALTADENA, CA 91001                                     1526    6/10/2019             Success Healthcare 1, LLC                               $7,923.00                                                                            $7,923.00
Adkins, Tangerine
4216 E. Imperial Hwy
Lynwood, CA 90262                                      732      5/6/2019      Promise Hospital of East Los Angeles, L.P.                                                                                           $2,500.00      $2,500.00
Adkins, Tangerine
PO Box 5071
Bellflower, CA 90707                                   730      5/6/2019           Promise Healthcare Group, LLC                             $2,500.00                                                                            $2,500.00
Advanced Medical Sales, Inc.
216 Avenida Fabricante #110
San Clemente , CA 92672                                140     12/3/2018           Promise Healthcare Group, LLC                               $998.00                                                                             $998.00
Advanced Quality Transport Service, Inc.
P.O. Box 4211
N. Fort Myers, FL 33918                                1670     1/9/2020           Promise Healthcare Group, LLC                                                                                                   $1,146.39      $1,146.39
Advantage Medical Professionals
3340 SEVERN AVE STE 320
METAIRIE, LA 70002                                     987     5/27/2019         Promise Hospital of Ascension, Inc.                        $70,799.31                                                                           $70,799.31
ADVANTAGE NURSING SERVICES INC
3340 SEVERN AVE STE 320
METAIRIE, LA 70002                                     1014    5/27/2019        Promise Hospital of Baton Rouge, Inc.                          $798.75                                                                             $798.75
ADVENTURE HEALTHCARE SOLUTIONS, INC.
P.O. BOX 244
CARDIFF, CA 92007                                      878     5/17/2019              Promise Healthcare, Inc.                               $9,108.04                                                                            $9,108.04
ADVENTURE HEALTHCARE SOLUTIONS, INC.
P.O. BOX 244
CARDIFF, CA 92007                                      879     5/17/2019              Promise Healthcare, Inc.                                                                                                     $9,108.04      $9,108.04
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   300      1/2/2019         Promise Hospital of Louisiana, Inc.                                          $48,265.22                                                         $48,265.22
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   301      1/2/2019         Promise Hospital of Salt Lake, Inc.                                          $12,079.67                                                         $12,079.67
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   302      1/2/2019         St. Alexius Hospital Corporation #1                                           $3,046.90                                                          $3,046.90




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                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                               Amount
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   303      1/2/2019            Promise Hospital of Phoenix, Inc.                                           $978.01                                                            $978.01
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   304      1/2/2019     Promise Hospital of Florida at The Villages, Inc.                                 $2,555.55                                                          $2,555.55
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   305      1/2/2019              Promise Hospital of Lee, Inc.                                           $11,765.72                                                         $11,765.72
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   306      1/2/2019                Success Healthcare 1, LLC                                             $14,653.87                                                         $14,653.87
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   307      1/2/2019           St. Alexius Hospital Corporation #1                                         $3,046.90                                                          $3,046.90
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   308      1/2/2019             Promise Hospital of Dallas, Inc.                                          $1,030.40                                                          $1,030.40
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   309      1/2/2019       Promise Hospital of East Los Angeles, L.P.                                    $344,717.89                                                        $344,717.89
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   310      1/2/2019            Promise Hospital of Phoenix, Inc.                                           $978.01                                                            $978.01
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   312      1/2/2019       Promise Hospital of East Los Angeles, L.P.                                    $344,719.89                                                        $344,719.89




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                                                                                                                                                               Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                 Amount
Aetna OPT
c/o McCarter & English, LLP
Attn: Kate R. Buck, Esq. & Matthew J. Rifino, Esq.
Renaissance Centre
405 N. King Street, Suite 800
Wilmington, DE 19801                                   314      1/2/2019            Promise Hospital of Baton Rouge, Inc.                                           $7,137.72                                                          $7,137.72
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                356     1/10/2019               Promise Healthcare Group, LLC                              $1,264.16                                                                            $1,264.16
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                357     1/10/2019             Promise Hospital of Ascension, Inc.                          $2,179.79                                                                            $2,179.79
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                361     1/10/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                 $119.99                                                                             $119.99
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                362     1/10/2019          Promise Hospital of East Los Angeles, L.P.                      $7,175.08                                             $1,845.78                      $9,020.86
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                376     1/10/2019               Promise Hospital of Dade, Inc.                             $5,135.72                                                                            $5,135.72
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit # 506
Coral Springs, FL 33067                                377     1/10/2019           Promise Hospital of Overland Park, Inc.                        $2,466.72                                              $201.72                       $2,668.44
Affordable Cartridge and Toner Depot, Inc.
4613 North University Drive
Unit #506
Coral Springs, FL 33067                                360     1/10/2019                Promise Hospital of Lee, Inc.                             $1,240.08                                                                            $1,240.08
Affordable Dentures
1048 US27 S Suite 1060
Avon Park, FL 33825                                    807     5/10/2019                Promise Hospital of Lee, Inc.                               $815.00                                                                             $815.00
Affordable Dentures Avon Park, PA
1048 US 275 Suite 1060
Avon Park, FL 33825                                    806     5/10/2019                Promise Hospital of Lee, Inc.                                                                                                     $815.00       $815.00
Aguilar, Luis
14455 SW 288 St
Homestead, FL 33033                                    399     1/16/2019               Promise Healthcare Group, LLC                                $675.00                                                                             $675.00
AIRE-MASTER
PO BOX 43258
PHOENIX, AZ 85080                                      842     5/14/2019              Promise Hospital of Phoenix, Inc.                           $2,505.48                                                                            $2,505.48
AirGas USA LLC
2015 Vaughn Rd Suite 400
Kennesaw, GA 30144                                     921     5/21/2019               Promise Healthcare Group, LLC                                                                                                    $1,942.52      $1,942.52
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                        512     2/14/2019            Promise Hospital of Wichita Falls, Inc.                         $956.10                                                                             $956.10
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                        513     2/14/2019       Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                               $0.00




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                                                                                                                                                          Amount                                                  Amount
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                     521     2/14/2019           Promise Hospital of Wichita Falls, Inc.                      $13,128.31                                              $2,476.01                     $15,604.32
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                     527     2/14/2019            Promise Hospital of Ascension, Inc.                            $792.50                                                                               $792.50
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                     532     2/14/2019      Promise Hospital of Florida at The Villages, Inc.                    $956.10                                                                               $956.10
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                     539     2/14/2019            Promise Hospital of Ascension, Inc.                          $7,845.65                                              $1,361.34                      $9,206.99
AIRGAS USA, LLC
PO BOX 532609
ATLANTA, GA 30353-2909                                              927     5/21/2019              Promise Healthcare Group, LLC                              $1,930.03                                                                             $1,930.03
Airscan Technologies
131 Davis Ct
Springtown, TX 76082                                                439     1/18/2019              Promise Healthcare Group, LLC                              $1,725.00                                                                             $1,725.00
AirSpec, Inc.
1310 North Shore Drive
Leesburg, FL 34748                                                  1684    1/17/2020              Promise Healthcare Group, LLC                                                                                                     $1,150.00      $1,150.00
Akanke Butterfield Trust (Bermuda)
Clarien Trust Limited as Trustee of Jeanne Adele Strong Burdick
Gift Trust
25 Reid Street
Hamilton, HM 11
Bermuda                                                             1314    5/30/2019              Promise Healthcare Group, LLC                                  $0.00                                                                                 $0.00
AKF3 YAMATO, LLC
ARENT FOX LLP
BETH M. BROWNSTEIN, ESQ
1301 AVENUE OF THE AMERICAS FLOOR 42
NEW YORK, NY 10019                                                  1115    5/29/2019                  Promise Healthcare, Inc.                              $93,810.42                                                                            $93,810.42
AKF3 Yamato, LLC
Arent Fox LLP
Beth M. Brownstein, Esq.
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                                  1116    5/29/2019                  Promise Healthcare, Inc.                                                                                                      $9,228.94      $9,228.94
AKF3 Yamato, LLC
Beth M. Brownstein, Esq
Arent Fox LLP
1301 Avenue of the Americas, Floor 42
New York, NY 10019                                                  1664    11/1/2019                  Promise Healthcare, Inc.                            $1,038,008.09                              $0.00                         $24,496.80   $1,062,504.89
ALACHUA COUNTY
PO BOX 5038
GAINESVILLE, FL 32627                                               1401    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                  $2,399.25                                                                             $2,399.25
Alamo Mobile X-Ray and EKG Services, Inc.
Attn: Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                               317      1/4/2019           Promise Hospital of Wichita Falls, Inc.                      $30,855.00                                                                            $30,855.00
Alamo Mobile X-Ray and EKG Services, Inc.
Attn: Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                               327      1/4/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $6,730.00                                                                             $6,730.00
Alamo Mobile X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                                           344      1/8/2019               Promise Hospital of Dallas, Inc.                         $35,830.00                                                                            $35,830.00

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Alamo Mobile X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                                         347      1/8/2019           Promise Hospital of Wichita Falls, Inc.                      $30,855.00                                                                           $30,855.00
Alamo Moblie X-Ray and EKG Services, Inc.
Samuel Weinberg
100 Challenger Road, Suite 105
Ridgefield Park, NJ 07660                                         346      1/8/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $6,730.00                                                                            $6,730.00
Alamo X-Ray and EKG Services, Inc.
Samuel Weinberg
4400 Piedras Dr. S., Ste. 140
San Antonio, TX 78228                                             328      1/4/2019                    HLP HealthCare, Inc.                                $35,830.00                                                                           $35,830.00
Alere Informatics, Inc.
c/o Kohner, Mann & Kailas, S.C.
Samuel C. Wisotzkey, Esq.
4650 North Port Washington Rd.
Milwaukee, WI 53212                                               1047    5/29/2019         Promise Hospital of East Los Angeles, L.P.                      $8,090.96                                                                            $8,090.96

Algos Inc a medical corporation, dba Synovation Medical Group
Attn: Clayton A Varga MD
224 N Fair Oaks Ave
Suite 300
Pasadena, CA 91103                                                1471    5/30/2019         Promise Hospital of East Los Angeles, L.P.                                                                                           $36,751.62     $36,751.62
ALIMED INC.
P.O. BOX 9135
DEDHAM, MA 02026-9135                                             1554    6/28/2019              Promise Healthcare Group, LLC                              $1,524.44                                                                            $1,524.44
ALL FLOORING KANSAS CITY
130 KENSINGTON AVENUE
KANSAS CITY, MO 64123                                             1550    6/17/2019          Promise Hospital of Overland Park, Inc.                          $660.00                                                                             $660.00
All Town Ambulance L.L.C.
13812 Saticoy St. "A"
Panorama City, CA 91402                                           260     12/26/2018             Promise Healthcare Group, LLC                             $29,000.00                                                                           $29,000.00
All Town Ambulance L.L.C.
13812 Saticoy St. "A"
Panorama City, CA 91402                                           297     12/26/2018             Promise Healthcare Group, LLC                              $8,858.82                                                                            $8,858.82
ALL VETERANS NURSE STAFFING INC
438 CAMINO DEL RIO SO.
SUITE 101
SAN DIEGO, CA 92108                                               1415    5/30/2019                    Quantum Health, Inc.                                 $3,880.50                                                                            $3,880.50
ALLCARE NURSING SERVICES INC.
3675 HUNTINGTON DR.,
STE 228
PASADENA, CA 91107                                                847     5/14/2019         Promise Hospital of East Los Angeles, L.P.                                                                                           $49,996.64     $49,996.64
ALLCARE NURSING SERVICES INC.
3675 HUNTINGTON DR.,
STE 228
PASADENA, CA 91107                                                848     5/14/2019         Promise Hospital of East Los Angeles, L.P.                                                                           $49,996.64                     $49,996.64
Alpha Nursing Services, Inc.
820 Jordan St.
Suite 308
Shreveport, LA 71101                                              325      1/3/2019           Promise Properties of Shreveport, LLC                        $16,301.58                                                                           $16,301.58
Alphatec Spine, Inc.
c/o Commercial Collection Consultants
Attn: Thomas R. Atkins
16830 Ventura Blvd., Suite 620
Encino, CA 91436                                                  1665    11/25/2019                Success Healthcare 1, LLC                              $58,562.08                                                                           $58,562.08


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                Creditor Name and Address                Claim No. Claim Date                          Debtor                                Unsecured Claim                                         Admin Priority
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Alsco, Inc Wichita Falls
2816 Central Expressway East
Wichita Falls, TX 76301                                     63     11/28/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.             $17,609.18                                                                           $17,609.18
ALVARADO HOSPITAL, LLC
JOANNA COX, PATIENT FINANCIAL SVS. DIRECTOR
6655 ALVARADO ROAD
SAN DIEGO, CA 92120                                        892     5/20/2019           Promise Healthcare of California, Inc.                       $83,697.00                                                                           $83,697.00
Ambitrans Medical Transport, Inc.
Latham, Shuker, Eden & Beaudine, LLP
Justin M. Luna, Esq.
PO Box 3353
Orlando, FL 32802-3353                                     849     5/14/2019                Promise Hospital of Lee, Inc.                          $159,767.33                                                                          $159,767.33
Ambs Message Center, Inc. dba Ambs Call Center
PO Box 1325
Jackson, MI 49204                                          277     12/26/2018             Promise Healthcare Group, LLC                                $985.44                                                                             $985.44
AMBULIFE AMBULANCE INC.
6644 VAN NUYS BLVD., SUITE B
VAN NUYS, CA 91405                                         595     2/25/2019              Promise Healthcare Group, LLC                             $29,584.05                                                                           $29,584.05
Ameren Missouri
Bankruptcy Desk MC 310
P.O. Box 66881
Saint Louis , MO 63166                                     276     12/26/2018             Promise Healthcare Group, LLC                             $21,233.01                                                                           $21,233.01
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                                        519     2/14/2019              Promise Healthcare Group, LLC                              $2,194.97                                                                            $2,194.97
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                                        584     2/25/2019          Promise Hospital of Overland Park, Inc.                        $6,423.37                                                                            $6,423.37
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                                        520     2/14/2019           Promise Hospital of Wichita Falls, Inc.                       $2,194.97                                                                            $2,194.97
AMERICAN DIAGNOSTIC SERVICES
PO BOX 62510
BALTIMORE, MD 21264                                        530     2/14/2019               Promise Hospital of Dallas, Inc.                          $6,582.51                                                                            $6,582.51
American Express Travel Related Services Company, Inc.
Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701                                      14     11/15/2018                 Promise Healthcare, Inc.                              $43,471.62                                                                           $43,471.62
American Medical Response of Maricopa, LLC
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                       1269    5/30/2019             Promise Hospital of Phoenix, Inc.                         $100,298.83                                                                          $100,298.83
American Pad-Ex. Inc.
P.O. Box 2257
Gardena, CA 90247                                          404     1/14/2019              Promise Healthcare Group, LLC                             $18,744.50                                                                           $18,744.50
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                       271     12/20/2018        Promise Hospital of East Los Angeles, L.P.                     $82,976.59                                                                           $82,976.59
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                       275     12/20/2018        Promise Hospital of East Los Angeles, L.P.                                                                           $18,662.00                     $18,662.00
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                       366      1/7/2019            St. Alexius Hospital Corporation #1                         $12,400.01                                                                           $12,400.01

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American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                          367      1/7/2019                Success Healthcare 1, LLC                             $27,927.57                                                                           $27,927.57
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                          368      1/7/2019           St. Alexius Hospital Corporation #1                                                                               $3,082.00                      $3,082.00
American Red Cross
Lori Polacheck, Esq.
431 18th St. NW
Washington, DC 20006                                          369      1/7/2019                Success Healthcare 1, LLC                                                                                    $5,029.00                      $5,029.00
AmeriHealth Caritas Louisiana, Inc.
Lucian B. Murley, Esquire
Saul Ewing Arnstein & Lehr LLP
1201 North Market Street, Suite 2300
P.O. Box 1266
Wilmington, DE 19899                                          1158    5/30/2019                Promise Healthcare, Inc.                             $738,361.87                                                                          $738,361.87
AmeriHealth Caritas Louisiana, Inc.
Saul Ewing Arnstein & Lehr LLP
1201 N. Market Street, Suite 2300
P.O. Box 1266
Wilmington, DE 19899                                          1212    5/30/2019           Promise Hospital of Ascension, Inc.                       $738,361.87                                                                          $738,361.87

Ameripath Florida, LLC d/b/a/ Ameripath Southwest Florida
Revenue Services
14275 Midway Rd #300
Addison, TX 75001                                             1558     7/8/2019              Promise Hospital of Lee, Inc.                            $1,500.00                                                                            $1,500.00
Amerita, Inc
6912 S. Quentin St. Ste 50
Centennial, CO 80112                                          997     5/28/2019           Promise Hospital of Salt Lake, Inc.                        $81,230.00                                                                           $81,230.00
AMP STAFFING NETWORK, LLC
JOHN Y. IGARASHI, ESQ.
18021 COWAN
IRVINE, CA 92614                                              636     3/14/2019             Promise Healthcare Group, LLC                             $5,872.83                        $101,216.17                                       $107,089.00
Andersen Commercial Plumbing, LLC
190 E. Arrow Highway
San Dimas, CA 91773                                            66     11/28/2018            Promise Healthcare Group, LLC                             $1,862.46                                                                            $1,862.46
Andersen's Door Service, Inc.
10539 Dale Ave.
Stanton, CA 90680                                             692     4/17/2019       Promise Hospital of East Los Angeles, L.P.                        $557.50                                                                             $557.50
Andersen's Door Service, Inc.
10539 Dale Ave.
Stanton, CA 90680                                             701     4/25/2019       Promise Hospital of East Los Angeles, L.P.                      $9,334.19                                                                            $9,334.19
AngioDynamics Inc
P.O. Box 1549
Albany, NY 12201-1549                                         1070    5/24/2019     Promise Hospital of Florida at The Villages, Inc.                 $3,969.06                                                                            $3,969.06
AngioDynamics, Inc
14 Plaza Drive
Latham, NY 12110                                              967     5/24/2019                Success Healthcare 1, LLC                                $812.00                                                                             $812.00
ANGIODYNAMICS, INC
P.O. BOX 1549
ALBANY, NY 12201-1549                                         1011    5/24/2019       Promise Hospital of East Los Angeles, L.P.                      $3,245.76                                                                            $3,245.76
AngioDynamics, Inc.
PO Box 1549
Albany, NY 12201-1549                                         983     5/24/2019       Promise Hospital of East Los Angeles, L.P.                      $3,245.76                                                                            $3,245.76


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                                                                                                                                    Amount                                                  Amount
Apodaca, Mark
1749 Sierra Bonita Drive
Placentia, CA 92870                          1175    5/30/2019                  Success Healthcare 1, LLC                                                 $50,074.00                                                         $50,074.00
Argon Medical Devices Inc
1445 Flat Creek Rd
Athens, TX 75751                             619     3/20/2019               Promise Healthcare Group, LLC                               $3,600.00                                                                            $3,600.00
Arjo Inc.
2349 W. Lake Street
Suite 250
Addison, IL 60101                            1635    7/26/2019          Promise Hospital of East Los Angeles, L.P.                      $77,297.87                                                                           $77,297.87
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                          318     12/27/2018         Promise Hospital of East Los Angeles, L.P.                      $75,283.60                                                                           $75,283.60
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                          651     3/22/2019               Promise Healthcare Group, LLC                              $31,233.89                                                                           $31,233.89
Arjo Inc.
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                          702     4/23/2019               Promise Healthcare Group, LLC                              $31,233.89                                                                           $31,233.89
Arkadin Inc
Tonya Booth
1501 E. Woodfield Road
Schaumburg , IL 60173                        407     1/14/2019               Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Arkadin, Inc.
1501 E. Woodfield Road Suite 400E
Schaumburg, IL 60173                         818     5/13/2019               Promise Healthcare Group, LLC                              $11,627.97                                                                           $11,627.97
Arkadin, Inc.
1501 E. Woodfield
Suite 400E
Schaumburg, IL 60173                         819     5/13/2019               Promise Healthcare Group, LLC                                                                                                    $11,627.97     $11,627.97
ARROW INTERNATIONAL INC.
3015 CAMINGTON MILL BLVD., SUITE 300
MORRISVILLE, NC 27560-8871                   623      3/7/2019               Promise Healthcare Group, LLC                               $1,982.12                                                                            $1,982.12
Arthrex Inc.
14550 Plantation Rd
Fort Myers , FL 33912                        233     12/17/2018                 Success Healthcare 1, LLC                                $2,902.83                                                                            $2,902.83
ASAP Express Delivery, LLC
517 W 67th St
Shreveport, LA 71106                         772      5/9/2019             Promise Hospital of Louisiana, Inc.                                                                                                   $696.00       $696.00
ASAP Express Delivery, LLC
PO Box 6620
Shreveport, LA 71136                         771      5/9/2019             Promise Hospital of Louisiana, Inc.                            $696.00                                                                              $696.00
Aspire Bariatrics Inc.
3200 Horizon Drive, Suite 100
King of Prussia, PA 19406                     46     11/26/2018              Promise Healthcare Group, LLC                              $14,389.41                                                                           $14,389.41
ASSISTED TRANSPORTATION SERVICES
101 S. KANSAS AVE.
TOPEKA, KS 66603                             838     5/14/2019           Promise Hospital of Overland Park, Inc.                        $17,828.23                                                                           $17,828.23
ASSISTED TRANSPORTATION SERVICES
101 S. KANSAS AVE.
TOPEKA, KS 66603                             853     5/14/2019    Promise Skilled Nursing Facility of Overland Park, Inc.               $40,116.08                                                                           $40,116.08
ASSISTED TRANSPORTATION SERVICES, INC.
1625 S 45TH STREET
KANSAS CITY, KS 66106                        839     5/14/2019           Promise Hospital of Overland Park, Inc.                        $31,500.00                                                                           $31,500.00

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                                                                                                                                        Amount                                                Amount
AT ABATEMENT SERVICES, INC
4915 STILLWELL
KANSAS CITY, MO 64120                              760      5/7/2019               Promise Healthcare, Inc.                                $3,105.00                                                                            $3,105.00
AT&T Corp
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                               867     5/17/2019            Promise Healthcare Group, LLC                              $5,328.26                                                                            $5,328.26
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                               809     5/13/2019       Promise Hospital of East Los Angeles, L.P.                       $789.69                                                                              $789.69
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                               870     5/17/2019               Success Healthcare, LLC                                $10,156.30                                                                           $10,156.30
AT&T Corp
c/o AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                               872     5/17/2019          St. Alexius Hospital Corporation #1                          $7,261.56                                                                            $7,261.56
Atlantic Biologicals Corp.
d/b/a National Apothecary Solutions
20101 NE 16th Place
Miami, FL 33179                                    167     12/10/2018          Promise Hospital of Phoenix, Inc.                           $8,296.95                                                                            $8,296.95
Atmos Energy Corporation
Attn: Bankruptcy Group
PO Box 650205
Dallas, TX 75265                                   253     12/24/2018           Promise Healthcare Group, LLC                              $3,406.57                                                                            $3,406.57
AUSTIN HIGHLAND HOLDINGS, LP
3 GREENWAY PLAZA, SUITE 1000
HOUSTON, TX 77046                                  604     2/26/2019            Promise Healthcare Group, LLC                            $282,735.00                                                                          $282,735.00
AVT - Florida, L.P. ( f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                       1251    5/29/2019               Promise Healthcare, Inc.                              $138,955.72                        $149,710.19                                       $288,665.91
AVT - Florida, L.P. ( f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                       1317    5/29/2019               Promise Healthcare, Inc.                              $106,061.45                        $125,228.31                                       $231,289.76
AVT - Florida, L.P. (f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                       1039    5/29/2019               Promise Healthcare, Inc.                              $234,732.97                        $497,943.77                                       $732,676.74
AVT - Florida, L.P. (f/k/a TFG-Florida, L.P.)
Attn: General Counsel
6995 Union Park Center, Suite 400
Cottonwood Heights, UT 84047                       1040    5/29/2019               Promise Healthcare, Inc.                              $270,769.45                        $439,945.00                                       $710,714.45
Axis Satellite
5790 Enterprise Pkwy
Fort Myers, FL 33905                               165     12/4/2018            Promise Healthcare Group, LLC                               $503.00                                                                              $503.00




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                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                        Amount                                                 Amount
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West
Suite 300
San Diego, CA 92121                                                503     2/11/2019        Promise Hospital of Wichita Falls, Inc.                        $9,596.00                                                                               $9,596.00
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West, Suite 300
San Diego, CA 92121                                                500     2/11/2019           Promise Hospital of Phoenix, Inc.                              $96.00                                                                                 $96.00
Aya Healthcare, Inc.
Legal Department
5930 Cornerstone Court West, Suite 300
San Diego, CA 92121                                                505     2/11/2019          St. Alexius Hospital Corporation #1                        $350,084.51                                                                            $350,084.51
B & I Contractors
c/o Michael F Kayusa, Esq.
2077 First Street, #201
Fort Myers, FL 33901                                               1101    5/28/2019            Promise Hospital of Dade, Inc.                            $16,988.49                                                                             $16,988.49
B & I Contractors
c/o Michael F. Kayusa, Esq.
2077 First Street, Suite 201
Fort Myers, FL 33901                                               1100    5/28/2019             Promise Hospital of Lee, Inc.                            $37,852.11                                                                             $37,852.11
Balboa Capital Corporation
575 Anton Boulevard
12th Floor
Costa Mesa, CA 92626                                               1293    5/29/2019        Promise Hospital of Wichita Falls, Inc.                       $13,020.25                                                                             $13,020.25
Bales, Robert Michael
608 Durning Road
Lexington, KY 40509                                                1513    5/31/2019            Promise Healthcare Group, LLC                                  $0.00                                                                                  $0.00
Banks, Carmalita
P.O. Box 125
La Harpe, KS 66751                                                 1694    1/28/2020            Promise Healthcare Group, LLC                                                                                                         $0.00           $0.00
BARAN JR. MD, JOSEPH
PO BOX 3399
SAN DIEGO, CA 92163                                                775      5/9/2019                 Quantum Health, Inc.                                  $5,700.00                                                                               $5,700.00
Barbara Taylor, Deborah Harris, Jacquelyn Taylor, Andre Taylor
and Tina Davis.
Robert J. Liskey
The Liskey Law Firm
117 E. Colorado Blvd., Suite 600
Pasadena, CA 91105                                                 1161    5/29/2019       Promise Hospital of East Los Angeles, L.P.                   $5,000,000.00                                                                          $5,000,000.00
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                                 1002    5/23/2019               Promise Healthcare, Inc.                                    $0.00                      $10,506,641.91                                      $10,506,641.91
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                                 1003    5/23/2019               Success Healthcare, LLC                                                                $10,506,641.91                                      $10,506,641.91
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                                 1007    5/23/2019               Promise Healthcare, Inc.                              $914,276.20                                                                            $914,276.20
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                                 1008    5/23/2019          Promise Hospital of Louisiana, Inc.                              $0.00                      $10,506,641.91                                      $10,506,641.91
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                                                 1029    5/23/2019        Promise Properties of Shreveport, LLC                              $0.00                      $10,506,641.91                                      $10,506,641.91




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                                                                                                                                  Amount                                                Amount
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                         1052    5/23/2019             Bossier Land Acquisition Corp.                                  $0.00                     $10,506,641.91                                    $10,506,641.91
Baronoff, Peter R.
25652 El Chaval Place
Temecula, CA 92590                         1078    5/23/2019                 Success Healthcare, LLC                               $914,276.20                                                                          $914,276.20
Barritt, Jason
Denise Griffith, Esq.
16835 Algonquin St. Suite 307
Huntington Beach, CA 92649                 574     2/25/2019                  Quantum Health, Inc.                                   $9,958.15                                                                            $9,958.15
Baton Rouge General Medical Center
Mr. Corey A. Doughty
9490 Picardy Ave., Bldg 100
Baton Rouge, LA 70809                      1072    5/24/2019         Promise Hospital of Baton Rouge, Inc.                         $746,084.14                                                                          $746,084.14
BATON ROUGE GENERAL MEDICAL CENTER
MR. COREY A. DOUGHTY
9490 PICARDY AVE., BLDG 100
BATON ROUGE, LA 70809                      1074    5/24/2019         Promise Hospital of Baton Rouge, Inc.                         $127,893.25                                                                          $127,893.25
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         83     11/20/2018        Promise Hospital of Baton Rouge, Inc.                           $3,766.40                                                                            $3,766.40
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         84     11/20/2018        Promise Hospital of Overland Park, Inc.                         $8,773.71                                                                            $8,773.71
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         85     11/20/2018          Promise Hospital of Ascension, Inc.                          $18,813.53                                                                           $18,813.53
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         86     11/20/2018               Success Healthcare 1, LLC                                $7,889.45                                                                            $7,889.45
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         93     11/20/2018      Promise Hospital of East Los Angeles, L.P.                       $54,289.60                                                                           $54,289.60
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         94     11/20/2018             Promise Hospital of Lee, Inc.                              $7,484.01                                                                            $7,484.01
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         95     11/20/2018           Promise Hospital of Phoenix, Inc.                            $5,938.35                                                                            $5,938.35
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         96     11/20/2018            Promise Hospital of Dade, Inc.                              $3,462.17                                                                            $3,462.17
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         97     11/20/2018    Promise Hospital of Florida at The Villages, Inc.                   $8,509.34                                                                            $8,509.34
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                         98     11/20/2018          Promise Hospital of Vicksburg, Inc.                            $446.15                                                                              $446.15
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        100     11/20/2018      Professional Rehabilitation Hospital, L.L.C.                      $7,938.65                                                                            $7,938.65
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        101     11/20/2018          Promise Hospital of Salt Lake, Inc.                           $1,614.67                                                                            $1,614.67
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                        102     11/20/2018          Promise Hospital of Louisiana, Inc.                          $20,753.53                                                                           $20,753.53

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                                                                                                                                  Amount                                                  Amount
Baxter Healthcare
1 Baxter Pkwy, DF3-2E
Deerfield, IL 60015                           110     11/20/2018                Quantum Health, Inc.                                       $0.00                                                                                $0.00
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                            189     12/11/2018      Promise Hospital of East Los Angeles, L.P.                                       $208,000.00                                                        $208,000.00
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                            917     5/22/2019       Promise Hospital of East Los Angeles, L.P.                     $157,212.18                                                                          $157,212.18
BE WELL NURSING LLC
815 S. CENTRAL AVE.
SUITE 1
GLENDALE, CA 91204                            918     5/22/2019               Success Healthcare 1, LLC                              $157,212.18                                                                          $157,212.18
Beckman Coulter, Inc.
250 S. Kraemer Blvd. - D1.NW.03
Brea, CA 92821                                209     12/10/2018        Promise Hospital of Baton Rouge, Inc.                          $8,437.94                                                                            $8,437.94
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1404    5/31/2019             Promise Hospital of Dade, Inc.                            $32,440.84                                            $18,245.05                     $50,685.89
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1405    5/31/2019         Promise Hospital of Wichita Falls, Inc.                                                                              $8,058.96                      $8,058.96
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1407    5/31/2019        Promise Hospital of Overland Park, Inc.                                                                               $7,560.00                      $7,560.00
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1651    10/10/2019      Professional Rehabilitation Hospital, L.L.C.                    $58,497.84                                                                           $58,497.84
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1652    10/10/2019          Promise Hospital of Louisiana, Inc.                         $66,709.39                                                                           $66,709.39
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                              1653    10/10/2019             Promise Hospital of Lee, Inc.                            $24,828.00                                                                           $24,828.00




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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                Amount
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1654    10/10/2019           Promise Hospital of Phoenix, Inc.                           $52,746.43                                                                           $52,746.43
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1655    10/10/2019               Success Healthcare 1, LLC                               $45,068.48                                                                           $45,068.48
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1656    10/10/2019          Promise Hospital of Vicksburg, Inc.                          $20,297.90                                                                           $20,297.90
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1657    10/10/2019          St. Alexius Hospital Corporation #1                          $58,185.02                                                                           $58,185.02
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1658    10/10/2019          Promise Hospital of Salt Lake, Inc.                          $60,907.85                                                                           $60,907.85
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1659    10/10/2019      Promise Hospital of East Los Angeles, L.P.                       $88,941.35                                                                           $88,941.35
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1660    10/10/2019          Promise Hospital of Ascension, Inc.                          $30,630.00                                                                           $30,630.00
Becton, Dickinson and Company
McCarter & English, LLP
Attn: Lisa S. Bonsall, Esq.
100 Mulberry Street
Four Gateway Center
Newark, NJ 07102                             1661    10/10/2019    Promise Hospital of Florida at The Villages, Inc.                  $22,164.10                                                                           $22,164.10
BEJARANO, GINA
6214 COLLEGE AVE
SAN DIEGO, CA 92120                          1294    5/30/2019                  Quantum Health, Inc.                                                    $11,033.57                                                         $11,033.57
Bejarano, Gina Maria
6214 College Ave
San Diego , CA 92120                         1459    5/30/2019             Promise Healthcare Group, LLC                                                                                                    $11,033.57     $11,033.57
BEJARANO, JOSE LOIS
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                         1720    2/26/2020             Promise Healthcare Group, LLC                                                                                                    $80,000.00     $80,000.00

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                                                                                                                                                                           Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                         Amount                                                  Amount
BellSouth Telecommunications, Inc.
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                                869     5/17/2019       Professional Rehabilitation Hospital, L.L.C.                    $11,522.19                                                                            $11,522.19
Ben Phillips obo Everlean Phillips
Law Office of Gia Kosmitis, APLC
3316 Line Avenue
Shreveport, LA 71104                                                626     3/11/2019             Promise Healthcare Group, LLC                           $1,000,000.00                                                                         $1,000,000.00
Bendler Boiler & Mechanical Co.
PO Box 1467
High Ridge, MO 63049                                                 81     11/29/2018            Promise Healthcare Group, LLC                                $789.00                                                                               $789.00
Bendler Boiler & Mechanical Co.
PO Box 1467
High Ridge, MO 63049                                                 82     11/29/2018            Promise Healthcare Group, LLC                              $1,200.00                                                                             $1,200.00
Best Global Alternative LTD
PO Box 39
Atlantic Beach, NY 11509                                            143     12/3/2018             Promise Healthcare Group, LLC                             $31,147.42                                                                            $31,147.42
Best Global Alternative LTD
PO Box 39
Atlantic Beach, NY 11509                                            1521     6/6/2019             Promise Healthcare Group, LLC                             $31,147.42                                                                            $31,147.42
Bio Medical Application of Florida, Inc. d/b/a Naples Inpatient
Services
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              385     1/11/2019              Promise Hospital of Lee, Inc.                            $84,543.39                                                                            $84,543.39
Bio Medical Application of Florida, Inc. d/b/a Naples Inpatient
Services
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              1568    7/12/2019             Promise Properties of Lee, Inc.                                                                                                   $3,849.21      $3,849.21

Bio-Medical Application of Florida, Inc. d/b/a BMA Gainesville
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                   380     1/11/2019     Promise Hospital of Florida at The Villages, Inc.                 $86,892.87                                                                            $86,892.87

Bio-Medical Applications of Florida, Inc. d/b/a BMA Gainesville
C/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              1569    7/12/2019     Promise Hospital of Florida at The Villages, Inc.                                                                                         $1,102.10      $1,102.10
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waktham, MA 02451                                                   379     1/11/2019         Promise Hospital of Baton Rouge, Inc.                        $143,447.34                                                                           $143,447.34
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451-1457                                              1118    5/29/2019           Promise Hospital of Ascension, Inc.                         $63,734.99                                                                            $63,734.99

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                                                                                                                                                       Amount                                                Amount
Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis
Services Baton Rouge
Fresenius Medical Care North America
Attn: Sharon Taher
920 Winter Street
Waltham, MA 02451                                                 525     2/13/2019          Promise Hospital of Ascension, Inc.                        $143,447.34                                                                          $143,447.34
Bio-Medical Applications of Louisiana, LLC d/b/a Shreveport
Regional Dialysis Center
1111 Medical Center
Boulevard Suite S-150
Marrero, LA 70072                                                 384     1/11/2019          Promise Hospital of Louisiana, Inc.                        $121,834.25                                                                          $121,834.25
Bio-Medical Applications of Louisiana, LLC d/b/a Shreveport
Regional Dialysis Center
Fresenius Medical Care North America
Attn: Sharon Taher & Russell P. Plato
920 Winter Street
Waltham, MA 02451                                                 1270    5/29/2019          Promise Hospital of Louisiana, Inc.                        $198,300.36                                                                          $198,300.36
BioMerieux, Inc
100 Rodolphe Street
Durham, NC 27712                                                   57     11/27/2018      Promise Hospital of East Los Angeles, L.P.                     $11,172.92                                                                           $11,172.92
BIOMERIEUX, INC
P.O. BOX 500308
ST LOUIS, MO 63150-0308                                           1363    5/31/2019       Promise Hospital of East Los Angeles, L.P.                     $11,172.92                                                                           $11,172.92
Bio-Rad Laboratories, Inc.
Legal Dept.
1000 Alfred Nobel Drive, Mailstop 1-130
Hercules, CA 94547                                                331      1/4/2019            Promise Healthcare Group, LLC                              $2,347.97                                                                            $2,347.97
BIOTRONIK INC.
6024 JEAN ROAD
LAKE OSWEGO, OR 97035-5369                                         52     11/27/2018         St. Alexius Hospital Corporation #1                         $83,541.67                                                                           $83,541.67
Blue Cross of California d/b/a/ Anthem Blue Cross
c/o Shipman & Goodwin LLP
attn: Eric Goldstein
One Constitution Plaza
Hartford, CT 06103                                                1122    5/30/2019       Promise Hospital of East Los Angeles, L.P.                                                       $183,020.38                                       $183,020.38
Body Sealer Inc.
2025 Merrick Rd.
Merrick, NY 11566                                                 258     12/26/2018        Promise Healthcare of California, Inc.                         $230.38                                                                              $230.38
BOSSIER CITY-PARISH SALES & TAX
P.O. BOX 71313
BOSSIER CITY, LA 71171                                            792     5/10/2019            Promise Healthcare Group, LLC                                                $1,721.65                                                          $1,721.65
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                                             585     2/25/2019            Promise Hospital of Dallas, Inc.                           $1,852.71                                                                            $1,852.71
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                                             586     2/25/2019       Promise Hospital of East Los Angeles, L.P.                     $14,452.94                                                                           $14,452.94
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                                             587     2/26/2019            Promise Healthcare Group, LLC                            $255,015.23                                                                          $255,015.23
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                                             598     2/26/2019            Promise Healthcare Group, LLC                             $40,132.82                                              $660.64                      $40,793.46

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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                Amount
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                        600     2/26/2019              Promise Hospital of Phoenix, Inc.                          $12,303.09                                                                           $12,303.09
Boston Scientific Corporation
c/o Steven D Sass LLC
PO Box 45
Clarksville, MD 21029                        601     2/26/2019                Promise Hospital of Dade, Inc.                            $3,343.26                                                                            $3,343.26
BRAMMS Corp dba Southwest Portable Air
Southwest Portable Air
3317 S Higley Rd Suite 114-120
Gilbert, AZ 85297                            199     12/12/2018             Promise Hospital of Phoenix, Inc.                            $999.92                                                                              $999.92
BRANTLEY, TAMARA
1608 CHRISTINE ROAD
WICHITA FALLS, TX 76302                      754      5/7/2019               Promise Healthcare Group, LLC                                                    $0.00                                                             $0.00
Brian's Plumbing
901 Ohio
Wichita Falls, TX 76301                       28     11/20/2018              Promise Healthcare Group, LLC                                $60.00                           $6,660.17                                         $6,720.17
Brian's Plumbing
901 Ohio
Wichita Falls, TX 76301                      741      5/6/2019            Promise Hospital of Wichita Falls, Inc.                         $60.00                           $6,660.17                                         $6,720.17
Brink's Incorporated
Lyndel Anne Vargas/ CHP
900 Jackson St., Suite 570
Dallas, TX 75202                             1701    1/30/2020          Promise Hospital of East Los Angeles, L.P.                                                                                            $3,218.21      $3,218.21
Brink's Incorporated
Lyndel Anne Vargas/CHP
900 Jackson St, Ste 570
Dallas, TX 75202                             1700    1/30/2020          Promise Hospital of East Los Angeles, L.P.                                                                                            $3,218.21      $3,218.21
Brink's, Incorporated
Cavazos Hendricks Poirot, P.C.
Attn: Lyndel Vargas
900 Jackson, Suite 570
Dallas, TX 75202                             689     4/12/2019          Promise Hospital of East Los Angeles, L.P.                      $3,246.45                                                                            $3,246.45
BROOKS, JAMES
1541 NW 48TH PL
BOCA RATON, FL 33431                         533     2/19/2019               Promise Healthcare Group, LLC                             $37,639.15                                                                           $37,639.15
Brooks, James
1541 NW 48th Pl
Boca Raton, FL 33431                         1570    7/14/2019                  Promise Healthcare, Inc.                                                 $20,395.00                                                         $20,395.00
Brown, Doris
4979 HWY 27
Vicksburg, MS 39180                          1010    5/28/2019               Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Brown, Doris
4979 Hwy 27
Vicksburg, MS 39180                          1189    5/28/2019               Promise Healthcare Group, LLC                                                                                                        $0.00         $0.00
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                           1389    5/31/2019            HLP Properties at the Villages, L.L.C.                           $0.00                                                                                $0.00
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                           1390    5/31/2019         HLP Properties at the Villages Holdings, LLC                        $0.00                                                                                $0.00
Brown, James F
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                           1397    5/31/2019    Promise Behavioral Health Hospital of Shreveport, Inc.                   $0.00                                                                                $0.00




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                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                      Amount                                                Amount
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1186    5/31/2019                     HLP Properties, Inc.                                     $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1190    5/31/2019                    Quantum Health, Inc.                                      $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1198    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                   $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1201    5/31/2019              Promise Healthcare Holdings, Inc.                               $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1202    5/31/2019                  Quantum Properties, L.P.                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1204    5/31/2019                    HLP HealthCare, Inc.                                      $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1205    5/31/2019           Promise Properties of Shreveport, LLC                              $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1207    5/31/2019          Promise Hospital of East Los Angeles, L.P.                          $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1208    5/31/2019            Promise Hospital of Wichita Falls, Inc.                           $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1221    5/31/2019       Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1224    5/31/2019            Promise Healthcare of California, Inc.                            $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1225    5/31/2019                 Promise Healthcare #2, LLC                                   $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1227    5/31/2019                  Promise Healthcare, Inc.                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1234    5/31/2019                   HLP of Los Angeles, LLC                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1240    5/31/2019               Promise Healthcare Group, LLC                                  $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1242    5/31/2019                   Success Healthcare, LLC                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1243    5/31/2019               Promise Hospital of Dallas, Inc.                               $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1244    5/31/2019            Promise Hospital of Baton Rouge, Inc.                             $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1245    5/31/2019               Bossier Land Acquisition Corp.                                 $0.00                                                                               $0.00

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                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                       Amount                                               Amount
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1279    5/31/2019              Vidalia Real Estate Partners, LLC                               $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1325    5/31/2019             Promise Hospital of Louisiana, Inc.                              $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1334    5/31/2019          Promise Hospital of Overland Park, Inc.                             $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1360    5/31/2019         Promise Hospital of East Los Angeles, L.P.                           $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1361    5/31/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                   $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1362    5/31/2019             Promise Hospital of Salt Lake, Inc.                              $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1365    5/31/2019            Promise Hospital of Ascension, Inc.                               $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1366    5/31/2019                         PH-ELA, Inc.                                         $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1367    5/31/2019                   HLP of Shreveport, Inc.                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1369    5/31/2019             Promise Hospital of Vicksburg, Inc.                              $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1375    5/31/2019                Promise Hospital of Lee, Inc.                                 $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1377    5/31/2019              Promise Properties of Dade, Inc.                                $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1379    5/31/2019               Promise Properties of Lee, Inc.                                $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1380    5/31/2019               Promise Hospital of Dade, Inc.                                 $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1381    5/31/2019                     LH Acquisition, LLC                                      $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1382    5/31/2019                 Success Healthcare 1, LLC                                    $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1391    5/31/2019               HLP Properties of Vidalia, LLC                                 $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1393    5/31/2019            Promise Rejuvenation Centers, Inc.                                $0.00                                                                               $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                            1395    5/31/2019     Promise Rejuvenation Center at the Villages, Inc.                        $0.00                                                                               $0.00

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              Creditor Name and Address                Claim No. Claim Date                           Debtor                                  Unsecured Claim                                        Admin Priority
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                                                                                                                                                  Amount                                                Amount
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                       1399    5/31/2019    PHG Technology Development and Services Company, Inc.                      $0.00                                                                                $0.00
Brown, James F.
2930 Domingo Ave., Suite 125
Berkeley, CA 94705                                       1447    5/31/2019               Promise Hospital of Phoenix, Inc.                               $0.00                                                                                $0.00
Buchalter, A Professional Corporation
1000 Wilshire Blvd.
Suite 1500
Los Angeles, CA 90017                                    506     2/12/2019           Promise Hospital of East Los Angeles, L.P.                     $25,081.91                                                                           $25,081.91
Buchalter, A Professional Corporation
1000 Wilshire Blvd.
Suite 1500
Los Angeles, CA 90017                                    511     2/12/2019                   Promise Healthcare, Inc.                              $492,842.09                                                                          $492,842.09
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                                    507     2/12/2019                    HLP of Los Angeles, LLC                               $12,560.60                                                                           $12,560.60
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                                    508     2/12/2019                   Success Healthcare 1, LLC                                $796.87                                                                              $796.87
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                                    509     2/12/2019                    Success Healthcare, LLC                               $25,261.58                                                                           $25,261.58
Buchalter, A Professional Corporation
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017                                    510     2/12/2019                   Quantum Properties, L.P.                                $2,697.95                                                                            $2,697.95
BUCKHALTER, TAMALA
3645 JOSEPHINE COURT
COMPTON, CA 90221                                        1142    5/29/2019             Promise Healthcare of California, Inc.                                                                                                                 $0.00
BUCKHALTER, TAMALA
3645 JOSEPHINE COURT
COMPTON, CA 90221                                        1467    5/29/2019                Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
Butterfield Trust (Bermuda)
Clarien Trust Limited
As Trustee of George G. Strong Jr. Gift Trust
Hal Masters
25 Reid Street
Hamilton HM11
Bermuda                                                  1267    5/30/2019                Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
BUTTERFIELD TRUST (BERMUDA) LIMITED AS TRUSTEE OF
GEORGE G. STRONG GIFT TRUST II
CLARIEN TRUST LIMITED AS TRUSTEE OF GEORGE G. STRONG
GIFT TRUST II
HAL MASTERS
25 REID STREET
HAMILTON, BERMUDA HM11                                   1268    5/30/2019                Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
BW Masterson Heating & Air-Conditioning, Inc
3811 OLD STATE ROAD
WICHITA FALLS , TX 76310                                 711      5/1/2019             Promise Hospital of Wichita Falls, Inc.                       $7,651.40                                                                            $7,651.40
C. R. Bard, Inc.
c/o Becton Dickinson and Company
Attn: Sabina Downing
1 Becton Drive
Franklin Lakes, NJ 07417                                 855     5/15/2019           Promise Hospital of East Los Angeles, L.P.                                                                            $8,240.70                      $8,240.70




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                  Creditor Name and Address                    Claim No. Claim Date                       Debtor                                Unsecured Claim                                          Admin Priority
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                                                                                                                                                    Amount                                                  Amount
C. R. Bard, Inc.
c/o Hunton Andrews Kurth LLP
Attn: Robert A. Rich, Esq.
200 Park Avenue
New York, NY 10166                                               415     1/18/2019       Promise Hospital of East Los Angeles, L.P.                                                                            $8,240.70                      $8,240.70
C. R. Bard, Inc.
c/o Hunton Andrews Kurth LLP
Attn: Robert A. Rich, Esq.
200 Park Avenue
New York, NY 10166                                               416     1/18/2019          Promise Hospital of Vicksburg, Inc.                          $7,492.53                                                                            $7,492.53
CAESARS ENTERTAINMENT CORPORATION
SAMUEL A. SCHWARTZ, ESQ.
100 N CITY PARKWAY, STE 1600
LAS VEGAS, NV 89106                                              1403    5/31/2019            Promise Healthcare Group, LLC                               $100.00                                                                              $100.00
California Department of Health Care Services
Deputy Attorney General Kenneth K. Wang
300 S. Spring Street, No. 1702
Los Angeles, CA 90013                                            1589    7/15/2019       Promise Hospital of East Los Angeles, L.P.                      $5,630.03                                                                            $5,630.03
California Department of Health Care Services
Deputy Attorney General Kenneth K. Wang
300 S. Spring Street, No. 1702
Los Angeles, CA 90013                                            1590    7/15/2019            Promise Healthcare Group, LLC                              $5,555.83                                                                            $5,555.83
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
P.O. Box 942879
Sacramento , CA 94279-0055                                       352      1/9/2019       Promise Hospital of East Los Angeles, L.P.                                        $4,707.62                                                          $4,707.62
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
P.O. Box 942879
Sacramento , CA 94279-0055                                       899     5/20/2019                 Quantum Health, Inc.                                                    $2,593.66                                                          $2,593.66
California Medical Response, Inc.
Law Offices of Marks & Acalin LLP
Attn: R.A. Marks
4221 Wilshire Boulevard, Suite 330
Los Angeles, CA 90010                                            938     5/23/2019            Promise Healthcare Group, LLC                             $62,844.37                                                                           $62,844.37
California Medical Response, Inc.
Law Offices of Marks & Acalin LLP
Attn: R.A. Marks
4221 Wilshire Boulevard, Suite 330
Los Angeles, CA 90010                                            1555     7/1/2019            Promise Healthcare Group, LLC                             $62,844.37                                                                           $62,844.37

California Physicians' Service dba Blue Shield of California
50 Beale Street, 22nd Floor
San Francisco, CA 94105                                          171     12/6/2018            Promise Healthcare Group, LLC                             $19,828.03                                                                           $19,828.03
CALIFORNIA RECUPERATIVE CARE
38529 6TH ST. EAST
PALMDALE, CA 93550                                                17     11/16/2018           Promise Healthcare Group, LLC                              $9,250.00                                                                            $9,250.00
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                                 1470    5/31/2019        Promise Hospital of Wichita Falls, Inc.                        $1,348.10                                             $2,106.59                      $3,454.69




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                                                                                                                                                 Current General                                       Current 503(b)(9)
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                 Creditor Name and Address                  Claim No. Claim Date                        Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                     Amount                                                Amount
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1491    5/31/2019             Promise Hospital of Dade, Inc.                               $548.90                                              $5,837.00                      $6,385.90
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1437    5/31/2019           Promise Hospital of Vicksburg, Inc.                           $4,151.04                                             $5,856.15                     $10,007.19
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1458    5/31/2019                Success Healthcare 1, LLC                                   $0.10                                              $7,261.43                      $7,261.53
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1461    5/31/2019              Promise Hospital of Lee, Inc.                              $1,016.00                                             $1,203.84                      $2,219.84
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1465    5/31/2019       Promise Hospital of East Los Angeles, L.P.                        $2,092.90                                            $20,495.68                     $22,588.58
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1469    5/31/2019         Promise Hospital of Baton Rouge, Inc.                            $689.16                                              $5,545.42                      $6,234.58
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1475    5/31/2019         Promise Hospital of Overland Park, Inc.                          $315.73                                              $1,830.74                      $2,146.47
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1477    5/31/2019                Promise Healthcare, Inc.                             $1,832,683.24                                            $84,838.50                  $1,917,521.74
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1478    5/31/2019            Promise Hospital of Phoenix, Inc.                             $544.94                                              $8,819.71                      $9,364.65
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1493    5/31/2019     Promise Hospital of Florida at The Villages, Inc.                    $389.66                                              $3,659.26                      $4,048.92
Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1466    5/31/2019           Promise Hospital of Louisiana, Inc.                           $1,117.67                                            $19,255.14                     $20,372.81
Cardinal Health 110, LLC f/k/a/ Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1483    5/31/2019       Professional Rehabilitation Hospital, L.L.C.                       $222.99                                              $1,985.79                      $2,208.78
Cardinal Health 110, LLC f/k/a/ Cardinal Health 110, Inc.
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                              1485    5/31/2019           Promise Hospital of Salt Lake, Inc.                            $484.10                                              $3,200.05                      $3,684.15




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                Creditor Name and Address        Claim No. Claim Date                          Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                            Amount                                                Amount
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1460    5/31/2019           Promise Hospital of Baton Rouge, Inc.                           $1,067.74                                              $125.30                       $1,193.04
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1489    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                     $216.13                                                 $60.43                       $276.56
Cardinal Health 200 LLC
Attn: Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1494    5/31/2019                  Promise Healthcare, Inc.                                $31,461.93                                              $668.66                      $32,130.59
Cardinal Health 200, LLC
Attn: Erin Gapinski, Sr. Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1688    1/22/2020                  Promise Healthcare, Inc.                                                                                                       $2,436.20      $2,436.20
Cardinal Health 200, LLC
Debra A. Willet
VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1457    5/31/2019                  Success Healthcare, LLC                                   $952.74                                                                              $952.74
Cardinal Health 200, LLC
Debra A. Willet
VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1508    5/31/2019         Promise Hospital of East Los Angeles, L.P.                       $24,061.69                                                $21.65                     $24,083.34
Cardinal Health 200, LLC
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1501    5/31/2019               Promise Hospital of Dade, Inc.                              $1,407.95                                              $118.89                       $1,526.84
Cardinal Health 200, LLC
Debra A. Willet, VP & Assoc. General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1498    5/31/2019          Promise Hospital of Overland Park, Inc.                          $1,941.84                                                                            $1,941.84
Cardinal Health 200, LLC
Debra Willet
Vice President and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1507    5/31/2019             Promise Hospital of Salt Lake, Inc.                           $1,087.77                                              $141.43                       $1,229.20
Cardinal Health 200, LLC
Debra Willet, VP and Associate General Counsel
7000 Cardinal Place
Dublin, OH 43017                                   1505    5/31/2019                Promise Hospital of Lee, Inc.                               $250.16                                                                              $250.16
CARDIOVASCULAR SPECIALTIES
14624 SHERMAN WAY #406
VAN NUYS, CA 91405                                 184     12/11/2018             Promise Healthcare Group, LLC                               $34,515.00                                                                           $34,515.00
CAREFREE JANITORIAL SUPPLY
PO BOX 5255
405 BARKSDALE BLVD
BOSSIER CITY, LA 71171                             738      5/6/2019              Promise Healthcare Group, LLC                                $1,234.72                                                                            $1,234.72
Carefusion 211 Inc
26125 N Riverwoods Blvd
Mettawa, IL 60045                                  954     5/24/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.               $73,625.76                                              $426.82                      $74,052.58


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              Creditor Name and Address           Claim No. Claim Date                       Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                          Amount                                                Amount
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   940     5/24/2019           Promise Hospital of Phoenix, Inc.                          $142,557.45                                                                          $142,557.45
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1559    7/10/2019        Promise Hospital of Wichita Falls, Inc.                                                                                              $10,030.18     $10,030.18
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1560    7/10/2019           Promise Hospital of Phoenix, Inc.                                                                                                 $19,536.57     $19,536.57
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1561    7/10/2019        Promise Hospital of Overland Park, Inc.                                                                                              $72,990.88     $72,990.88
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1562    7/10/2019          Promise Hospital of Salt Lake, Inc.                                                                                                $24,978.08     $24,978.08
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1563    7/10/2019       Promise Hospital of East Los Angeles, L.P.                                                                                            $66,283.20     $66,283.20
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1564    7/11/2019            Promise Healthcare Group, LLC                                                                                                    $27,744.49     $27,744.49
Carefusion 211, Inc
26125 N Riverwoods
Mettawa, IL 60045                                   1566    7/12/2019            Promise Healthcare Group, LLC                                                                                                    $27,744.49     $27,744.49
Carefusion 211, Inc.
26125 N Riverwoods Blvd
Mettawa, IL 60045                                   949     5/24/2019        Promise Hospital of Overland Park, Inc.                       $239,173.52                                            $11,552.68                    $250,726.20
Carefusion 211, Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                                   956     5/24/2019       Promise Hospital of East Los Angeles, L.P.                     $298,274.40                                             $2,209.44                    $300,483.84
Carefusion 211,Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                                   951     5/24/2019            Promise Healthcare Group, LLC                             $109,977.04                                             $1,784.80                    $111,761.84
Carefusion, 211 Inc.
26125 N Riverwoods Blvd.
Mettawa, IL 60045                                   955     5/24/2019          Promise Hospital of Salt Lake, Inc.                         $143,223.52                                                                          $143,223.52
CarePoint Shift Nursing
11100 Valley Blvd #342
El Monte, CA 91731                                  833     5/13/2019            Promise Healthcare Group, LLC                                                                                                     $1,870.00      $1,870.00
CarePoint Shift Nursing, Inc.
11100 Valley Blvd Ste 342
El Monte, CA 91731-2533                             829     5/13/2019            Promise Healthcare Group, LLC                                                 $1,870.00                                                          $1,870.00
Carol Lloyd, Inc.
Kevin L. Sink, Chapter 11 Trustee
PO Box 18237
Raleigh, NC 27619                                    69     11/28/2018           Promise Healthcare Group, LLC                              $10,438.26                                                                           $10,438.26
CASH ACCELERATION SOLUTIONS FOR HEALTHCARE, LLC
3950 VIA DOLCE
APT# 510
MARINA DEL RAY, CA 90292                            1337    5/30/2019              Success Healthcare 1, LLC                                $87,735.65                                                                           $87,735.65
CDW Direct, LLC
Attn: Vida Krug
200 N. Milwaukee Ave
Vernon Hills, IL 60061                               19     11/9/2018            Promise Healthcare Group, LLC                              $74,034.00        $25,319.08                                                         $99,353.08




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                 Creditor Name and Address                    Claim No. Claim Date                       Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                   Amount                                                  Amount
Cellco Partnership d/b/a Verizon Wireless, on behalf of its
affiliates and subsidiaries
William M Vermette
22001 Loudoun County Pkwy
Ashburn, VA 20147                                               330      1/4/2019            Promise Healthcare Group, LLC                              $9,919.82                                                                            $9,919.82
Centerpoint Energy
P.O. Box 1700
Houston , TX 77251                                              210     12/10/2018           Promise Healthcare Group, LLC                              $1,163.33                                                                            $1,163.33
Central Health Plan of California, Inc
Attn: Chief Executive Officer
1540 Bridgegate Drive
Diamond Bar, CA 91765                                           1497    5/31/2019       Promise Hospital of East Los Angeles, L.P.                     $14,001.00                                                                           $14,001.00
CENTRAL OFFICE OF SHREVEPORT
2800 YOUREE DRIVE
STE 362
SHREVEPORT, LA 71104                                            871     5/17/2019            Promise Healthcare Group, LLC                                                                                     $645.00                        $645.00
Century Cleaning
ATTN: MARIO SARMIENTO
21760 SW 101 AVE
MIAMI, FL 33190                                                 477      2/6/2019            Promise Healthcare Group, LLC                               $540.00                                                                              $540.00
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield , CO 80021                                           1726    2/28/2020            Promise Healthcare Group, LLC                              $3,001.24                                                                            $3,001.24
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                                            470      2/4/2019               Promise Healthcare, Inc.                                $7,370.77                                                                            $7,370.77
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                                            471      2/4/2019               Promise Healthcare, Inc.                                 $344.87                                                                              $344.87
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                                            1704    1/31/2020            Promise Healthcare Group, LLC                                                                                                    $2,515.00      $2,515.00
CenturyLink Communications, LLC
Attn: Legal - BKY
1025 Eldorado Blvd.
Broomfield, CO 80021                                            1719    2/26/2020               Promise Healthcare, Inc.                              $198,059.39                                                                          $198,059.39
CenturyLink Communications, LLC f/k/a Qwest
Communications Company, LLC
Bankruptcy
Attn: Legal-BKY
1025 El Dorado Blvd
Broomfield, CO 80021                                            1721    2/27/2020            Promise Healthcare Group, LLC                              $3,001.24                                                                            $3,001.24
Ceridian HCM, Inc
3311 East Old Shakopee Rd.
Minneapolis, MN 55425                                           516     2/14/2019            Promise Healthcare Group, LLC                             $22,761.80                                                                           $22,761.80
Cerner Corporation
P.O. Box 412702
Kansas City, MO 64141-2702                                      406     1/11/2019            Promise Healthcare Group, LLC                              $5,534.65                                                                            $5,534.65
Cerner Corporation
c/o Stinson LLP
Attn: Tracey M. Ohm
1775 Pennsylvania Ave. NW, Suite 800
Washington, DC 20006                                            1580    7/12/2019            Promise Healthcare Group, LLC                                                                                                    $1,276.57      $1,276.57

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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                Amount
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
15303 Ventura Blvd., # 1650
Sherman Oaks, CA 91403-6620                     864     5/16/2019              Success Healthcare, LLC                               $199,683.00                                                                          $199,683.00
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                     761      5/8/2019              Success Healthcare, LLC                               $199,683.00                                                                          $199,683.00
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                     797     5/13/2019        Promise Healthcare of California, Inc.                      $199,683.00                                                                          $199,683.00
Certified Nursing Registry, Inc.
Law Offices of Charles G. Smith, APC
Charles G. Smith, Esq.
15303 Ventura Blvd., Suite1650
Sherman Oaks, CA 91403-6620                     808     5/13/2019              Promise Healthcare, Inc.                              $199,683.00                                                                          $199,683.00
Change Healthcare Technologies, LLC
AR Dept
5995 Windward Parkway, MSTP 4901
Alpharetta, GA 30005                            469      2/4/2019           Promise Healthcare Group, LLC                            $564,116.09                                                                          $564,116.09
Change Healthcare Technologies, LLC
Jody Saeteune
5995 Windward Parkway, MSTP 4901
Alpharetta, GA 30005                            1691    1/27/2020           Promise Healthcare Group, LLC                                                                                                   $99,170.78     $99,170.78
Charlie Pepper dba Salt Works
PO Box 22273
Mesa, AZ 85277                                  1649    9/27/2019          Promise Hospital of Phoenix, Inc.                             $92.38                                                                               $92.38
Chase Transcriptions, Inc.
Ulmer & Berne LLP
c/o Chase Transcriptions
Attn: Todd Atkinson, Esq.
1660 W.2nd St., Suite 1100
Cleveland, OH 44113                             843     5/15/2019              Promise Healthcare, Inc.                               $95,133.67                                                                           $95,133.67
Chase Transcriptions, Inc.
Ulmer & Berne LLP
c/o Chase Transcriptions, Inc.
Attn: Todd Atkinson, Esq.
1660 W.2nd St., Suite 1100
Cleveland, OH 44113                             844     5/15/2019             Promise Healthcare #2, LLC                              $22,328.25                                                                           $22,328.25
Chemaqua
Credit Dept
2727 Chemsearch Dr
Irving, TX 75062                                375      1/8/2019           Promise Healthcare Group, LLC                              $4,978.93                                                                            $4,978.93
CHG Medical Staffing, Inc. d/b/a RN Network
Michael C. Barnhill
2750 East Cottonwood Parkway, Suite 560
Cottonwood Heights, UT 84121                    667      4/3/2019              Promise Healthcare, Inc.                              $100,141.42                                                                          $100,141.42
Cigna Health and Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                              679      4/5/2019                Quantum Health, Inc.                                 $52,288.00                                                                           $52,288.00




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                                                                                                                                Current General                                        Current 503(b)(9)
                                                                                                                                                    Current Priority Current Secured                      Current Admin Total Current
                 Creditor Name and Address   Claim No. Claim Date                        Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
Cigna Health and Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             682      4/5/2019         Promise Hospital of Baton Rouge, Inc.                         $31,646.45                                                                           $31,646.45
Cigna HealthCare of Florida, Inc.
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                             678      4/5/2019     Promise Hospital of Florida at The Villages, Inc.                 $47,688.00                                                                           $47,688.00
CITY GLASS
2214 FIFTH STREET
WICHITA FALLS, TX 76301                        1524    6/10/2019         Promise Hospital of Wichita Falls, Inc.                         $506.09                                                                              $506.09
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                          324      1/2/2019                Success Healthcare 1, LLC                              $82,128.23       $212,712.17                                                        $294,840.40
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                          463     1/29/2019                 HLP of Los Angeles, LLC                                $5,682.84        $14,974.15                                                         $20,656.99
CITY OF LOS ANGELES, OFFICE OF FINANCE
LOS ANGELES CITY ATTORNEY'S OFFICE
200 N. MAIN STREET, STE. 920
LOS ANGELES, CA 90012                          1638    7/25/2019                Success Healthcare 1, LLC                                                $25,522.50                                                         $25,522.50
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              578     2/25/2019       Professional Rehabilitation Hospital, L.L.C.                   $112,201.02                                                                          $112,201.02
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              579     2/25/2019       Professional Rehabilitation Hospital, L.L.C.                      $222.66                                                                              $222.66
City of Vidalia
Jay LaSyone, Clerk
200 Vernon Stevens Blvd.
Vidalia, LA 71373                              580     2/25/2019       Professional Rehabilitation Hospital, L.L.C.                   $112,201.02                                                                          $112,201.02
Clafin Medical Equipment
1206 Jefferson Blvd.
Warwick, RI 02886                              1191    5/28/2019             Promise Healthcare Group, LLC                             $19,610.35                                                                           $19,610.35
CLAFIN MEDICAL EQUIPMENT
455 WARWICK INDUSTRIAL DRIVE
WARWICK, RI 02886                              1354    5/28/2019             Promise Healthcare Group, LLC                                                                                                   $19,610.35     $19,610.35
Claim docketed in error
                                               441     1/22/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               537     2/18/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               540     2/13/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               568     2/20/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               570     2/21/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               571     2/21/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               572     2/21/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00
Claim docketed in error
                                               591     2/25/2019             Promise Healthcare Group, LLC                                                                                                                       $0.00

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                 Creditor Name and Address   Claim No. Claim Date                    Debtor                                Unsecured Claim                                       Admin Priority
                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                               Amount                                               Amount
Claim docketed in error
                                               594     2/25/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               599     2/26/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               624      3/8/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               637     3/15/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               639     3/18/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               643     3/21/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               751      5/7/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               777      5/9/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               798      5/9/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               831     5/13/2018          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               850     5/14/2018          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               887     5/20/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               959     5/21/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               977     5/22/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1062    5/23/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1075    5/28/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1076    5/28/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1114    5/29/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1141    5/29/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1209    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1214    5/30/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1258    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1261    5/30/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1271    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1272    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1273    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1274    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00
Claim docketed in error
                                               1275    5/31/2019          Promise Healthcare Group, LLC                                                                                                                  $0.00


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                 Creditor Name and Address        Claim No. Claim Date                     Debtor                                    Unsecured Claim                                        Admin Priority
                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                                Amount
Claim docketed in error
                                                    1276    5/31/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1357    5/31/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1430    5/30/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1433    5/31/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1435    5/31/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1452    5/30/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1454    5/30/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1556     7/1/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1596    7/15/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1628    7/15/2019          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1671    1/13/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1679    1/17/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1722    2/27/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1723    2/27/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1724    2/27/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
Claim docketed in error
                                                    1725    2/27/2020          Promise Healthcare Group, LLC                                                                                                                        $0.00
ClimaStor 7, LLC
5252 MANCUSO LN.
BATON ROUGE, LA 70809                               191     12/10/2018         Promise Healthcare Group, LLC                                                                   $1,340.00                                         $1,340.00
Coast Environmental Duct Cleaning, Inc.
2221 Las Palmas Dr.
Suite J
Carlsbad, CA 92011                                  490      2/9/2019          Promise Healthcare Group, LLC                                $3,637.00                                                                            $3,637.00
COASTLINE ANESTHESIA AND PAIN MEDICAL GROUP INC
c/o GUY R BAYLEY
547 S MARENGO AVE
PASADENA, CA 91101                                  492      2/5/2019          Promise Healthcare Group, LLC                               $81,819.00                                                                           $81,819.00
COASTLINE ANESTHESIA AND PAIN MEDICAL GROUP INC
c/o GUY R BAYLEY
547 S MARENGO AVE
PASADENA, CA 91101                                  1083    5/28/2019          Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
COHEN, RICHARD
16030 LAUREL CREEK DRIVE
DELRAY BEACH, FL 33446                              1081    5/28/2019             Promise Healthcare, Inc.                                                   $25,171.28                                                         $25,171.28
Comed Medical Specialties
2322 S. Presidents Dr.
Suite B
Salt Lake City , UT 84120                            32     11/21/2018        Promise Hospital of Salt Lake, Inc.                           $2,568.91                                                                            $2,568.91
COMMERCIAL ELECTRIC MOTOR SERVICE
3121 WASHINGTON BLVD
ST. LOUIS, MO 63103                                 180     12/10/2018         Promise Healthcare Group, LLC                                 $767.75                                                                              $767.75

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                Creditor Name and Address                     Claim No. Claim Date                       Debtor                                   Unsecured Claim                                        Admin Priority
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                                                                                                                                                      Amount                                                Amount
COMMERCIAL ELECTRIC MOTOR SERVICE
3121 WASHINGTON BLVD
ST. LOUIS, MO 63103                                             800      5/9/2019            Promise Healthcare Group, LLC                                $767.75                                                                              $767.75
Computer Configuration Services, LLC
3002 Dow Ave. Ste 402
Tustin, CA 92780                                                425     1/22/2019            Promise Healthcare Group, LLC                                $513.33                                                                              $513.33
Computer Configuration Services, LLC
Attn: Stacey A Orlandos
3002 Dow Ave. Ste 402
Tustin, CA 92780                                                392     1/15/2019            Promise Healthcare Group, LLC                                $513.33                                                                              $513.33
Concentric Healthcare Solutions d/b/a Concentric Healthcare
Staffing
Burch & Cracchiolo, P.A.
Alan A. Meda, Esq.
702 E. Osborn Rd., Suite 200
Phoenix, AZ 85014                                               446     1/25/2019           Promise Hospital of Phoenix, Inc.                           $88,474.63                                                                           $88,474.63
Concentric Healthcare Solutions d/b/a Concentric Healthcare
Staffing
Burch & Cracchiolo, P.A.
Alan A. Meda, Esq.
702 E. Osborn Rd., Suite 200
Phoenix, AZ 85014                                               451     1/28/2019           Promise Hospital of Phoenix, Inc.                           $88,474.63                                                                           $88,474.63
Concordia Bank & Trust Company
P.O. Box 518
Vidalia, LA 71373                                               242     12/21/2018          Vidalia Real Estate Partners, LLC                                                           $4,374,577.40                                     $4,374,577.40
Concordia Bank & Trust Company
P.O. Box 518
Vidalia, LA 71373                                               749      5/8/2019               Promise Healthcare, Inc.                                                                $4,374,577.40                                     $4,374,577.40
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                                              675      4/5/2019          Promise Hospital of Salt Lake, Inc.                          $81,802.00                                                                           $81,802.00
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                                              680      4/5/2019          Promise Hospital of Vicksburg, Inc.                          $81,802.00                                                                           $81,802.00
Connecticut General Life Insurance Company
Marylou Kilian Rice, Compliance Specialist
900 Cottage Grove Road, B6LPA
Hartford, CT 06152                                              681      4/5/2019          Promise Hospital of Ascension, Inc.                          $67,941.93                                                                           $67,941.93
Contractors Termite and Pest Control Inc
24825 N 16th Ave #140
Phoenix, AZ 85085                                               388     1/14/2019           Promise Hospital of Phoenix, Inc.                            $1,280.00                                                                            $1,280.00
Contractors Termite and Pest Control Inc
24825 N 16th Ave #140
Phoenix, AZ 85085                                               726      5/6/2019            Promise Healthcare Group, LLC                               $1,280.00                                                                            $1,280.00
Contrarian Funds, LLC as Transferee of Ambu Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                             231     12/17/2018           Promise Healthcare Group, LLC                              $24,217.38                                                                           $24,217.38
Contrarian Funds, LLC as Transferee of Ambu Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                             1519     6/5/2019       Promise Hospital of East Los Angeles, L.P.                       $3,120.76                                                                            $3,120.76




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                 Creditor Name and Address                        Claim No. Claim Date                       Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                                          Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                          Amount                                                Amount
Contrarian Funds, LLC as Transferee of Atlantic Personnel &
Tenant Screening, Inc.
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 716      5/2/2019            Promise Healthcare Group, LLC                              $27,762.82                                                                           $27,762.82

Contrarian Funds, LLC as Transferee of First Class Nurses, Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 313      1/2/2019            Promise Healthcare Group, LLC                              $77,060.95                                                                           $77,060.95

Contrarian Funds, LLC as Transferee of Medical Specialties, Inc
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 151     12/4/2018            Promise Healthcare Group, LLC                              $60,752.59                                                                           $60,752.59
Contrarian Funds, LLC as Transferee of Precision Refrigeration
& Air Conditioning, Inc.
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 316      1/3/2019            Promise Healthcare Group, LLC                              $21,070.00                                                                           $21,070.00
Contrarian Funds, LLC as Transferee of Wilke, Fleury, Hoffelt,
Gould & Birney LLP
Attn: Alisa Mumola
411 West Putnam Ave., Suite 425
Greenwich, CT 06830                                                 496      2/8/2019               Promise Healthcare, Inc.                               $117,716.00                                                                          $117,716.00
Cook Medical, LLC
Attn: General Counsel
PO Box 1608
Bloomington, IN 47402                                               812     5/13/2019            Promise Hospital of Dallas, Inc.                            $3,222.25                                                                            $3,222.25
Cook Medical, LLC
Attn: General Counsel
PO Box 1608
Bloomington, IN 47402                                               827     5/13/2019           Promise Hospital of Phoenix, Inc.                            $8,532.33                                                                            $8,532.33
Corporate Traditions LLC
Dustin Robins
1186 N 300 E
Pleasant Grove, UT 84062                                            319     12/27/2018           Promise Healthcare Group, LLC                                $592.00                                                                              $592.00
County Sanitation District No. 2 of Los Angeles County
c/o Madeline Weissman, Esq.
633 W. 5th Street, Suite 4000
Los Angeles, CA 90071                                               605     2/28/2019       Promise Hospital of East Los Angeles, L.P.                      $26,845.00                                                                           $26,845.00
Covidien
Sue Danneker
15 Hampshire
Mansfield, MA 02048                                                  1      11/6/2018            Promise Healthcare Group, LLC                               $3,256.10                                                                            $3,256.10
Cowen, MaryAnn
Jacquelynn Carmichael
2150 So State Str. #900
SLC, UT 84111                                                       551     2/19/2019          Promise Hospital of Salt Lake, Inc.                       $4,000,000.00                                                                        $4,000,000.00
Coy Landscaping and Maintenance, Inc., an Arizona
corporation
c/o Ronald W. Meyer, Esq.
5727 N. 7th Street, Ste. 407
Phoenix, AZ 85014                                                   321     12/27/2018           Promise Healthcare Group, LLC                               $5,055.05                                                                            $5,055.05
CPT Group, Inc.
50 Corporate Park
Irvine, CA 92606                                                     30     11/19/2018           Promise Healthcare Group, LLC                              $35,400.00                                                                           $35,400.00

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                 Creditor Name and Address                       Claim No. Claim Date                       Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                        Amount                                                Amount
CREATIVE WASTE SOLUTIONS, LLC
P.O. BOX 161
COLLINSVILLE, CT 06022                                             1259    5/30/2019            Promise Healthcare Group, LLC                              $3,377.94                                                                            $3,377.94
CREST HEALTHCARE SUPPLY
PO BOX 727
195 THIRD STREET S
DASSEL, MN 55325                                                   336     12/27/2018           Promise Healthcare Group, LLC                              $1,092.09                                                                            $1,092.09

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                                857     5/15/2019            Promise Hospital of Dallas, Inc.                                            $45,360.00                                                         $45,360.00

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                                863     5/15/2019            Promise Healthcare Group, LLC                                               $45,360.00                                                         $45,360.00

CRG Financial LLC as Transferee of Nilesh B. Dave, Md., Pa
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                                866     5/15/2019            Promise Hospital of Dallas, Inc.                                            $45,360.00                                                         $45,360.00
CRG Financial LLC as Transferee of nThrive Solutions, Inc. aka
nThrive Revenue Systems, LLC
Attn: Allison Axenrod
100 Union Ave
Cresskill, NJ 07626                                                1301    5/30/2019               Promise Healthcare, Inc.                              $109,295.16                                                                          $109,295.16

CRG Financial LLC as Transferee of Woundkair Concepts, Inc
Attn: Allison R. Axenrod
100 Union Ave
Cresskill, NJ 07626                                                170     12/6/2018            Promise Healthcare Group, LLC                             $79,891.92                                                                           $79,891.92
Cross Country Staffing
c/o Jonathan Neil & Assoc. Inc.
P.O. Box 7000
Tarzana, CA 91357                                                  1545    6/11/2019            Promise Healthcare Group, LLC                             $33,342.12                                                                           $33,342.12
Crown Meat & Provisions Co, Inc.
599 Williams Rd
Palm Springs, CA 92264                                             641     3/19/2019            Promise Healthcare Group, LLC                             $18,105.53                                                                           $18,105.53
CROWN PHARMACEUTICALS
201 ST CHARLES ST STE. # 114-373
NEW ORLEANS, LA 70170                                              228     12/21/2018          Promise Hospital of Phoenix, Inc.                          $14,819.00                                                                           $14,819.00
Crown Pharmaceuticals, Inc.
201 St Charles Ave Ste. # 114-373
New Orleans, LA 70170                                              240     12/21/2018      Promise Hospital of East Los Angeles, L.P.                       $375.78                                                                              $375.78
Crown Pharmaceuticals, Inc.
201 St Charles Ave Ste. # 114-373
New Orleans, LA 70170                                              241     12/21/2018             Success Healthcare 1, LLC                                 $757.52                                                                              $757.52
CT Lien Solutions
28 Liberty Street, 42nd Floor
New York, NY 10005                                                 1068    5/21/2019            Promise Healthcare Group, LLC                             $49,874.24                                                                           $49,874.24
CUBE CARE COMPANY
6043 NW 167TH STREET
SUITE A-23
MIAMI LAKES, FL 33015                                              1650    9/24/2019           Promise Properties of Dade, Inc.                            $1,850.00                                                                            $1,850.00




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                 Creditor Name and Address                Claim No. Claim Date                       Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                                Amount
Cummins, Inc
Attn: General Counsel
2671 Edison Ave.
Fort Myers, FL 33916                                        1150    5/24/2019            Promise Healthcare Group, LLC                              $2,304.17                                                                            $2,304.17
Cunningham, Nikki
9907 Cedar Street
Bellflower, CA 90706                                        1143    5/30/2019              Success Healthcare 1, LLC                                                 $52,500.00                                                         $52,500.00
CUNNINGHAM, RASHAD
1517 EAST HELMICK STREET
CARSON, CA 90746                                            929     5/22/2019       Promise Hospital of East Los Angeles, L.P.                                                                                            $4,700.00      $4,700.00
CUNNINGHAM, RASHAD
1517 EAST HELMICK STREET
CARSON, CA 90746                                            930     5/22/2019       Promise Hospital of East Los Angeles, L.P.                      $4,700.00                                                                            $4,700.00
Cure Staffing, LLC
7000 N. Mopac
Suite 200
Austin, TX 78731                                            364     1/10/2019            Promise Hospital of Dallas, Inc.                          $17,703.05                                                                           $17,703.05
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                            1440    5/31/2019        Promise Hospital of Overland Park, Inc.                         $981.25                                                                              $981.25
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                            1441    5/31/2019            Promise Hospital of Dallas, Inc.                               $0.81                                                                                $0.81
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                            1444    5/31/2019               Promise Healthcare, Inc.                                 $147.33                                                                              $147.33
CyraCom, LLC
5780 N. Swan Road
Tucson, AZ 85718                                            1448    5/31/2019              Success Healthcare 1, LLC                                 $804.93                                                                              $804.93
CyraCom, LLC.
5780 N. Swan Road
Tucson, AZ 85718                                            1356    5/31/2019          St. Alexius Hospital Corporation #1                           $528.93                                                                              $528.93
Daikin Applied Americas Inc.
c/o Wagner, Falconer & Judd, Ltd.
100 South 5th Street
Suite 800
Minneapolis, MN 55402                                       1634    7/23/2019        Promise Hospital of Baton Rouge, Inc.                          $1,755.42                                                                            $1,755.42
Dallas County
Linebarger Goggan Blair & Sampson, LLP
Attn: Elizabeth Weller and Laurie A Spindler
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                            452     1/28/2019            Promise Hospital of Dallas, Inc.                                                                                                $31,707.87     $31,707.87
Dallas County
Linebarger Goggan Blair & Sampson, LLP
Elizabeth Weller
Laurie A Spindler
2777 N. Stemmons Frwy. Ste. 1000
Dallas, TX 75207                                            462     1/29/2019            Promise Hospital of Dallas, Inc.                                                                                                $14,200.86     $14,200.86
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                            714      5/1/2019            Promise Hospital of Dallas, Inc.                         $588,953.66                                                                          $588,953.66




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                 Creditor Name and Address                Claim No. Claim Date                          Debtor                                  Unsecured Claim                                        Admin Priority
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                                                                                                                                                    Amount                                                Amount
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                            1577    7/12/2019               Promise Hospital of Dallas, Inc.                                                                                               $296,048.46    $296,048.46
Dallas County Hospital District d/b/a Parkland Health &
Hospital System
Attn: Steven J. Roth, Exec. VP & Gen. Counsel
Legal Affairs Dept.
5200 Harry Hines Blvd.
Dallas, TX 75235                                            1706    1/30/2020               Promise Hospital of Dallas, Inc.                                                                                               $587,140.64    $587,140.64
Daniels Sharpsmart, Inc
111 W. Jackson Blvd
Suite 1900
Chicago, IL 60604                                           196     12/12/2018             Promise Healthcare Group, LLC                              $45,058.11                                                                           $45,058.11
Daniels Sharpsmart, Inc
111 W. Jackson Blvd
Suite 1900
Chicago, IL 60604                                           298     12/31/2018                  HLP of Los Angeles, LLC                               $16,425.62                                                                           $16,425.62
DAVID RIKER, MD INC.
3040 BRANT ST.
SAN DIEGO, CA 92103                                         1048    5/24/2019                    Quantum Health, Inc.                                 $34,000.00                                                                           $34,000.00
DAWSON, MD, MARK
717 CURTIS DRIVE
RAYNE, LA 70578                                             791     5/10/2019              Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
DAY, MILTON BRYAN
8432 MRYTLE LAKE DRIVE
BATON ROUGE, LA 70810                                       523     2/12/2019                  Promise Healthcare, Inc.                              $238,690.75                                                                          $238,690.75
Deaf Empowerment Awareness Foundation, Inc.
Attn: Michele Steele
25 E Frisco Ave
Webster Grove, MO 63119                                     237     12/19/2018             Promise Healthcare Group, LLC                               $1,320.00                                                                            $1,320.00
Deaf Expression Inc
11721 W 62nd Ter
Shawnee, KS 66203                                           1135    5/28/2019              Promise Healthcare Group, LLC                               $3,774.67                                                                            $3,774.67
DeGoler's, Inc.
111 Oak Street
Bonner Springs, KS 66012                                    662     3/27/2019              Promise Healthcare Group, LLC                              $42,992.02                                                                           $42,992.02
DeGoler's, Inc.
111 Oak Street
Bonner Springs, KS 66012                                    906     5/22/2019          Promise Hospital of Overland Park, Inc.                        $42,992.02                                                                           $42,992.02
DEL VILLAR STANFORD, SHARON
3240 WOODRUFF AVENUE
LONG BEACH, CA 90808                                        1548    6/17/2019           Promise Healthcare of California, Inc.                             $0.00                                                                                $0.00
Del Villar Stanford, Sharon
9732 El Arco Drive
Whittier, CA 90603                                          1549    6/17/2019           Promise Healthcare of California, Inc.                                                                                                   $0.00          $0.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                                 124     11/29/2018                 Success Healthcare, LLC                                 $1,500.00                                                                            $1,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                                 125     11/29/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.               $2,500.00                                                                            $2,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                                 126     11/29/2018                    HLP Properties, Inc.                                $19,194.00         $3,864.12                                                         $23,058.12

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                Creditor Name and Address               Claim No. Claim Date                          Debtor                                  Unsecured Claim                                        Admin Priority
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Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               127     11/29/2018             Promise Hospital of Phoenix, Inc.                          $28,282.69             $0.00                                                         $28,282.69
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               128     11/29/2018              Promise Healthcare Group, LLC                              $1,000.00                                                                            $1,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               130     11/29/2018             Promise Healthcare Holdings, Inc.                           $1,000.00         $1,000.00                                                          $2,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               131     11/29/2018                 Success Healthcare 1, LLC                               $3,500.00             $0.00                                                          $3,500.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               132     11/29/2018            St. Alexius Hospital Corporation #1                        $636,296.67        $16,999.90                                                        $653,296.57
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               133     11/29/2018                 Success Healthcare 2, LLC                               $3,000.00                                                                            $3,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               135     11/29/2018               HLP Properties of Vidalia, LLC                            $5,905.30                                                                            $5,905.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               136     11/29/2018           HLP Properties at the Villages, L.L.C.                        $6,000.00                                                                            $6,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               137     11/29/2018                    LH Acquisition, LLC                                  $5,405.30                                                                            $5,405.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               138     11/29/2018        HLP Properties at the Villages Holdings, LLC                    $24,916.05                                                                           $24,916.05
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               141     11/29/2018                  HLP of Los Angeles, LLC                                $5,405.30                                                                            $5,405.30
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               142     11/29/2018   Promise Behavioral Health Hospital of Shreveport, Inc.                                  $5,000.00                                                          $5,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               145     11/29/2018         Promise Hospital of East Los Angeles, L.P.                          $0.00             $0.00    $3,650,419.70                                     $3,650,419.70
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               219     12/14/2018             Promise Healthcare Holdings, Inc.                           $1,000.00                                                                            $1,000.00
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                               255     12/14/2018            St. Alexius Hospital Corporation #1                        $636,296.67                                                                          $636,296.67
Department of Water and Power, City of Los Angeles
Attn: Bankruptcy
PO Box 51111
Los Angeles, CA 90051-5700                                1496    5/31/2019                  Success Healthcare 1, LLC                              $79,638.11                                                                           $79,638.11
Design & Cut Landscape Services, Inc.
4860 SW 61st Ave
Davie, FL 33314                                            5      11/13/2018              Promise Healthcare Group, LLC                              $4,688.00                                                                            $4,688.00
Dharma Medical Imaging
Santosh Sankepally Reddy
12331 Palm St
Cerritos, CA 90703                                        401     1/16/2019          Promise Hospital of East Los Angeles, L.P.                     $47,700.00                                                                           $47,700.00


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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                Amount
Diagnostic Mobile X-ray, Inc
28100 Challenger Blvd #112
Punta Gorda, FL 33982                           460     1/30/2019             Promise Hospital of Lee, Inc.                            $10,768.25                                                                           $10,768.25
Dialysis Clinic, Inc.
Bradley Arant Boult Cummings, LLP
Attn: Austin L. McMullen
1600 Division Street, Suite 700
Nashville, TN 37203                             1333    5/31/2019        Promise Hospital of Overland Park, Inc.                       $65,587.09                                                                           $65,587.09
Diamond Diagnostics
Attn: General Counsel
1324 N. Farrell Court 102
Gilbert, AZ 85233                               979     5/22/2019           Promise Hospital of Phoenix, Inc.                           $5,736.28                                                                            $5,736.28
Diamond Diagnostics LLC
1324 N Farrell Ct, 102
Gilbert, AZ 85233                               975     5/22/2019           Promise Hospital of Phoenix, Inc.                                                                                                 $5,736.28      $5,736.28
Diamond Diagnostics LLC
1324 N. Farrell Ct. 102
Gilbert, AZ 85233                               978     5/22/2019           Promise Hospital of Phoenix, Inc.                                                                                                 $5,736.28      $5,736.28
Diamond Diagnostics LLC
Attn: General Counsel
Mike Factor
1324 N. Farrell Ct. #102
Gilbert, AZ 85233                               941     5/22/2019           Promise Hospital of Phoenix, Inc.                           $5,736.28                                                                            $5,736.28
Diamond Diagnostics LLC
Attn: General Counsel
Mike Factor
1324 N. Farrell Ct. #102
Gilbert, AZ 85233                               974     5/22/2019           Promise Hospital of Phoenix, Inc.                                                                                                 $5,736.28      $5,736.28
DIAMOND DIAGNOSTICS, LLC
Mike Factor
1324 N FARRELL COURT
#102
GILBERT, AZ 85233                               945     5/22/2019           Promise Hospital of Phoenix, Inc.                           $5,736.28                                                                            $5,736.28
Discovery Health Health Services
5726 La Jolla Blvd. Suite 104
La Jolla, CA 92037                              660      4/1/2019            Promise Healthcare Group, LLC                              $5,314.79                                                                            $5,314.79
DISCOVERY MEDICAL STAFFING
5632 LA JOLLA BLVD
LA JOLLA, CA 92037                              757      5/7/2019            Promise Healthcare Group, LLC                              $3,817.00                                                                            $3,817.00
DMR MECHANICAL INC.
PO BOX 19507
SHREVEPORT, LA 71149                            740      5/6/2019          Promise Hospital of Louisiana, Inc.                           $445.81                                                                              $445.81
DMR MECHANICAL LLC
PO Box 19507
Shreveport, LA 71149                            735      5/6/2019          Promise Hospital of Louisiana, Inc.                                                                                                  $445.81       $445.81
Doctors Infection Control Services
Barness & Barness LLP
Daniel I. Barness
13636 Ventura Blvd.
Los Angeles, CA 91423                           422     1/22/2019       Promise Hospital of East Los Angeles, L.P.                     $78,533.33                                                                           $78,533.33
Doctors Infection Control Services, Inc.
c/o Barness & Barness LLP
13636 Ventura Blvd.
Los Angeles, CA 91423                           423     1/22/2019                     PH-ELA, Inc.                                     $78,533.33                                                                           $78,533.33




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Doctors Infection Control Services, Inc.
DICS c/o Barness & Barness LLP
13636 Ventura Blvd.
Los Angeles , CA 91423                                           421     1/22/2019             Promise Healthcare Group, LLC                                               $78,533.33                                                         $78,533.33
DOMA Technologies, LLC
Attn: Accounting
841 Seahawk Circle
Virginia Beach, VA 23452                                         447     1/28/2019                Promise Healthcare, Inc.                               $16,939.54                                                                           $16,939.54

Donald R. Joseph Rev Dec Trust (formerly Meyer Family Auroc)
Donald R. Joseph
P.O. Box 1993
Boca Grande, FL 33921                                            1473    5/23/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                                                 1099    5/28/2019         Promise Hospital of Wichita Falls, Inc.                       $21,368.36                                                                           $21,368.36
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                                                 1111    5/28/2019             Promise Hospital of Dallas, Inc.                          $48,077.98                                                                           $48,077.98
DTG MEDICAL ELECTRONICS, INC.
19961 W 162ND ST
OLATHE, KS 66062                                                 1113    5/28/2019         Promise Hospital of Overland Park, Inc.                        $4,744.53                                                                            $4,744.53
Duffie, Mary
The Law Office of John J. Pawloski, LLC
1900 Locust Street, Suite 302
St. Louis, MO 63103                                              1017    5/28/2019           St. Alexius Hospital Corporation #1                        $500,000.00                                                                          $500,000.00
Dunn, Brian E.
Attn: Michael D. Stranger - STRONG & HANNI
102 South 200 East
STE 800
Salt Lake City, UT 84111                                         206     12/11/2018                Success Healthcare, LLC                               $62,408.99                                                                           $62,408.99
Dunn, Brian E.
Strong & Hanni
Attn: Michael D. Stranger
102 South 200 East
Salt Lake City, UT 84111                                         211     12/11/2018               Promise Healthcare, Inc.                               $62,408.99                                                                           $62,408.99
Dunn, Lydia
113 Seargent S Prentiss Drive
Natchez, MS 39120                                                824     5/13/2019             Promise Healthcare Group, LLC                                                $1,458.65                                                          $1,458.65
DURANOTIC DOOR, INC
14901 W. 117TH STREET
OLATHE, KS 66062                                                 920     5/22/2019         Promise Hospital of Overland Park, Inc.                         $940.00                                                                              $940.00
Duranotic Door, Inc.
14901 W.117TH ST
Olathe, KS 66062                                                 919     5/22/2019         Promise Hospital of Overland Park, Inc.                                                                                                $940.00       $940.00
Dynamic Infusion Therapy, Inc.
5156 Village Creek Drive
Suite 102
Plano, TX 75093-4463                                             116     11/27/2018            Promise Healthcare Group, LLC                             $67,825.00                                                                           $67,825.00
Earl's Well Drilling & Pump Service, Inc.
4680 SE 166th St.
Summerfield, FL 34491                                            514     2/14/2019     Promise Hospital of Florida at The Villages, Inc.                  $1,455.00                                                                            $1,455.00
East Baton Rouge Medical Center, LLC
Jones Walker
Attn: Mark Mintz
201 St. Charles Avenue, 49th FL
New Orleans, LA 70170                                            1255    5/30/2019             Promise Healthcare Group, LLC                            $537,606.88                                                                          $537,606.88

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                                                                                                                                         Amount                                                  Amount
Edger Associates, Inc.
Mobile Ultrasound Services, Inc.
720 East Fletcher Ave.
Suite 101
Tampa , FL 33612                                   49     11/26/2018             Promise Healthcare Group, LLC                              $11,820.36                                                                            $11,820.36
Efficient Management Resource Systems, Inc.
Alexandre I. Cornelius, Esq. (CA SBN# 180652)
1299 Ocean Avenue, Suite 450
Santa Monica, CA 90401                             2      11/12/2018             Promise Healthcare Group, LLC                            $1,602,485.92                                                                         $1,602,485.92
eFront Financial Solutions, Inc.
Attn: Neil Patel
300 Washington Street
Suite 507
Newton, MA 02458                                   71     11/28/2018             Promise Healthcare Group, LLC                              $45,135.40                                                                            $45,135.40
Eisner, A Professional Corporation
Damian D. Capozzola
633 W. Fifth Street, 26th Floor
Los Angeles, CA 90071                             391     1/14/2019                  Promise Healthcare, Inc.                               $57,019.55                                                                            $57,019.55
Elite Health Solutions LLC
7591 Fern Ave. Suite 1602
Shreveport, LA 71105                              677      4/8/2019             Promise Hospital of Louisiana, Inc.                         $11,135.17                                                                            $11,135.17
Elite Medical Staffing, LLC
Raymond C. Carr, Esq.
625 Court Street, Suite 200
Clearwater, FL 33756                              795     5/10/2019           Promise Hospital of Wichita Falls, Inc.                       $17,718.99                                                                            $17,718.99
Elite Medical Staffing, LLC
Raymond C. Carr, Esq.
625 Court Street, Suite 200
Clearwater, FL 33756                              805     5/10/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                 $727.88                                                                               $727.88
Emdur DO, Ph.D., Larry I.
2073 Manchester Ave.
Cardiff, CA 92007                                 811     5/10/2019           Promise Healthcare of California, Inc.                         $1,025.00         $12,850.00                                                         $13,875.00
Emdur DO, Ph.D., Larry I.
2073 Manchester Ave.
Cardiff, CA 92007                                 816     5/10/2019           Promise Healthcare of California, Inc.                                                                                               $13,875.00     $13,875.00
EMDUR, LARRY DO
2073 MANCHESTER AVE.
CARDIFF, CA 92007                                 813     5/10/2019           Promise Healthcare of California, Inc.                         $1,025.00         $12,850.00                                                         $13,875.00
EMDUR, LARRY DO
2073 MANCHESTER AVE.
CARDIFF, CA 92007                                 815     5/10/2019           Promise Healthcare of California, Inc.                                                                                               $13,875.00     $13,875.00
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                              646     3/25/2019                    Quantum Health, Inc.                                 $35,618.38        $266,067.67                                                        $301,686.05
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                              652     3/25/2019                 Success Healthcare 1, LLC                                    $0.00              $0.00                                                              $0.00
EMPLOYMENT DEVELOPMENT DEPARTMENT
Bankruptcy Group MIC 92E
P.O. BOX 826880
SACRAMENTO, CA 94280                              653     3/25/2019         Promise Hospital of East Los Angeles, L.P.                     $197,581.04        $439,782.13                                                        $637,363.17




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                                                                                                                                                              Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                              Amount                                                Amount
Employment Screening Associates
Burr & Forman LLP
Richard A. Robinson
1201 N. Market Street, Suite 1407
Wilmington, DE 19801                                    614      3/7/2019               Promise Healthcare, Inc.                               $157,933.75                                                                          $157,933.75
ENCORE FIRE EXTINGUISHER SERVICE INC.
PO BOX 861508
LOS ANGELES, CA 90086                                   1663    10/28/2019         Promise Hospital of Salt Lake, Inc.                            $133.31                                                                               $133.31
ENGLAND, MD, LESLIE E
151 JEFF DAVIS BLVD, STE C
NATCHEZ, MS 39120                                       207     12/10/2018           Promise Healthcare Group, LLC                              $27,000.00                                                                           $27,000.00
ENT MEDICAL CENTER
5258 DIJON DR.
BATON ROUGE, LA 70808                                   785     5/10/2019        Promise Hospital of Baton Rouge, Inc.                            $390.00                                                                               $390.00
ENT MEDICAL CENTER
5258 DIJON DR.
BATON ROUGE, LA 70808                                   789     5/10/2019        Promise Hospital of Baton Rouge, Inc.                                                                                                   $390.00        $390.00
ESP Personnel
72-877 Dinah Shore Dr.
Suite 103 #232
Rancho Mirage, CA 92270                                 1640     8/1/2019            Promise Healthcare Group, LLC                                $960.00                                                                               $960.00
ESR Inc.
25030 Avenue Stanford Suite 190
Valencia, CA 91355                                      590     2/26/2019       Promise Hospital of East Los Angeles, L.P.                       $3,600.00                                                                            $3,600.00
Estate of Karen G Ridout ,David C Ridout , Executor
7129 Kinross Drive
Raleigh, NC 27613                                       1140    5/29/2019            Promise Healthcare Group, LLC                                                                                                   $235,180.00    $235,180.00
Estate of Karen G Ridout, David C Ridout,Executor
7129 Kinross Drive
Raleigh, NC 27613                                       1136    5/29/2019            Promise Healthcare Group, LLC                                                                                                   $217,726.00    $217,726.00
Estate of Terry Babin
Law Office of Gia Kosmitis, APLC
3316 Line Avenue
Shreveport, LA 71104                                    628     3/11/2019            Promise Healthcare Group, LLC                           $1,000,000.00                                                                         $1,000,000.00
Euler Hermes N.A as Agent for OneStaff Medical, LLC
800 Red Brook Blvd, #400C
Owings Mills, MD 21117                                  615     3/11/2019        Promise Hospital of Overland Park, Inc.                        $28,641.38                                             $8,470.00                     $37,111.38
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                                 203     12/13/2018       Promise Properties of Shreveport, LLC                            $383.00                                                                               $383.00
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                                 703     4/30/2019                HLP of Los Angeles, LLC                                  $383.00                                                                               $383.00
Eurotrol
850 N. Black Branch Rd.
Elizabethtown, KY 42701                                 727      5/6/2019            Promise Healthcare Group, LLC                               $5,028.00                                                                            $5,028.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                                  1510     6/3/2019            Promise Properties of Lee, Inc.                                 $0.00                                                                                $0.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                                  1517     6/3/2019             Promise Hospital of Lee, Inc.                                                                                                        $0.00          $0.00
Evans, Savannah
3214 21st St SW
Lehigh Acres, FL 33976                                  1713    1/30/2020            Promise Healthcare Group, LLC                                                                                                         $0.00          $0.00




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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
EVERCORE TRUST COMPANY, N.A.
RUTH CALAMAN
55 EAST 52ND STREET, 23RD FLOOR
NEW YORK, NY 10055                           3      11/13/2018               Promise Healthcare Group, LLC                             $12,500.00                                                                           $12,500.00
EXECUTONE OF CENTRAL LA, INC
11316 PENNYWOOD AVE
BATON ROUGE, LA 70809                       773      5/9/2019              Promise Hospital of Louisiana, Inc.                           $609.12                                                                              $609.12
Experian Health, Inc.
c/o FrankGecker LLP
Joseph D. Frank
1327 W. Washington Blvd.
Suite 5G-H
Chicago, IL 60607                           1386    5/31/2019                   Success Healthcare 1, LLC                               $1,426.53                                                                            $1,426.53
Express Ambulance
Grant Mercantile Agency
PO Box 658
Oakhurst, CA 93644                          403     1/14/2019                Promise Healthcare Group, LLC                             $23,189.41                                                                           $23,189.41
Express Ambulance
Grant Mercantile Agency
PO Box 658
Oakhurst, CA 93644                          966     5/23/2019                     Quantum Health, Inc.                                 $23,189.41                                                                           $23,189.41
Express Employment Professionals
3612 Kemp Blvd
Wichita Falls, TX 76308                     659     3/28/2019             Promise Hospital of Wichita Falls, Inc.                       $5,672.16                                                                            $5,672.16
Express Recovery Services, Inc.
PO Box 26415
Salt Lake City, UT 84126                    169     12/3/2018                Promise Healthcare Group, LLC                             $20,677.57                                                                           $20,677.57
FAIRBURN MEDICAL PRODUCTS, LLC
8533 REDWOOD DR
HELENA, AL 35022                            700     4/23/2019              Promise Hospital of Ascension, Inc.                         $65,801.24                                                                           $65,801.24
FAIRBURN MEDICAL PRODUCTS, LLC
8533 REDWOOD LANE
HELENA, AL 35022                            698     4/23/2019             Promise Hospital of Baton Rouge, Inc.                         $4,824.68                                                                            $4,824.68
Faultless Healthcare
Faultless Laundry Company
330 W 19th Terrace
Kansas City, MO 64108                       397     1/16/2019              St. Alexius Hospital Corporation #1                         $82,447.99                                                                           $82,447.99
FedEx Corporate Services Inc.
3965 Airway Blvd Module G, 3rd Floor
Memphis, TN 38116-5017                      410     1/11/2019                Promise Healthcare Group, LLC                              $8,206.09                                                                            $8,206.09
Fiber Visions dba Alphagraphics
117 West 900 South
Salt Lake City, VT 84101                    501     2/11/2019                Promise Healthcare Group, LLC                              $2,223.73                                                                            $2,223.73
First Databank, Inc.
500 E. 96th Street, Ste 500
Indianapolis, IN 46240                      353      1/9/2019    PHG Technology Development and Services Company, Inc.                $212,288.00                                                                          $212,288.00
First Databank, Inc.
500 E. 96th Street, Ste 500
Indianapolis, IN 46240                      348      1/9/2019                Promise Healthcare Group, LLC                             $70,759.00                                                                           $70,759.00
FIRST QUALITY MEDICAL MANAGEMENT, INC.
9860 INDIANA AVE. # 13
RIVERSIDE, CA 92503                         712      5/1/2019                    Success Healthcare, LLC                                                   $960.00                                                            $960.00
FIRSTPATH
STACEY FERNANDEZ
3141 W MCNAB RD
POMPANO BEACH, FL 33069                     118     11/29/2018               Promise Healthcare Group, LLC                             $38,629.85                                                                           $38,629.85


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FIRSTPATH
STACEY FERNANDEZ
3141 W MCNAB RD
POMPANO BEACH, FL 33069                      205     12/13/2018            Promise Healthcare Group, LLC                             $39,071.85                                                                           $39,071.85
FIRSTPATH
STACEY FERNANDEZ
3141 W. MCNAB RD.
POMPANO BEACH, FL 33069                       40     11/23/2018            Promise Healthcare Group, LLC                              $1,182.50                                                                            $1,182.50
Flexcare, LLC
c/o Jason Rios, Felderstein et al.
400 Capitol Mall, Suite 1750
Sacramento, CA 95814                         1439    5/31/2019       Promise Hospital of East Los Angeles, L.P.                      $73,744.98                                                                           $73,744.98
Flowers Davis, Shenitha
104 Grand Bear Cir.
Vicksburg, MS 39183                          910     5/21/2019             Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
FLOWERS, SHENITHA
1087 MAGNOLIA LANE
PORT GIBSON, MS 39150                        907     5/21/2019           Promise Hospital of Vicksburg, Inc.                              $0.00                                                                                $0.00
FMG Leading
Attn: General Counsel
P.O. Box 13313
Newport Beach, CA 92658                      1038    5/24/2019             Promise Healthcare Group, LLC                             $63,000.17                                                                           $63,000.17
FMLASource
Bob Mallers CFO
455 N. Cityfront Plaza Drive
NBC Tower 13th Floor
Chicago, IL 60611                            668      4/2/2019             Promise Healthcare Group, LLC                              $4,231.41                                                                            $4,231.41
FOLLETT CORPORATION
801 CHURCH LANE
EASTON, PA 18040                             739      5/6/2019             Promise Healthcare Group, LLC                              $1,864.38                                                                            $1,864.38
Food Management Group, Inc
Craig P.Boudreaux,Jr.,CEO
70 Jessie DunPont Memorial highway
Burgess, VA 22432                            1468    5/28/2019             Promise Healthcare Group, LLC                                                    $0.00                                                              $0.00
FOOD MANAGEMENT GROUP, INC.
CRAIG P. BOUDREAUX, JR., CEO
70 JESSE DUPONT MEMORIAL HWY
BURGESS, VA 22432                            445     1/22/2019             Promise Healthcare Group, LLC                                              $184,323.62                                                        $184,323.62
FOOD MANAGEMENT GROUP, INC.
CRAIG P. BOUDREAUX, JR., CEO
70 JESSE DUPONT MEMORIAL HWY
BURGESS, VA 22432                            468     1/25/2019             Promise Healthcare Group, LLC                                              $272,067.00                                                        $272,067.00
Foreman, Todd M.
10021 Counselman Road
Potomac, MD 20854                            1551    6/19/2019             Promise Healthcare Group, LLC                            $504,412.00                                                                          $504,412.00
Fortec Medical Inc
6245 Hudson Crossing Parkway
Hudson, OH 44236                             1644    8/15/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
ForTec Medical, Inc.
6245 Hudson Crossing Parkway
Hudson, OH 44236                             526     2/14/2019     Promise Hospital of Florida at The Villages, Inc.                  $8,189.50                                                                            $8,189.50
ForTec Medical, Inc.
6245 Hudson Crossing Parkway
Hudson, OH 44236                             1643    8/15/2019     Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                                $0.00




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Founding Partners Capital Management Company
Attn: Daniel S. Newman, Receiver
2 S. Biscayne Blvd., Suite 2100
Miami, FL 33131                                       1388    5/31/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Founding Partners Capital Management Company
Attn: Daniel S. Newman, Receiver
One Biscayne Tower 2 S. Biscayne Blvd, Suite 2100
Miami, FL 33131                                       1442    5/31/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
Founding Partners Capital Management Company
Founding Partners Capital
Management Company
2 S. Biscayne Blvd., Suite 2100
Miami, FL 33131                                       1316    5/31/2019            Promise Healthcare Group, LLC                                 $0.00                                                                                $0.00
FPL
GENERAL MAIL FACILITY
MIAMI, FL 33188                                       1512     6/3/2019             Promise Hospital of Lee, Inc.                             $7,165.38                                                                            $7,165.38
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1525    6/10/2019                HLP of Los Angeles, LLC                                $1,256.78         $6,699.28                                                          $7,956.06
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1532    6/14/2019               Quantum Properties, L.P.                                 $433.33          $1,679.89                                                          $2,113.22
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1533    6/14/2019              Success Healthcare 1, LLC                                $3,492.66        $12,949.03                                                         $16,441.69
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1534    6/14/2019               Promise Healthcare, Inc.                                                   $830.90                                                            $830.90
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1538    6/14/2019                 Quantum Health, Inc.                                   $632.00           $830.90                                                           $1,462.90
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1539    6/14/2019         Promise Healthcare of California, Inc.                          $14.67           $830.90                                                            $845.57
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1540    6/14/2019            Promise Healthcare Group, LLC                               $116.09           $851.47                                                            $967.56
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1541    6/14/2019                     PH-ELA, Inc.                                                            $0.00                                                             $0.00
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1542    6/14/2019                  HLP Properties, Inc.                                                    $830.90                                                            $830.90
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                             1543    6/14/2019       Promise Hospital of East Los Angeles, L.P.                      $2,914.44         $1,679.89                                                          $4,594.33


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Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                                          1544    6/14/2019              Success Healthcare 2, LLC                                  $116.09           $851.47                                                             $967.56
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                                          1546    6/14/2019               Success Healthcare, LLC                                   $596.78           $974.37                                                           $1,571.15
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                                          1547    6/14/2019          Promise Healthcare Holdings, Inc.                                                $168.37                                                             $168.37
Frank Sager & Son, Inc
4754 Theiss Rd
St. Louis, MO 63128                                                190     12/11/2018          Promise Healthcare Group, LLC                               $5,890.00                                                                             $5,890.00
FREEDOM MEDICAL, INC
219 WELSH POOL RD
EXTON, PA 19341                                                    903     5/21/2019           Promise Healthcare Group, LLC                            $1,106,243.62                                                                         $1,106,243.62
Fresenius Medical Care Wichita Falls, LLC d/b/a Fresenius Care
North Texas
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                  378     1/11/2019        Promise Hospital of Wichita Falls, Inc.                       $53,889.86                                                                            $53,889.86
FUENTES, SHARON J.
9325 WESTHILL LANE
LAKESIDE, CA 92040                                                 386     1/11/2019           Promise Healthcare Group, LLC                                                 $10,000.00            $0.00                                        $10,000.00
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                  934     5/23/2019             Promise Hospital of Lee, Inc.                             $2,417.34                                              $1,208.45                      $3,625.79
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                  935     5/23/2019        Promise Hospital of Overland Park, Inc.                        $5,718.82                                                 $77.61                      $5,796.43
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                  936     5/23/2019            Promise Hospital of Dade, Inc.                            $10,206.64                                              $2,612.00                     $12,818.64
Fukuda Denshi USA, Inc.
Fox Rothschild LLP
Attn: Robert Amkraut
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                  937     5/23/2019           Promise Properties of Dade, Inc.                           $10,206.64                                              $2,612.00                     $12,818.64
GAINES, DELORES
2616 GEORGIA AVENUE
KANSAS CITY, KS 66104                                              858     5/15/2019           Promise Healthcare Group, LLC                                   $0.00                                                                                 $0.00
GALVEZ, MARIBELLE P.
2912 PARKWOOD COURT
FULLERTON, CA 92835                                                885     5/20/2019           Promise Healthcare Group, LLC                                   $0.00                                                                                 $0.00
GALVEZ, MARIBELLE P.
2912 PARKWOOD COURT
FULLERTON, CA 92835                                                943     5/20/2019           Promise Healthcare Group, LLC                                                                                                          $0.00          $0.00


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                                                                                                                                                Amount                                                Amount
Garda CL Southwest, Inc.
GardaWorld
2000 NW Corporate Boulevard
Boca Raton , FL 33431                                     1179    5/30/2019           St. Alexius Hospital Corporation #1                           $978.81                                                                              $978.81
Garratt-Callahan Co.
50 Ingold Road
Burlingame, CA 94010                                      1588    7/15/2019             Promise Healthcare Group, LLC                              $1,443.84                                                                            $1,443.84
GE Healthcare Datex
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         342      1/7/2019       Promise Hospital of East Los Angeles, L.P.                       $2,416.42                                                                            $2,416.42
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         337      1/7/2019       Promise Hospital of East Los Angeles, L.P.                       $1,785.65                                                                            $1,785.65
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         340      1/7/2019           Promise Hospital of Louisiana, Inc.                           $617.03                                                                              $617.03
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         341      1/7/2019             Promise Hospital of Dade, Inc.                            $34,636.69                                                                           $34,636.69
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         343      1/7/2019                Promise Healthcare, Inc.                                   $0.00                                                                                $0.00
GE Healthcare OEC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         359     1/10/2019     Promise Hospital of Florida at The Villages, Inc.                  $1,926.00                                                                            $1,926.00
GE Precision Healthcare LLC
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         894     5/20/2019              Promise Hospital of Lee, Inc.                            $43,042.48                                                                           $43,042.48
GE Precision Healthcare LLC aka GE Healthcare OEC
DeHaan & Bach, LPA
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         905     5/20/2019     Promise Hospital of Florida at The Villages, Inc.                                                                                        $4,575.00      $4,575.00
GE Precision LLC aka GE Healthcare Diagnostic Imaging
DeHaan & Bach, LPA
c/o Stephanie F. Gilley, Authorized Agent
25 Whitney Drive, Suite 106
Milford, OH 45150                                         908     5/20/2019              Promise Hospital of Lee, Inc.                                                                                                   $5,232.13      $5,232.13
GEHA, M.D., DANIEL J
8800 STATE LINE ROAD
LEAWOOD, KS 66206-1553                                    212     12/7/2018             Promise Healthcare Group, LLC                             $11,952.00                                                                           $11,952.00
Genset Services, Inc.
Attn: Dave Shield
3100 Gateway Drive
Pompano Beach, FL 33069                                   517     2/13/2019             Promise Hospital of Dade, Inc.                             $1,677.00                                                                            $1,677.00
GENTZLER ELECTRICAL SERVICES, INC
11545 PAGE MILL ROAD
#200
DALLAS, TX 75243                                          737      5/6/2019             Promise Hospital of Dallas, Inc.                                                              $2,987.70                                         $2,987.70


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                                                                                                                                  Amount                                                   Amount
GFI DIGITAL
3236 W. EDGEWOOD STE A
JEFFERSON CITY, MO 65109                          442     1/22/2019          Promise Healthcare Group, LLC                             $5,280.48                                                                             $5,280.48
Gibbs Technology Leasing
3236 W. Edgewood Dr.
St A
Jefferson City, MO 65109                          443     1/22/2019          Promise Healthcare Group, LLC                             $7,059.73                                                                             $7,059.73
Giegerich, Beverly A.
341 Lagro Ave
St. Louis, MO 63125                               1733    3/11/2020          Promise Healthcare Group, LLC                                                                                                        $0.00          $0.00
Giffler, Ronald F.
Stacey Fernandez
3141 W. McNab Rd.
Pompano Beach, FL 33069                            51     11/23/2018         Promise Healthcare Group, LLC                             $1,182.50                                                                             $1,182.50
Giffler, Ronald F.
Stacey Fernandez
3141 W. McNab Rd.
Pompano Beach, FL 33069                           202     12/13/2018         Promise Healthcare Group, LLC                             $1,290.00                                                                             $1,290.00
Glenview Pathology Medical Group, Inc.
Attn: Pathology Dept
3828 Hughes Avenue
Culver City, CA 90232                             281     12/27/2018         Promise Healthcare Group, LLC                             $7,900.00                                                                             $7,900.00
Gordon, William D.
PO Box 1134
McGill, NV 89318                                  1687    1/21/2020          Promise Healthcare Group, LLC                                                                                                    $2,080.00      $2,080.00
Grabish, Stanley
928 Austin Avenue
Atlanta, GA 30307                                 1443    5/31/2019          Promise Healthcare Group, LLC                           $132,150.00         $12,850.00                                                        $145,000.00
Granite Telecommunications LLC
100 Newport Ave Ext
Quincy , MA 02171                                 256     12/26/2018         Promise Healthcare Group, LLC                               $689.63                                                                               $689.63
Gray Robinson Attorneys at Law
301 E. Pine Street, Suite 1400
Orlando, FL 32801                                 588     2/27/2019          Promise Healthcare Group, LLC                            $26,832.08                                                                            $26,832.08
Greenbarg, Gerson
17063 Ryton Lane
Boca Raton, FL 33496                              1305    5/30/2019          Promise Healthcare Group, LLC                            $40,000.00                                                                            $40,000.00
GREENBARG, TODD
58 ARDSLEY AVENUE WEST
IRVINGTON, NY 10533                               840     5/14/2019          Promise Healthcare Group, LLC                           $176,364.79                                                                           $176,364.79
Greenberg & Strelitz, P.A.
Attn: Jeffrey L. Greenberg
2500 N. Military Trail, Suite 235
Boca Raton, FL 33431                              335      1/7/2019             Promise Healthcare, Inc.                              $70,827.50                                                                            $70,827.50
Gregory FX Daly, Collector of Revenue
1200 Market St., Room 410
St. Louis, MO 63103                               481      2/5/2019          Promise Healthcare Group, LLC                            $23,394.24                                                                            $23,394.24
GROSVENOR TRUST COMPANY LIMITED AS TRUSTEE OF
JACQUES TRUST
ALFREDA ROCHESTER
65 FRONT STREET, SECOND FLOOR
HAMILTON HM12
BERMUDA                                           1283    5/30/2019          Promise Healthcare Group, LLC                          $1,386,884.48                                                                         $1,386,884.48
Gunther Salt Company
101 Buchanan
St. Louis, MO 63147                                31     11/20/2018         Promise Healthcare Group, LLC                                                                                    $2,045.68                      $2,045.68


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                                                                                                                                                Amount                                                  Amount
Hadfield, Carolyn
10827 E Ocaso Ave
Mesa, AZ 85212                                             1717    2/10/2020            Promise Healthcare Group, LLC                                                                                                     $20,000.00     $20,000.00
Hadfield, Carolyn K
10827 E Ocaso Ave
Mesa, AZ 85212                                             1718    2/10/2020            Promise Healthcare Group, LLC                              $20,000.00                                                                            $20,000.00
HADI JAVADI dba CREATIVE GARDENING
PMB 199, 25422 TRABUCO ROAD
#105
LAKE FOREST, CA 92630                                      690     4/15/2019            Promise Healthcare Group, LLC                               $6,426.94         $37,096.00                                                         $43,522.94
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica
Suite 370
Irvine, CA 92618                                           278     12/20/2018      Promise Hospital of East Los Angeles, L.P.                           $0.00                               $0.00                                             $0.00
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica, Suite 370
Irvine, CA 92618                                           272     12/20/2018               Success Healthcare, LLC                                     $0.00                               $0.00                                             $0.00
Harbor Pointe Air Conditioning & Control Systems, Inc.
Attn: Hallie D. Hannah, Esq.
100 Pacifica, Suite 370
Irvine, CA 92618                                           273     12/20/2018      Promise Hospital of East Los Angeles, L.P.                      $27,832.56                                                                            $27,832.56
Hardy Diagnostics
429 S Pioneer Blvd
Springboro, OH 45066                                       204     12/13/2018      Promise Hospital of East Los Angeles, L.P.                       $3,640.43                                                                             $3,640.43
Harrell, Micahel
1784 Pine Tree Trail
Brookhaven, MS 39601                                       1400    5/31/2019       Professional Rehabilitation Hospital, L.L.C.                                       $54,000.00                                                         $54,000.00
Harris County, et al
Linebarger Goggan Blair & Sampson, LLP
Attn: John P. Dillman
PO Box 3064
Houston, TX 77253-3064                                     436     1/22/2019            Promise Healthcare Group, LLC                                                                       $0.00                                             $0.00
Harris County, et al.
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                                     475      2/4/2019            Promise Healthcare Group, LLC                                                                                                          $0.00          $0.00
Harris, Craig R.
4472 Olyvia Place
Roanoke, VA 24018                                          236     12/19/2018           Promise Healthcare Group, LLC                             $776,500.77                                                                           $776,500.77
HARRIS, CRAIG R.
4472 OLYVIA PLACE
ROANOKE, VA 24018                                          889     5/20/2019            Promise Healthcare Group, LLC                             $776,500.77                                                                           $776,500.77
HASLINGER DIVERSIFIED VENTURES, LTD.
2524 IRA ROAD
AKRON, OH 44333                                            902     5/20/2019            Promise Healthcare Group, LLC                            $3,958,356.00                                                                         $3,958,356.00
Hayden, Lauren
102 West Main Street
Calhoun, MO 65323                                          1672    1/13/2020            Promise Healthcare Group, LLC                              $10,000.00                                                                            $10,000.00
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                                    90     11/26/2018           Promise Hospital of Dallas, Inc.                            $9,020.44                                                                             $9,020.44
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                                    91     11/26/2018       Promise Hospital of Overland Park, Inc.                         $3,120.16                                                                             $3,120.16

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                 Creditor Name and Address                    Claim No. Claim Date                          Debtor                                  Unsecured Claim                                          Admin Priority
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                                                                                                                                                        Amount                                                  Amount
HD SUPPLY FACILITIES MAINTENANCE
PO BOX 509058
SAN DIEGO, CA 92150-9058                                        112     11/26/2018         Promise Hospital of East Los Angeles, L.P.                       $5,984.37                                                                             $5,984.37
HEADINGLEY HOLDINGS, LTD.
ALFREDA ROCHESTER
65 FRONT STREET, SECOND FLOOR
HAMILTON HM12
BERMUDA                                                         1278    5/30/2019               Promise Healthcare Group, LLC                            $3,315,609.82                                                                        $3,315,609.82
Health Care Software, Inc.
Attn: Karen Janiszewski
PO Box 2430
Farmingdale, NJ 07727                                           185     12/11/2018              Promise Healthcare Group, LLC                              $54,953.00                                                                            $54,953.00
Health Net of California, Inc.
c/o Katten Muchin Rosenman LLP
Attn: William B. Freeman
515 South Flower Street
Suite 1000
Los Angeles, CA 90071                                           1015    5/28/2019          Promise Hospital of East Los Angeles, L.P.                      $34,195.05                                                                            $34,195.05
HEALTH SPECIALISTS, INC.
12345 95TH ST.
SUITE 215
LENEXA, KS 66215                                                223     12/19/2018          Promise Hospital of Overland Park, Inc.                        $13,665.00                                                                            $13,665.00
HEALTHCARE PROS, INC.
10833 VALLEY VIEW
SUITE 525
CYPRESS, CA 90630                                               657     3/28/2019          Promise Hospital of East Los Angeles, L.P.                      $22,192.00         $12,850.00                                                         $35,042.00
HEALTHCARE PROS, INC.
10833 VALLEY VIEW
SUITE 525
CYPRESS, CA 90630                                               1647    8/19/2019          Promise Hospital of East Los Angeles, L.P.                      $35,042.26                                                                            $35,042.26

Healthcare Recruiters, LLC dba United Nursing International
4051 Veterans Memorial Blvd.
Suite 306
Metairie, LA 70002                                              658     3/28/2019            Promise Hospital of Baton Rouge, Inc.                          $5,214.75                                                                             $5,214.75
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                                     597     2/25/2019    Promise Skilled Nursing Facility of Overland Park, Inc.              $129,264.64                                                                           $129,264.64
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                                     606     2/25/2019           Promise Hospital of Overland Park, Inc.                       $113,268.04                                                                           $113,268.04
HEALTHCARE SERVICES GROUP, INC.
PATRICK J. ORR
3220 TILLMAN DRIVE
STE 300
BENSALEM TOWNSHIP, PA 19020                                     610     2/25/2019              Promise Hospital of Phoenix, Inc.                          $148,920.61                                                                           $148,920.61
HeartTraining, LLC
7300 W. 110th St. Ste. 700
Overland Park, KS 66210                                          58     11/27/2018          Promise Hospital of Overland Park, Inc.                         $1,524.43                                                                             $1,524.43
Heb Ababa, et al (See Attached)
Shulman Hodges & Bastian LLP
100 Spectrum Center Dr., Ste. 600
Irvine, CA 92618                                                602      3/1/2019          Promise Hospital of East Los Angeles, L.P.                    $4,000,000.00                                                                        $4,000,000.00

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                                                                                                                                         Amount                                                   Amount
Heb Ababa, et al (See Attached)
Shulman Hodges & Bastian LLP
100 Spectrum Center Dr., Ste. 600
Irvine, CA 92618                                  603      3/1/2019            Promise Healthcare of California, Inc.                      $4,000,000.00                                                                         $4,000,000.00
HELMER INC
14400 BERGEN BLVD
NOBLESVILLE, IN 46060                             734      5/6/2019       Promise Hospital of Florida at The Villages, Inc.                     $223.90                                                                               $223.90
Heritage Healthcare Services, Inc.
Attn: Lisa Dalton
1009 Reservoir Avenue
Cranston , RI 02910                                12     11/14/2018              Promise Healthcare Group, LLC                             $280,866.68                                                                           $280,866.68
Heritage Healthcare Services, Inc.
McCarter & English LLP
Kate Roggio Buck & Matthew J. Rifino, Esquire
Renaissance Center
405 North King Street, Suite 800
Wilmington, DE 19801                              433     1/24/2019               Promise Hospital of Dade, Inc.                            $110,845.30                                             $21,593.24                    $132,438.54
Heritage Healthcare Services, Inc.
McCarter & English LLP
Kate Roggio Buck & Matthew J. Rifino, Esquire
Renaissance Center
405 North King Street, Suite 800
Wilmington, DE 19801                              435     1/24/2019                Promise Hospital of Lee, Inc.                             $89,358.53                                             $21,619.00                    $110,977.53
Hill's Bros. Lock & Safe, Inc.
9177 Garden Grove Blvd.
Garden Grove, CA 92844                            1147    5/29/2019          Promise Hospital of East Los Angeles, L.P.                       $8,490.89                                                                             $8,490.89
Hinkle, Marlena L.
9809 Luna Ave
St. Louis, MO 63125                               1698    1/17/2020               Promise Healthcare Group, LLC                                                                                                          $0.00          $0.00
Hobart Service
701 S. Ridge Ave
Troy, OH 45374                                    648     3/20/2019               Promise Healthcare Group, LLC                               $6,308.16                                                                             $6,308.16
Holmes, Leslie
Genie Harrison Law Firm, APC
523 W. 6th Street, Suite 707
Los Angeles, CA 90012                             1527    6/10/2019                  Success Healthcare 1, LLC                             $2,000,000.00                                                                         $2,000,000.00
Hooper, Lundy & Bookman, P.C.
1875 Century Park East
Suite 1600
Los Angeles , CA 90067-2517                       285     12/27/2018                 Promise Healthcare, Inc.                                $21,974.74                                                                            $21,974.74
Hooper, Lundy & Bookman, P.C.
1875 Century Park East
Suite 1600
Los Angeles, CA 90067-2517                        286     12/27/2018                 Success Healthcare 1, LLC                                $2,002.10                                                                             $2,002.10
Hopwood, James
418 Old York Rd
Coppell, TX 75019-3739                            984     5/24/2019               Promise Healthcare Group, LLC                                 $150.00                                                                               $150.00
HOPWOOD, JAMES
418 OLD YORK RD
COPPLL, TX 75017-3739                             939     5/24/2019               Promise Healthcare Group, LLC                                 $150.00                                                                               $150.00
HUDSON HOLDINGS, INC., DBA PRESTON PHARMACY
2622 W CENTRAL AVE
SUITE 302
WICHITA, KS 67203                                 1262    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.              $113,203.65                                                                           $113,203.65




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                Creditor Name and Address   Claim No. Claim Date                           Debtor                                    Unsecured Claim                                        Admin Priority
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                                                                                                                                         Amount                                                Amount
Huron Consulting Group Inc.
Attn: H. Katz
550 W. Van Buren Street, 17th Floor
Chicago, IL 60607                             536     2/13/2019                Promise Healthcare Group, LLC                              $477,927.46                                                                          $477,927.46
IBM Credit LLC
Attn: Marie-Josee Dube
275 Viger East
Montreal, QC H2X 3R7
Canada                                        329      1/4/2019                   Promise Healthcare, Inc.                              $1,401,215.10                                                                         $1,401,215.10
ICare.Com Inc.
401 E. Las Olas Blvd, Ste 1400
Fort Lauderdale, FL 33301                     621      3/4/2019                Promise Healthcare Group, LLC                            $1,456,198.55                                                                         $1,456,198.55
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                     1077    5/28/2019                Promise Healthcare Group, LLC                            $1,461,439.88                                                                         $1,461,439.88
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                     1080    5/28/2019    PHG Technology Development and Services Company, Inc.                $1,461,439.88                                                                         $1,461,439.88
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                     1102    5/28/2019                   Promise Healthcare, Inc.                              $1,461,439.88                                                                         $1,461,439.88
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                     1110    5/28/2019                    Success Healthcare, LLC                              $1,461,439.88                                                                         $1,461,439.88
ICARE.COM, INC
401 E. LAS OLAS BLVD
SUITE 1400
FORT LAUDERDALE, FL 33301                     1511     6/3/2019                  Promise Healthcare #2, LLC                             $1,461,439.88                                                                         $1,461,439.88
IGWE, NNEKA
10657 SOUTH WILTON PLACE
LOS ANGELES, CA 90047                         688     4/11/2019                Promise Healthcare Group, LLC                                    $0.00                                                                                $0.00
IHC Health Services, Inc.
Snell & Wilmer LLP c/o Timothy Dance
15 W. South Temple, Ste 1200
Salt Lake City, UT 84101                      1479    5/31/2019               Promise Hospital of Salt Lake, Inc.                       $1,039,197.38                                                                         $1,039,197.38
Immediate Respiratory Staffers Inc
8777 East Via De Ventura # 390
Scottsdale, AZ 85258                          862     5/14/2019                Promise Healthcare Group, LLC                                                                                                      $7,097.00      $7,097.00
Immediate Respiratory Staffers, Inc.
8777 East Via De Ventura
Suite 390
Scottsdale, AZ 85258                          220     12/18/2018               Promise Healthcare Group, LLC                                $6,533.00                                                                            $6,533.00
Immediate Respiratory Staffers, Inc.
8777 East Via De Ventura
Suite 390
Scottsdale, AZ 85258                          859     5/14/2019                Promise Healthcare Group, LLC                                $7,097.00                                                                            $7,097.00
Immucor Inc.
3130 Gateway Dr.
Norcross, GA 30071                            491      2/4/2019                Promise Healthcare Group, LLC                                $7,597.88                                                                            $7,597.88
Immucor, Inc
3130 Gateway Drive
Norcross, GA 30071                            338     12/26/2018             St. Alexius Hospital Corporation #1                            $4,497.51                                                                            $4,497.51


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                Creditor Name and Address         Claim No. Claim Date                       Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                                Amount
Impact Network, LLC
Jay M. Simon, A.P.L.C.
Jay M. Simon, Attorney at Law
8480 Bluebonnet Blvd.
Suite G
Baton Rouge, LA 70810                               896     5/21/2019          Promise Hospital of Ascension, Inc.                         $55,050.00                                                                           $55,050.00
Imprivata
Stephen Keisling
10 Maguire Road
Lexington , MA 02421                                 23     11/19/2018           Promise Healthcare Group, LLC                             $44,880.19                                                                           $44,880.19
Independent Tax Group dba Training Refund Group
5051 ORANGETHORPE AVE #E
ANAHEIM, CA 92807                                   387      1/8/2019       Promise Hospital of East Los Angeles, L.P.                      $7,682.00                                                                            $7,682.00
Ingram, MD, J Kevin
1154 Logan Sewell Rd.
Vidalia, LA 71373                                   1084    5/28/2019            Promise Healthcare Group, LLC                                               $10,977.00                                                         $10,977.00
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                    74     11/29/2018         Promise Hospital of Ascension, Inc.                          $6,053.35                                                                            $6,053.35
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                    75     11/29/2018          Promise Hospital of Phoenix, Inc.                          $18,234.76                                                                           $18,234.76
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                    77     11/29/2018                Quantum Health, Inc.                                 $32,397.96                                                                           $32,397.96
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                    78     11/29/2018       Promise Hospital of Baton Rouge, Inc.                          $1,528.30                                                                            $1,528.30
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                    79     11/29/2018             Success Healthcare 1, LLC                                $8,799.23                                                                            $8,799.23
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                   119     11/30/2018         St. Alexius Hospital Corporation #1                          $4,460.69                                                                            $4,460.69
Instrumentation Laboratory
180 Hartwell Road
Bedford, MA 01730                                   454     1/28/2019        Promise Hospital of Baton Rouge, Inc.                          $4,708.18                                                                            $4,708.18
Integra Lifesciences
311 Enterprise Dr.
Plainsboro , NJ 08536                               159     12/6/2018       Promise Hospital of East Los Angeles, L.P.                     $15,129.18                                                                           $15,129.18
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                          558     2/20/2019            Promise Healthcare Group, LLC                               $112.21                                                                              $112.21
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                          560     2/20/2019            Promise Healthcare Group, LLC                                $52.64                                                                               $52.64
Integrated Office Technology dba IOTEC
12150 Mora Drive Unit 2
Santa Fe Springs, CA 90607                          561     2/20/2019            Promise Healthcare Group, LLC                              $4,524.90                                                                            $4,524.90
Integrated Regional Laboratories, LLP
100 SE 3rd Avenue, Suite 2700
Fort Lauderdale, FL 33394                           550     2/15/2019            Promise Hospital of Dade, Inc.                            $70,084.06                                                                           $70,084.06
Intensive Therapeutics, Inc.
PO Box 488
Sarasota, FL 34230                                  770      5/9/2019        Promise Hospital of Overland Park, Inc.                          $84.38                                                                               $84.38




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                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                  Unsecured Claim                                        Admin Priority
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                                                                                                                                       Amount                                                Amount
INTERMED GROUP, INC.
13301 NW US HIGHWAY 441
ALACHUA, FL 32615-8512                         875     5/17/2019       Promise Hospital of Florida at The Villages, Inc.                  $1,377.00                                                                            $1,377.00
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                             486      2/7/2019              Promise Hospital of Phoenix, Inc.                           $2,070.00                                                                            $2,070.00
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                             487      2/7/2019              Promise Hospital of Phoenix, Inc.                           $1,394.35                                                                            $1,394.35
Interstate Mechanical Corporation
1841 E Washington St
Phoenix , AZ 85034                             488      2/7/2019              Promise Hospital of Phoenix, Inc.                            $702.37                                                                              $702.37
IPM TECH PEST MANAGEMENT
PO BOX 890
ONTARIO, CA 91762                              553     2/18/2019               Promise Healthcare Group, LLC                              $2,960.00                                                                            $2,960.00
Isolation Door Caddy LLC
1917 Benjamin Drive
Salisbury, NC 28146                            350      1/9/2019           Promise Hospital of Overland Park, Inc.                                                                               $590.91                        $590.91
IV Access, Inc.
799 NE 2nd Ave
Delray Beach, FL 33444                         393     1/15/2019               Promise Properties of Lee, Inc.                           $47,500.00                                                                           $47,500.00
James Ratliff MD LLC
13184 W Waterside Dr
Baton Rouge, LA 70818                          382     1/11/2019            Promise Hospital of Baton Rouge, Inc.                                          $30,240.00                                                         $30,240.00
JOHN A. SERPA, MD. PA.
P.O. BOX 160837
HIALEAH, FL 33016                              1055    5/28/2019               Promise Healthcare Group, LLC                                                    $0.00                          $19,360.00                     $19,360.00
Johnson Controls Inc
Attn: Brian Wilderman LD-9
5757 N Green Bay Ave
Milwaukee, WI 53209                            287     12/27/2018   Promise Behavioral Health Hospital of Shreveport, Inc.                $9,462.94                                                                            $9,462.94
Johnson Controls Inc
Attn: Brian Wilderman LD-9
5757 N Green Bay Ave
Milwaukee, WI 53209                            349      1/9/2019             St. Alexius Hospital Corporation #1                          $1,131.85                                                                            $1,131.85
Johnson County Wastewater
Customer Service
11811 S. Sunset Drive , Suite 2500
Olathe, KS 66061                               865     5/13/2019               Promise Healthcare Group, LLC                             $11,124.55                                                                           $11,124.55
Johnson, Jeremy
1444 Country Club Rd
Olney, TX 76374                                1514     6/4/2019            Promise Hospital of Wichita Falls, Inc.                       $5,150.00        $12,850.00                                                         $18,000.00
Johnson, Jeremy W.
Bankruptcy Clerk
824 Market Street, 3rd Floor
Wilmington, DE 19801                           549     2/13/2019               Promise Healthcare Group, LLC                              $4,750.00        $12,850.00                                                         $17,600.00
JRM Environmental, Inc.
7755 E. Gelding Drive, Suite C104
Scottsdale, AZ 85260                           1592    7/15/2019               Promise Healthcare Group, LLC                               $450.00                                                                              $450.00
K Jett Services, LLC
PO Box 53
Belton, MO 64012                               455     1/30/2019           Promise Hospital of Overland Park, Inc.                        $1,490.00                                                                            $1,490.00
Kansas City Power & Light
P.O. Box 11739
Kansas City, MO 64138-0239                     265     12/26/2018              Promise Healthcare Group, LLC                             $23,284.18                                                                           $23,284.18




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                                                                                                                                                                 Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                  Amount
Kansas Gas Service
Attn: Bankruptcy Team
PO Box 3535
Topeka, KS 66601-3535                                      608     2/22/2019            Promise Healthcare Group, LLC                               $1,236.98                                                                            $1,236.98
KARDELL PLUMBING INC.
5624 S. COMPTON AVE
ST. LOUIS, MO 63111                                        1696    1/28/2020            Promise Healthcare Group, LLC                                                                                                       $114.15       $114.15
Kardell Plumbing, Inc.
5624 S. Compton Avenue
Saint Louis, MO 63111                                      280     12/26/2018           Promise Healthcare Group, LLC                               $4,313.70                                                                            $4,313.70
KAREN G. RIDEOUT IRA
DAVID C RIDOUT, EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                          1127    5/29/2019            Promise Healthcare Group, LLC                             $235,180.00                                                                          $235,180.00
KAREN G. RIDEOUT IRA
DAVID C RIDOUT, EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                          1149    5/29/2019            Promise Healthcare Group, LLC                             $217,726.00                                                                          $217,726.00

KAREN G. RIDOUT IRA (DECEASED) SON (DAVID) IS EXECUTOR
7129 KINROSS DRIVE
RALEIGH, NC 27613                                          1137    5/29/2019            Promise Healthcare Group, LLC                             $217,726.00                                                                          $217,726.00
KATENA PRODUCTS INC
4 STEWART COURT
DENVILLE, NJ 07834                                         1046    5/28/2019               Success Healthcare 1, LLC                                $2,632.79                                                                            $2,632.79
KATO, KATHERINE
14536 LARKSPUR LANE
WELLINGTON, FL 33414                                       1735    3/26/2020            Promise Healthcare Group, LLC                               $4,012.58        $12,850.00                                                         $16,862.58
Keller, Michael P.
Katten Muchin Rosenman LLP
Attn: Kenneth J. Ottaviano, Esq.
525 W. Monroe Street
Chicago, IL 60661                                          1012    5/28/2019            Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
KENNEDY, KEITH W.
2911 TURTLE CREEK BLVD., SUITE #450
DALLAS, TX 75219                                           1329    5/30/2019    Promise Rejuvenation Center at the Villages, Inc.                       $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1105    5/30/2019            Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1117    5/30/2019              Promise Healthcare #2, LLC                                    $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1119    5/30/2019               Quantum Properties, L.P.                                     $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1121    5/30/2019         Promise Healthcare of California, Inc.                             $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1123    5/30/2019                Promise Healthcare, Inc.                                    $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1124    5/30/2019                  HLP Properties, Inc.                                      $0.00                                                                                $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                                           1128    5/30/2019                      PH-ELA, Inc.                                          $0.00                                                                                $0.00

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                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                               Amount
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1129    5/30/2019          Promise Hospital of East Los Angeles, L.P.                           $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1130    5/30/2019                   Success Healthcare, LLC                                     $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1131    5/30/2019           Promise Hospital of Overland Park, Inc.                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1139    5/30/2019            Promise Hospital of Wichita Falls, Inc.                            $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1144    5/30/2019              Promise Properties of Dade, Inc.                                 $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1182    5/30/2019                  Success Healthcare 1, LLC                                    $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1188    5/30/2019                    HLP HealthCare, Inc.                                       $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1193    5/30/2019              Vidalia Real Estate Partners, LLC                                $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1194    5/30/2019            HLP Properties at the Villages, L.L.C.                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1195    5/30/2019              Promise Healthcare Holdings, Inc.                                $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1197    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                    $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1200    5/30/2019                    Quantum Health, Inc.                                       $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1203    5/30/2019              Promise Hospital of Salt Lake, Inc.                              $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1206    5/30/2019                   HLP of Los Angeles, LLC                                     $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1210    5/30/2019               Bossier Land Acquisition Corp.                                  $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1211    5/30/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                    $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1213    5/30/2019             Promise Hospital of Ascension, Inc.                               $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1216    5/30/2019                Promise Hospital of Lee, Inc.                                  $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1217    5/30/2019               Promise Hospital of Dade, Inc.                                  $0.00                                                                               $0.00

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                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                  Unsecured Claim                                       Admin Priority
                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                               Amount
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1218    5/30/2019                       LH Acquisition, LLC                                     $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1219    5/30/2019               Promise Hospital of Vicksburg, Inc.                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1220    5/30/2019                 Promise Properties of Lee, Inc.                               $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1223    5/30/2019             Promise Hospital of Baton Rouge, Inc.                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1228    5/30/2019               Promise Hospital of Louisiana, Inc.                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1229    5/30/2019          HLP Properties at the Villages Holdings, LLC                         $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1231    5/30/2019                     HLP of Shreveport, Inc.                                   $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1233    5/30/2019                  HLP Properties of Vidalia, LLC                               $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1235    5/30/2019    PHG Technology Development and Services Company, Inc.                      $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1237    5/30/2019     Promise Behavioral Health Hospital of Shreveport, Inc.                    $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1241    5/30/2019         Promise Hospital of Florida at The Villages, Inc.                     $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1248    5/30/2019               Promise Rejuvenation Centers, Inc.                              $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1249    5/30/2019                Promise Hospital of Phoenix, Inc.                              $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1304    5/30/2019             Promise Properties of Shreveport, LLC                             $0.00                                                                               $0.00
Kennedy, Keith W.
2911 Turtle Creek Blvd., Suite 450
Dallas, TX 75219                               1306    5/30/2019                 Promise Hospital of Dallas, Inc.                              $0.00                                                                               $0.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            687     4/11/2019           Promise Hospital of East Los Angeles, L.P.                                                                            $9,552.00                      $9,552.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            691     4/16/2019           Promise Hospital of East Los Angeles, L.P.                                                                            $5,240.00                      $5,240.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            860     5/15/2019           Promise Hospital of East Los Angeles, L.P.                                                                                            $5,240.00      $5,240.00
Kevin A. Smola and Associates, Inc.
16025 Arrow Hwy., Suite C
Irwindale, CA 91706                            861     5/15/2019           Promise Hospital of East Los Angeles, L.P.                                                                            $5,240.00                      $5,240.00

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                                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                            Amount                                                Amount
Key Medical Resources, Inc.
PO BOX 2033
Rancho Cucamonga, CA 91729                                        1516     6/4/2019               Promise Healthcare Group, LLC                               $24,000.00                                                                           $24,000.00
KIM MD, IN SOO
15211 VANOWEN ST
SUITE 206
VAN NUYS, CA 91405                                                390     1/14/2019               Promise Healthcare Group, LLC                               $39,250.00                                                                           $39,250.00

Kindred Healthcare Operating, LLC and KND Real Estate 40, LLC
Attn: Jeffrey P. Stodghill, Vice President
680 South Fourth Street
Louisville, KY 40202                                              1692    1/28/2020                  Promise Healthcare, Inc.                                                                                                            $0.00         $0.00

Kindred Healthcare Operating, LLC and KND Real Estate 40, LLC
Attn: Jeffrey P. Stodghill, Vice President
680 South Fourth Street
Louisville, KY 40202                                              1697    1/28/2020          Promise Hospital of East Los Angeles, L.P.                                                                                                  $0.00         $0.00
KINETIC CONCEPTS, INC.
KCI A DIVISION ACELITY
C/O MARTHA G. GARATHS
12930 IH-10 WEST
SAN ANTONIO, TX 78249                                             1416    5/31/2019              Promise Properties of Dade, Inc.                              $2,342.91                                                                            $2,342.91
Kinetic Concepts, Inc.
KCI A Division of Acelilty
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                                             1373    5/31/2019              Promise Hospital of Phoenix, Inc.                            $21,162.99                                                                           $21,162.99
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1336    5/31/2019                  Success Healthcare 1, LLC                                $37,338.44                                                                           $37,338.44
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1370    5/31/2019            Promise Hospital of Baton Rouge, Inc.                          $11,839.05                                                                           $11,839.05
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1372    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                 $5,441.95                                                                            $5,441.95
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1387    5/31/2019             Promise Hospital of Vicksburg, Inc.                           $34,548.87                                                                           $34,548.87
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1392    5/31/2019              Promise Hospital of Salt Lake, Inc.                          $35,294.62                                                                           $35,294.62
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                                            1394    5/31/2019                Promise Hospital of Lee, Inc.                                $839.04                                                                              $839.04

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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                Amount
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio , TX 78249                        1396    5/31/2019     Promise Hospital of Florida at The Villages, Inc.                 $13,949.72                                                                           $13,949.72
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1133    5/31/2019           Promise Hospital of Ascension, Inc.                         $11,839.05                                                                           $11,839.05
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1145    5/31/2019       Promise Hospital of East Los Angeles, L.P.                      $33,322.42                                                                           $33,322.42
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1199    5/31/2019         Promise Hospital of Overland Park, Inc.                       $24,522.06                                                                           $24,522.06
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1264    5/31/2019                Promise Healthcare, Inc.                               $62,562.70                                                                           $62,562.70
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1265    5/31/2019             Promise Hospital of Dallas, Inc.                          $11,476.14                                                                           $11,476.14
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1266    5/31/2019       Professional Rehabilitation Hospital, L.L.C.                    $17,901.70                                                                           $17,901.70
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1280    5/31/2019         Promise Hospital of Wichita Falls, Inc.                       $33,717.80                                                                           $33,717.80
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1331    5/31/2019             Promise Hospital of Dallas, Inc.                          $11,476.14                                                                           $11,476.14
Kinetic Concepts, Inc.
KCI A Division of Acelity
c/o Martha G. Geraths
12930 IH-10 West
San Antonio, TX 78249                         1376    5/31/2019           Promise Hospital of Louisiana, Inc.                         $32,375.95                                                                           $32,375.95
KISS HEALTHCARE
13089 PEYTON DR. #C212
CHINO HILLS, CA 91709                         717      5/2/2019             Promise Healthcare Group, LLC                              $1,328.90                                                                            $1,328.90
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          998     5/28/2019                Promise Healthcare, Inc.                                                               $4,780,000.00                                     $4,780,000.00


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                Creditor Name and Address   Claim No. Claim Date                     Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                Amount
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1031    5/28/2019          Vidalia Real Estate Partners, LLC                                                          $4,780,000.00                                      $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1032    5/28/2019         Promise Hospital of Louisiana, Inc.                                                         $4,780,000.00                                      $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1033    5/28/2019             Success Healthcare 1, LLC                                                               $4,780,000.00                                      $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1034    5/28/2019           Bossier Land Acquisition Corp.                                                            $4,780,000.00                                      $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1049    5/28/2019        Promise Properties of Shreveport, LLC                                                        $4,780,000.00                                      $4,780,000.00
Koslow, Howard
17231 Coral Cove Way
Boca Raton, FL 33496                          1053    5/28/2019              Success Healthcare, LLC                                                                $4,780,000.00                                      $4,780,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                         1681    1/17/2020         Promise Hospital of Louisiana, Inc.                                                                                            $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                         1682    1/17/2020              Promise Healthcare, Inc.                                                                                                  $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Buchalter
Mary H. Rose, Esq.
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                         1683    1/17/2020        Promise Properties of Shreveport, LLC                                                                                           $1,000,000.00   $1,000,000.00
KPC Promise Healthcare, LLC
Mary H. Rose, Esq.
Buchalter
1000 Wilshire Blvd. #1500
Los Angeles, CA 90017                         1680    1/17/2020           Bossier Land Acquisition Corp.                                                                                               $1,000,000.00   $1,000,000.00
KPG HEALTHCARE LLC
1960 E GRAND AVE STE 940
EL SEGUNDO, CA 90245                          473      2/4/2019           Promise Healthcare Group, LLC                             $31,946.41                                                                           $31,946.41
KSL Billing And Management LLC
Attn: Diane Frett
1314 Bedford Ave
Suite 201
Pikesville , MD 21208                         239     12/19/2018        St. Alexius Hospital Corporation #1                         $19,164.56                                                                           $19,164.56
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                           448     1/30/2019         St. Alexius Hospital Corporation #1                         $22,460.24                                                                           $22,460.24
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                           449     1/30/2019                Quantum Health, Inc.                                $157,808.00                                                                          $157,808.00




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               Creditor Name and Address   Claim No. Claim Date                        Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                Amount
Laboratory Corporation of America
c/o Johnson Legal Network PLLC
535 Wellington Way Suite 380
Lexington, KY 40503                          697     4/22/2019             Promise Healthcare Group, LLC                              $6,777.00                                                                            $6,777.00
Lafayette, Robert C
13536 Mosher Court
Baton Rouge, LA 70810                        607     2/25/2019             Promise Healthcare Group, LLC                            $500,000.00                                                                          $500,000.00
Lafayette, Robert C.
c/o David Abboud Thomas
Walters, Papillion, Thomas, Cullens, LLC
12345 Perkins Road, Bldg 1
Baton Rouge, LA 70810                        1509    5/30/2019         Promise Hospital of Baton Rouge, Inc.                        $500,000.00                                                                          $500,000.00
LAFAYETTE, ROBERT C.
WALTERS, PAPILLION, THOMAS, CULLENS, LLC
c/o DAVID ABBOUD THOMAS
12345 PERKINS ROAD, BUILDING ONE
BATON ROUGE, LA 70810                        1303    5/30/2019           Promise Hospital of Ascension, Inc.                        $500,000.00                                                                          $500,000.00
LANDAUER MEDICAL PHYSICS
2 SCIENCE ROAD
GLENWOOD, IL 60425                           311      1/2/2019             Promise Healthcare Group, LLC                               $317.34                                                                               $317.34
LANDAUER, INC
2 SCIENCE RD
GLENWOOD, IL 60425                            44     11/26/2018            Promise Healthcare Group, LLC                              $2,222.25                                                                            $2,222.25
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                           226     12/19/2018          Promise Hospital of Louisiana, Inc.                           $374.00                                                                               $374.00
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                           263     12/26/2018            Promise Healthcare Group, LLC                              $2,310.50                                                                            $2,310.50
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                           288     12/26/2018            Promise Healthcare Group, LLC                              $3,202.25                                                                            $3,202.25
Landauer, Inc.
2 Science Rd
Glenwood, IL 60425                           289     12/26/2018            Promise Healthcare Group, LLC                              $2,284.60                                                                            $2,284.60
Laurino, Staci T.
11036 Tesson Ferry Rd
St. Louis, MO 63123                          957     5/21/2019             Promise Healthcare Group, LLC                                                                                                   $12,000.00     $12,000.00
LAW OFFICES OF LOUISE T. JEROSLOW
P.O. BOX 43251
SOUTH MIAMI, FL 33243                        1096    5/28/2019             Promise Hospital of Dade, Inc.                             $1,650.00                                                                            $1,650.00
LAWTON BROTHERS, INC.
2515 DINNEEN AVENUE
ORLANDO, FL 32804                            883     5/20/2019     Promise Hospital of Florida at The Villages, Inc.                   $546.71                                                                               $546.71
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1196    5/30/2019            Vidalia Real Estate Partners, LLC                                                          $4,780,000.00                                      $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1236    5/30/2019                 Success Healthcare, LLC                                                               $4,780,000.00                                      $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1238    5/30/2019         Promise Properties of Shreveport, LLC                                                         $4,780,000.00                                      $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1252    5/30/2019           Promise Hospital of Louisiana, Inc.                                                         $4,780,000.00                                      $4,780,000.00


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               Creditor Name and Address   Claim No. Claim Date                        Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                 Amount
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1253    5/30/2019             Bossier Land Acquisition Corp.                                                            $4,780,000.00                                      $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1254    5/30/2019                Success Healthcare 1, LLC                                                              $4,780,000.00                                      $4,780,000.00
Leder, Lawrence
16456 Braeburn Ridge Trail
Delray Beach, FL 33446                       1307    5/30/2019                Promise Healthcare, Inc.                                                               $4,780,000.00                                      $4,780,000.00
Lee County BOCC-EMS
P.O. Box 398
Fort Myers, FL 33902                         1715     2/4/2020             Promise Healthcare Group, LLC                                                                                                   $20,963.85     $20,963.85
Lee County Tax Collector
c/o Legal Department
PO Box 850
Fort Myers, FL 33902-0850                     48     11/26/2018            Promise Properties of Lee, Inc.                                                                   $0.00                                             $0.00
Lehmann DO, Ryan K.
Seigfreid Bingham, P.C.
David E. Shay
2323 Grand Blvd., Suite 1000
Kansas City, MO 64108                        1371    5/31/2019                 Success Healthcare, LLC                               $34,719.79                                                                           $34,719.79
Leidos Health LLC
Attn: Contract Administrator
705 E Main Street
Westfield, IN 46074                          1043    5/28/2019                Promise Healthcare, Inc.                               $89,196.52                                                                           $89,196.52
LeJay, Kathy
14022 S Northwood Ave
Compton, CA 90222                            1246    5/30/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
LeJay, Kathy
14022 S Northwood Ave
Compton, CA 90222                            1472    5/30/2019       Promise Hospital of East Los Angeles, L.P.                                                                                                 $0.00          $0.00
LEWIS BRISBOIS BISGAARD & SMITH, LLP
633 W 5TH ST SUITE 4000
LOS ANGELES, CA 90071                        593     2/25/2019             Promise Healthcare Group, LLC                            $250,731.95                                                                          $250,731.95
LEWIS BRISBOIS BISGAARD & SMITH, LLP
633 W 5TH ST SUITE 4000
LOS ANGELES, CA 90071                        645     3/22/2019                 Success Healthcare, LLC                               $30,557.19                                                                           $30,557.19
Liberty Hardware, LLC
3827 South Broadway
St. Louis, MO 63118                          450     1/24/2019             Promise Healthcare Group, LLC                              $7,636.25                                                                            $7,636.25
LIFE SPINE INC
13951 QUALITY DRIVE
HUNTLEY, IL 60142                            669      4/2/2019             Promise Healthcare Group, LLC                             $36,160.00                                                                           $36,160.00
LIFE TIME FITNESS, INC
ATTN: A/R
2902 CORPORATE PLACE
CHANHASSEN, MN 55317                         796     5/10/2019                Promise Healthcare, Inc.                                $3,609.11                                                                            $3,609.11
LifeFleet Southeast, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                         1226    5/30/2019     Promise Hospital of Florida at The Villages, Inc.                $258,043.67                                                                          $258,043.67
LIFELINE RENAL CARE LLC
2517 SCOTTI STREET
LEWISVILLE, TX 75056                         323     12/27/2018            Promise Healthcare Group, LLC                              $5,379.91                                                                            $5,379.91
LifeNet Health
1864 Concert Drive
Virginia Beach, VA 23453                      39     11/23/2018            Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00

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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                          Amount                                                  Amount
LIFTECH ELEVATOR SERVICES, INC.
2897 GARDENA AVE
SIGNAL HILL, CA 90755                              414     1/17/2019          Promise Hospital of East Los Angeles, L.P.                       $1,834.66                                                                            $1,834.66
Lindley , Christian
143 Mustang Drive
Grand Cane, LA 71032                               909     5/21/2019           Promise Properties of Shreveport, LLC                                                                                                 $3,127.38      $3,127.38
LINDLEY, CHRISTIAN
143 MUSTANG DRIVE
GRAND CANE, LA 71032                               928     5/21/2019           Promise Properties of Shreveport, LLC                           $3,127.38                                                                            $3,127.38
Living Design Inc.
Attn: Ray Wood
47015 SD Hwy 44
Worthing, SD 57077                                 216     12/17/2018   Promise Skilled Nursing Facility of Overland Park, Inc.                $1,449.92                                                                            $1,449.92
Lonestar Ambulance 1, LLC
PO Box 4320
Houston, TX 77210                                  1050    5/28/2019               Promise Healthcare Group, LLC                               $6,250.98                                                                            $6,250.98
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                          72     11/29/2018                  HLP of Los Angeles, LLC                                                                        $0.00                                             $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                          73     11/29/2018              Promise Healthcare Group, LLC                                                  $200.42                                                            $200.42
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                          80     11/29/2018         Promise Hospital of East Los Angeles, L.P.                                             $0.00            $0.00                                             $0.00
Louisiana Department of Environment Quality
Gail Holland
P.O. Box 4302
Baton Rouge, LA 70821                              178     12/10/2018              Promise Healthcare Group, LLC                               $3,988.20                                                                            $3,988.20
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                              1174    5/30/2019            Promise Hospital of Baton Rouge, Inc.                        $131,873.00                                                                          $131,873.00
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                              1587    7/15/2019             Promise Hospital of Louisiana, Inc.                                                                                               $268,028.00    $268,028.00
Louisiana Department of Health
Attn: Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                              1708    1/31/2020             Promise Hospital of Louisiana, Inc.                                                                                               $437,700.00    $437,700.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                         1705    1/31/2020             Promise Hospital of Louisiana, Inc.                                                                                               $437,700.00    $437,700.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                         1707    1/31/2020             Promise Hospital of Ascension, Inc.                                                                                               $149,587.00    $149,587.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                         1709    1/31/2020            Promise Hospital of Baton Rouge, Inc.                                                                                               $30,338.00     $30,338.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                         1711    1/31/2020            Promise Hospital of Baton Rouge, Inc.                                                                                               $30,338.00     $30,338.00

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                                                                                                                                   Amount                                                 Amount
Louisiana Department of Health
Kimberly Humbles, General Counsel
P.O. Box 3836
Baton Rouge, LA 70821-3836                    1712    1/31/2020          Promise Hospital of Ascension, Inc.                                                                                               $149,587.00    $149,587.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                         1288    5/30/2019           Promise Hospital of Louisiana, Inc.                        $359,332.00                                                                          $359,332.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                         1290    5/30/2019          Promise Hospital of Ascension, Inc.                         $122,804.00                                                                          $122,804.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                         1585    7/15/2019          Promise Hospital of Ascension, Inc.                                                                                                $91,604.00     $91,604.00
Louisiana Department of Health
Kimberly Humbles, General Counsel
PO Box 3836
Baton Rouge, LA 70821                         1586    7/15/2019         Promise Hospital of Baton Rouge, Inc.                                                                                               $30,306.00     $30,306.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                   247     12/24/2018               Promise Healthcare, Inc.                                 $684.04              $0.00                                                           $684.04
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                   248     12/24/2018        Promise Hospital of Baton Rouge, Inc.                           $572.65              $0.00                                                           $572.65
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge , LA 70896-6658                   245     12/24/2018           Promise Healthcare Group, LLC                                $330.83           $518.96                                                            $849.79
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    244     12/24/2018         Promise Hospital of Vicksburg, Inc.                            $100.00           $206.55                                                            $306.55
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    243     12/24/2018           Promise Hospital of Dallas, Inc.                              $68.85           $131.29                                                            $200.14
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    249     12/24/2018          Promise Hospital of Louisiana, Inc.                         $49,916.81       $161,383.53                                                        $211,300.34
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    251     12/24/2018         Promise Hospital of Ascension, Inc.                          $17,927.18        $12,638.78                                                         $30,565.96
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    252     12/24/2018      Professional Rehabilitation Hospital, L.L.C.                    $50,843.92        $87,124.19                                                        $137,968.11
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    257     12/24/2018                HLP of Shreveport, Inc.                                                   $314.49                                                            $314.49
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    589     2/25/2019          Promise Hospital of Vicksburg, Inc.                            $100.00                                                                              $100.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    1673    1/14/2020          Promise Hospital of Ascension, Inc.                                            $10,641.47                                                         $10,641.47
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                    1674    1/14/2020         Promise Hospital of Baton Rouge, Inc.                                           $31,678.85                                                         $31,678.85


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                                                                                                                                                           Amount                                                Amount
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                       1675    1/14/2020                   HLP of Shreveport, Inc.                                                     $314.86                                                            $314.86
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                       1676    1/14/2020               Promise Healthcare Group, LLC                                                  $1,408.62                                                          $1,408.62
Louisiana Health Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana
Allison N. Pham
P.O. Box 98029
Baton Rouge, LA 70898-9029                                       1422    5/31/2019            Promise Hospital of Baton Rouge, Inc.                           $4,500.00                                                                            $4,500.00
Louisiana Health Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana
Allison N. Pham
P.O. Box 98029
Baton Rouge, LA 70989-9029                                       1313    5/31/2019             Promise Hospital of Louisiana, Inc.                           $14,622.46                                                                           $14,622.46
LOUSIANA DEPARTMENT OF HEALTH
KIMBERLY HUMBLES, GENERAL COUNSEL
PO BOX 3836
BATON ROUGE, LA 70821                                            1222    5/30/2019         Professional Rehabilitation Hospital, L.L.C.                         $11.00                                                                               $11.00
Loyal Source Government Services, LLC
Attn: Sarah Clayton, CFO
12612 Challenger Parkway
Suite 365
Orlando, FL 32826                                                160     12/6/2018              Promise Hospital of Phoenix, Inc.                            $24,878.75                                                                           $24,878.75
Lucille E. Robbins Trust U/A dated 7/31/92, William H Myers,
Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                            1384    5/29/2019               Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
LYNN CARE LLC DBA ZACK GROUP
6600 COLLEGE BLVD.
SUITE 300
OVERLAND PARK, KS 66211                                          332      1/4/2019             St. Alexius Hospital Corporation #1                           $21,227.93        $12,850.00                                                         $34,077.93
Lynn Care LLC dba Zack Group
Zack Group
6600 College Blvd, Ste 300
Overland Park, KS 66211                                          333      1/4/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                   $7,317.00                                                          $7,317.00
Lynn Care LLC dba Zack Group
Zack Group
6600 College Blvd, Ste 300
Overland Park, KS 66211                                          334      1/4/2019           Promise Hospital of Overland Park, Inc.                         $31,521.50        $12,850.00                                                         $44,371.50
M & R Medcare Transportation
5286 W Hunter Dr.
West Valley City, UT 84120                                       810     5/10/2019              Promise Hospital of Salt Lake, Inc.                                                                                                   $578.75       $578.75
M&R MEDCARE TRANSPORTATION, LLC
5286 W. HUNTER DRIVE
WEST VALLEY CITY, UT 84120                                       799     5/10/2019               Promise Healthcare Group, LLC                                 $578.75                                                                              $578.75
MacDougall Enterprises, LTD
Hal Masters
25 Reid Street
Hamilton HM11
Bermuda                                                          1277    5/30/2019               Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
MAINE STANDARDS COMPANY, LLC
221 US ROUTE 1
CUMBERLAND FORESIDE, ME 04110                                    820     5/13/2019             Promise Hospital of Ascension, Inc.                             $617.00                                                                              $617.00


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                                                                                                                                                 Amount                                                 Amount
MAJESTIC MEDICAL SOLUTIONS, INC.
207 W EASTBANK STREET
GONZALES, LA 70737                                           794     5/10/2019            Promise Healthcare Group, LLC                              $2,543.46                                                                            $2,543.46
Managed Health Systems, LLC, d/b/a MedPro Healthcare
Staffing
1580 Sawgrass Corporate Pkwy.
Ste 200
Sunrise, FL 33323                                            670      4/3/2019             Promise Hospital of Lee, Inc.                             $9,128.99                                                                            $9,128.99
Management Health Systems, LLC d/b/a MedPro Healthcare
Staffing
1580 Sawgrass Corporate Pkwy. Ste 200
Sunrise, FL 33323                                            661      4/1/2019       Promise Hospital of East Los Angeles, L.P.                     $26,034.00                                                                           $26,034.00
Manley's Boiler LLC
7931 Whitaker Street
Buena Park, CA 90621                                         150     12/4/2018            Promise Healthcare Group, LLC                             $17,072.30                                                                           $17,072.30
Manus, Marc
The Law Offce of John J. Pawloski, LLC
John Joseph Pawloski, Attorney
1900 Locust Street Suite 302
St. Louis, MO 63103                                          1418    5/31/2019          St. Alexius Hospital Corporation #1                        $400,000.00                                                                          $400,000.00

Marian Wethey through her attorney, J. Neale deGravelles
618 Main Street
Baton Rouge, LA 70801                                        1666    12/17/2019         Promise Hospital of Ascension, Inc.                                                         $2,000,000.00                                     $2,000,000.00
Martin Container Inc.
P.O. Box 185
Wilmington, CA 90748                                         1531    6/14/2019       Promise Hospital of East Los Angeles, L.P.                      $4,379.78                                                                            $4,379.78
MARTIN, AREE
21338 HIPASS DRIVE
DIAMOND BAR, CA 91765                                        964     5/10/2019       Promise Hospital of East Los Angeles, L.P.                       $500.00                                                                              $500.00
MARVEL CONSULTANTS INC.
28601 CHARGRIN BLVD. #210
CLEVELAND, OH 44122                                          426     1/22/2019             Promise Hospital of Lee, Inc.                                                                                  $16,000.00                     $16,000.00
Mary Louise Goebel Trust U/A dated 9/30/92, William H
Myers, Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                        1287    5/29/2019            Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Massey, Luther
2188 Hect Ave
St. Louis, MO 63136                                           43     11/26/2018           Promise Healthcare Group, LLC                                               $10,000.00                                                         $10,000.00
Master Investigation & Security Inc.
Millan Law Firm, PA
Stephen T. Millan, Esq.
150 West Flagler Street
Suite 1675
Miami Lakes, FL 33130                                        538     2/14/2019           Promise Properties of Dade, Inc.                                             $52,249.80                                                         $52,249.80
MatrixCare, Inc
10900 Hampshire Ave South
Suite 100
Bloomington, MN 55438                                        515     2/13/2019            Promise Healthcare Group, LLC                             $38,173.95                                                                           $38,173.95
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                                         494      2/8/2019              Success Healthcare 1, LLC                               $39,589.66                                                                           $39,589.66


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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                   Unsecured Claim                                        Admin Priority
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                                                                                                                                       Amount                                                Amount
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                          497      2/8/2019          Promise Hospital of Overland Park, Inc.                         $24,711.65                                                                           $24,711.65
Maxim Healthcare Services, Inc
Stinson Leonard Street LLP
Attn. Tracey Ohm
1755 Pennsylvania Ave, NW, Suite 800
Washington, DC 20006                          498      2/8/2019             Promise Hospital of Salt Lake, Inc.                           $1,161.00                                                                            $1,161.00
Maxim Healthcare Services, Inc.
1775 Pennsylvnia Ave NW Suite 800
Washington, DC 20006                          489      2/8/2019                    Quantum Health, Inc.                                   $2,520.00                                                                            $2,520.00
MBK, Inc.
10400 NW 27th Drive
Wildwood, FL 34785                            152     12/5/2018              Promise Healthcare Group, LLC                                $3,380.58                                                                            $3,380.58
McBroom, Robert L.
3005 Lansing Blvd
Unit 130
Wichita Falls, TX 76309                       768      5/8/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                     $50,700.00     $50,700.00
McBroom, Robert L.
3005 Lansing Blvd. Unit 130
Wichita Falls, TX 76309                       554     2/20/2019           Promise Hospital of Wichita Falls, Inc.                                          $50,700.00                                                         $50,700.00
McBroom, Robert L.
3005 Lansing Blvd. Unit 130
Wichita Falls, TX 76309                       762      5/8/2019              Promise Healthcare Group, LLC                               $50,700.00                                                                           $50,700.00
McInnis Brothers Construction, Inc
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                              1296    5/30/2019           Promise Properties of Shreveport, LLC                                                            $186,253.80                                       $186,253.80
McInnis Brothers Construction, Inc.
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                              1166    5/30/2019                  Promise Healthcare, Inc.                                $12,452.05                        $173,801.75                                       $186,253.80
McInnis Brothers Construction, Inc.
Attn: Ben Baldwin
119 Pearl Street
Minden, LA 71055                              1181    5/30/2019             Promise Hospital of Louisiana, Inc.                                                            $186,253.80                                       $186,253.80
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                        1420    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                          $4,573.70      $4,573.70
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                        1423    5/31/2019               Promise Hospital of Dade, Inc.                                                                                                    $5,101.69      $5,101.69
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                        1425    5/31/2019               Promise Hospital of Dade, Inc.                             $27,784.83                                             $5,101.69                     $32,886.52
McKesson Medical Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                        1426    5/31/2019             Promise Hospital of Louisiana, Inc.                                                                                                 $8,042.53      $8,042.53




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                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
McKesson Medical-Surgical, Inc.
Attn: Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1429    5/31/2019           Promise Hospital of Ascension, Inc.                                                                                                 $2,496.08      $2,496.08
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd
Jacksonville, FL 32216                         1402    5/31/2019                Promise Healthcare, Inc.                               $25,982.38                                                                            $25,982.38
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1312    5/31/2019            Promise Hospital of Phoenix, Inc.                             $947.23                                                                               $947.23
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1409    5/31/2019             Promise Hospital of Dallas, Inc.                           $5,083.20                                                                             $5,083.20
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1424    5/31/2019    Promise Rejuvenation Center at the Villages, Inc.                     $383.90                                                                               $383.90
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1428    5/31/2019           Promise Hospital of Louisiana, Inc.                         $21,469.15                                              $8,042.53                     $29,511.68
McKesson Medical-Surgical, Inc.
Stephanie Hampton
4345 Southpoint Blvd.
Jacksonville, FL 32216                         1431    5/31/2019     Promise Hospital of Florida at The Villages, Inc.                  $9,998.90                                              $4,753.70                     $14,752.60
McKnight, Elzy
Law Offices of David S. Hagen
David S. Hagen - SBN 110588
16830 Ventura Blvd., Suite 500
Encino, CA 91436-1795                          461      2/1/2019       Promise Hospital of East Los Angeles, L.P.                     $400,000.00                                                                           $400,000.00
MCMURRAY, JOHN THOMAS
1 BLACKFIELD DRIVE
SUITE 358
TIBURON, CA 94920                              731      5/6/2019             Promise Healthcare Group, LLC                           $1,600,000.00                                                                         $1,600,000.00
MECHANICAL CONCEPTS, LLC
P.O. BOX 3570
SHREVEPORT, LA 71133-3570                      787      5/9/2019           Promise Hospital of Louisiana, Inc.                          $7,071.78                                                                             $7,071.78
Mechanical Cooling Services, LLC
1310 Driftwood Drive
Bossier City, LA 71111                         315      1/4/2019             Promise Healthcare Group, LLC                              $6,820.00                                                                             $6,820.00
Mechanical Solutions, LLC
PO BOX 19103
SHREVEPORT, LA 71149                           430     1/23/2019             Promise Healthcare Group, LLC                              $1,170.00                                                                             $1,170.00
Med Resources Imaging, Inc
3581 Vineland Ave
Baldwin Park, CA 91706                         766      5/8/2019             Promise Healthcare Group, LLC                                                                                                     $8,924.20      $8,924.20
Med Service Repair
1234 Allanson Rd
Mundelein, IL 60060                            890     5/20/2019             Promise Healthcare Group, LLC                                                                                                     $2,680.00      $2,680.00
Med. Resources Imaging, Inc.
Andrew O. Gomez
3581 Vineland Ave.
Baldwin Park, CA 91706                         262     12/26/2018            Promise Healthcare Group, LLC                              $3,770.00           $270.75                                $0.00                      $4,040.75


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                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                   Amount
Medcentris
Jones Walker - Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans , LA 70170                        1180    5/30/2019            Promise Healthcare Group, LLC                            $1,495,932.63                                                                         $1,495,932.63
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                         1103    5/30/2019       Professional Rehabilitation Hospital, L.L.C.                   $182,069.52                                                                           $182,069.52
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                         1107    5/30/2019           Promise Hospital of Louisiana, Inc.                        $350,872.37                                                                           $350,872.37
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                         1109    5/30/2019       Promise Hospital of East Los Angeles, L.P.                     $596,834.69                                                                           $596,834.69
Medcentris
Jones Walker LLP
Attn: Mark Mintz
201 St. Charles Avenue, 49th Fl
New Orleans, LA 70170                         1192    5/30/2019          Promise Hospital of Vicksburg, Inc.                         $183,150.73                                                                           $183,150.73
Medcentris
Jones Walker
Attn: Mark Mintz
201 St. Charles Avenue, 49th FL
New Orleans, LA 70170                         1257    5/30/2019         Promise Hospital of Baton Rouge, Inc.                        $183,005.32                                                                           $183,005.32
Medi Coach, LLC
12510 W 62nd Terrace, Ste. 103
Shawnee , KS 66216                             8      11/14/2018       Promise Hospital of Overland Park, Inc.                        $28,442.20                                                                            $28,442.20
Medicab Transportation, LLC
3049 Cleveland Avenue
#275
Fort Myers , FL 33901                         405     1/10/2019            Promise Healthcare Group, LLC                               $9,467.00                                                                             $9,467.00
MEDICAL ELECTRONICS, INC.
MARK BRUCKS
1525 E. EDINGER AVE.
SANTA ANA, CA 92705                           482      2/5/2019            Promise Healthcare Group, LLC                              $15,170.09                                                                            $15,170.09
Medical Information Technology, Inc.
MEDITECH Circle
Westwood, MA 02090                            459     1/29/2019            Promise Healthcare Group, LLC                              $33,548.07                                                                            $33,548.07
Medical Optics, LLC
6619 W. Calumet Rd
Milwaukee, WI 53223                           1690    1/22/2020            Promise Healthcare Group, LLC                                                                                                     $23,190.19     $23,190.19
Medical Repair Service
204 Carnation Avenue
Metairie, LA 70001                            836     5/13/2019         Promise Hospital of Baton Rouge, Inc.                                                                                                   $764.32        $764.32
MEDICAL SOLUTIONS, L.L.C.
1010 NORTH 102ND STREET
SUITE 300
OMAHA, NE 68114                               478      2/6/2019       Promise Hospital of East Los Angeles, L.P.                      $96,491.95                                                                            $96,491.95
MEDICAL TECHNOLOGY ASSOCIATES
6651 102ND AVE. N.
PINELLAS PARK, FL 33782                       685      4/9/2019            Promise Healthcare Group, LLC                              $25,245.29                                                                            $25,245.29


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                Creditor Name and Address   Claim No. Claim Date                       Debtor                                Unsecured Claim                                          Admin Priority
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                                                                                                                                 Amount                                                  Amount
MEDIPRO MEDICAL STAFFING, LLC
ATTN: MCNAIR ZIMBALIST
6565 SUNSET BLVD, SUITE # 313
LOS ANGELES, CA 90028                         419     1/18/2019              Success Healthcare 1, LLC                                $6,816.51                                                                            $6,816.51
MEDIPRO MEDICAL STAFFING, LLC
ATTN: MCNAIR ZIMBALIST
6565 SUNSET BLVD, SUITE # 313
LOS ANGELES, CA 90028                         420     1/18/2019       Promise Hospital of East Los Angeles, L.P.                    $158,511.03                                                                          $158,511.03
MEDIVATORS, INC.
14605 28TH AVENUE N.
PLYMOUTH, MN 55447-4822                       1523     6/6/2019       Promise Hospital of East Los Angeles, L.P.                       $390.84                                                                              $390.84
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                            1093    5/28/2019            Promise Healthcare Group, LLC                                                                                  $200,000.00                    $200,000.00
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                            1575    7/15/2019            Bossier Land Acquisition Corp.                                                                                                 $167,727.08    $167,727.08
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas
Floor 42
New York, NY 10019                            1579    7/15/2019          Promise Hospital of Louisiana, Inc.                                                                                              $167,727.08    $167,727.08
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas, Floor 42
New York, NY 10019                            1574    7/15/2019        Promise Properties of Shreveport, LLC                                                                                              $167,727.08    $167,727.08
Medline Industries, Inc.
c/o Arent Fox LLP
Attn: Robert M. Hirsh
1301 Avenue of the Americas, Floor 42
New York, NY 10019                            1576    7/15/2019            Promise Healthcare Group, LLC                                                                                                  $167,727.08    $167,727.08
Medreach Ambulance Services
Grant Mercantile Agency
PO Box 658
Oakhurst , CA 93644                           408     1/14/2019            Promise Healthcare Group, LLC                             $85,094.55                                                                           $85,094.55
Medreach Ambulance Services
Grant Mercantile Agency
PO Box 658
Oakhurst , CA 93644                           932     5/22/2019              Success Healthcare 1, LLC                               $85,094.55                                                                           $85,094.55
Medrx Infusion Clinical Pharmacy, LLC
417 N Oak St.
Inglewood, CA 90302                           1689    1/21/2020       Promise Hospital of East Los Angeles, L.P.                                                                                           $20,656.05     $20,656.05
MedRX Infusion Clinical Pharmacy, LLC
Law Offices of Stephen L. Joseph
Stephen L. Joseph
1880 Century Park East, Suite 1101
Los Angeles, CA 90067                         389     1/14/2019       Promise Hospital of East Los Angeles, L.P.                     $20,656.05                                                                           $20,656.05




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MEDSERVICE REPAIR, INC
1234 ALLISON RD
MUNDELEIN, IL 60060                            886     5/20/2019          Promise Healthcare Group, LLC                             $2,680.00                                                                            $2,680.00
Medsurant, LLC
c/o Medsurant Holdings, LLC
100 Front Street, Suite 280
W. Conshohocken, PA 19428                      683      4/5/2019          Promise Healthcare Group, LLC                            $15,700.00                                                                           $15,700.00
Medtronic PLC
Schleen Archambeau
800 53rd Ave NE, SLK27
Columbia Heights, MN 55421                     611      3/4/2019          Promise Healthcare Group, LLC                                                              $283,206.42                                       $283,206.42
Menorah Medical Center
Heather Kofron, Esq., Senior Legal Counsel
7300 Beaufont Springs Drive
Richmond, VA 23225                             617     3/12/2019          Promise Healthcare Group, LLC                            $50,524.42                                                                           $50,524.42
Meraj Petroleums LLC
Qais Meraj
3605 S Broadway
St Louis, MO 63118                             1481    5/31/2019          Promise Healthcare Group, LLC                                                                                                   $2,800.00      $2,800.00
Merit Health
PO Box 188
Brentwood, TN 37024                            493      2/8/2019          Promise Healthcare Group, LLC                           $145,618.27                                                                          $145,618.27
Merit Health River Regions
c/o Pasi
PO Box 188
Brentwood, TN 37024                            742      5/7/2019          Promise Healthcare Group, LLC                           $571,225.27                                                                          $571,225.27
Merry X-Ray Corporation
8020 Tyler Blvd
Mentor , OH 44060                               18     11/19/2018         Promise Healthcare Group, LLC                             $2,345.92                         $34,206.21                                        $36,552.13
Merry X-Ray Corporation
8020 Tyler Blvd
Mentor , OH 44060                              266     12/20/2018         Promise Healthcare Group, LLC                             $3,736.82                                                                            $3,736.82
METRO TWO WAY COMMUNICATIONS
2013 W COMMONWEALTH AVE STE E
FULLERTON, CA 92833                            724      5/3/2019          Promise Healthcare Group, LLC                                                                                   $2,279.63                      $2,279.63
Metro Two Way Inc.
2013 W Commonwealth Ave
Ste E
Fullerton, CA 92833                            723      5/3/2019          Promise Healthcare Group, LLC                                                                                                   $2,279.63      $2,279.63
Meyers, Jeremie
Denise Griffith, Esq.
16835 Algonquin St.
Suite 307
Huntington Beach, CA 92649                     541     2/15/2019              Quantum Health, Inc.                                 $12,333.14                                                                           $12,333.14
MICROPORT ORTHOPEDICS INC
M. RUTHIE HAGAN
BAKER DONELSON
165 MADISON AVE. STE 2000
MEMPHIS, TN 38103                              1488    5/31/2019            Success Healthcare 1, LLC                               $8,949.09                                             $5,401.13                     $14,350.22
MicroPort Orthopedics, Inc.
c/o M. Ruthie Hagan
Baker Donelson
165 Madison Ave, Ste 2000
Memphis, TN 38103                              1499    5/31/2019            Success Healthcare 1, LLC                                                                                                     $5,401.13      $5,401.13
MIDWEST PAGING
405-C HWY C
PURDY, MO 65734                                888     5/20/2019             Success Healthcare, LLC                                 $924.48                                                                              $924.48

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                                                                                                                                        Amount                                                Amount
MILFORD PLUMBING SUPPLY
10943 LIN VALLE DR
ST. LOUIS, MO 63123                              821     5/13/2019             Promise Healthcare Group, LLC                                $834.48                                                                              $834.48
MILLARD, PATRICIA
528 SE 33RD STREET
CAPE CORAL, FL 33904                             781      5/9/2019             Promise Healthcare Group, LLC                                                 $1,969.42                                                          $1,969.42
Millard, Patricia Anne
528 SE 33rd St.
Cape Coral, FL 33904                             782      5/9/2019             Promise Properties of Lee, Inc.                                                                                                       $0.00         $0.00
Mindray DS USA ,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1171    5/29/2019         Promise Hospital of Baton Rouge, Inc.                           $1,883.71                                                                            $1,883.71
Mindray DS USA ,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1160    5/29/2019           Promise Hospital of Salt Lake, Inc.                            $380.65                                                                              $380.65
Mindray DS USA, Inc. / Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1120    5/29/2019           Promise Hospital of Louisiana, Inc.                          $13,088.92                                                                           $13,088.92
Mindray DS USA, inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1156    5/29/2019          Promise Healthcare of California, Inc.                         $4,289.30                                                                            $4,289.30
Mindray DS USA,inc./ Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1153    5/29/2019                Promise Healthcare, Inc.                                  $847.82                                                                              $847.82
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1152    5/29/2019           Promise Hospital of Vicksburg, Inc.                          $62,226.56                                                                           $62,226.56
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1157    5/29/2019           Promise Hospital of Louisiana, Inc.                           $2,723.59                                                                            $2,723.59
Mindray DS USA,inc./Mindray North America
Attn: General Counsel
800 MacArthur Blvd.
Mahwah, NJ 07430                                 1159    5/29/2019     Promise Hospital of Florida at The Villages, Inc.                   $5,764.99                                                                            $5,764.99
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                            1432    5/31/2019         Promise Properties of Shreveport, LLC                          $14,323.40                                                                           $14,323.40
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                            1434    5/31/2019         Promise Hospital of Baton Rouge, Inc.                          $35,112.00                                                                           $35,112.00
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                            1436    5/31/2019       Promise Hospital of East Los Angeles, L.P.                        $1,597.72                                                                            $1,597.72
MISONIX, INC
1938 NEW HIGHWAY
FARMINGDALE, NY 11735                            1449    5/31/2019           Promise Hospital of Ascension, Inc.                          $20,368.16                                                                           $20,368.16
Misonix, Inc
Attn: General Counsel
1938 New Highway
Farmingdale, NY 11735                            1482    5/31/2019              HLP Properties of Vidalia, LLC                              $674.18                                                                              $674.18

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                                                                                                                                          Amount                                                 Amount
Misonix, Inc
Attn: General Counsel
1938 New Highway
Farmingdale, NY 11735                             1484    5/31/2019            Promise Hospital of Baton Rouge, Inc.                         $21,945.00                                                                           $21,945.00
Mission Advisors, LLC
8711 E. Pinnacle Peak Rd., #289
Scottsdale, AZ 85255                               41     11/26/2018                 Promise Healthcare, Inc.                                $62,854.63                                                                           $62,854.63
Mississippi Department of Employment Security
P.O. Box 1699
Jackson, MS 39215                                 149     12/4/2018             Promise Hospital of Vicksburg, Inc.                                                             $12,279.05                                        $12,279.05
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                  9      11/13/2018            Promise Hospital of Vicksburg, Inc.                                                             $17,695.89                                        $17,695.89
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                 400     1/16/2019             Promise Hospital of Vicksburg, Inc.                                                             $17,695.89                                        $17,695.89
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225                                 534     2/13/2019             Promise Hospital of Vicksburg, Inc.                           $7,223.71        $15,040.59       $22,264.30                                        $44,528.60
Missouri Department of Revenue
Box 475
Jefferson City, MO 65105                          748      5/7/2019               Promise Healthcare Group, LLC                              $20,292.75       $277,275.87                                                        $297,568.62
Missouri Department of Revenue
General Counsel's Office
PO Box 475
Jefferson City, MO 65105-0475                     744      5/7/2019               Promise Healthcare Group, LLC                                 $27.50           $114.10                                                            $141.60
Missouri Department of Revenue
General Counsel's Office
PO Box 475
Jefferson City, MO 65105-0475                     745      5/7/2019               Promise Healthcare Group, LLC                                                  $178.19                                                            $178.19
MModal Services, Ltd
5000 Meridian Blvd., Suite 200
Franklin, TN 37067                                438     1/24/2019                  Success Healthcare 1, LLC                              $560,384.00                                                                          $560,384.00
MModal Services, Ltd.
5000 Meridian Blvd
Suite 200
Franklin, TN 37067                                437     1/24/2019          Promise Hospital of East Los Angeles, L.P.                     $313,454.00                                                                          $313,454.00
MModal Services, Ltd.
5000 Meridian Blvd, Suite 200
Franklin, TN 37067                                431     1/24/2019             St. Alexius Hospital Corporation #1                          $27,121.54                                                                           $27,121.54
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                               518     2/14/2019               Promise Healthcare Group, LLC                              $33,300.00                                                                           $33,300.00
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                               522     2/14/2019               Promise Hospital of Dallas, Inc.                           $12,360.00                                                                           $12,360.00
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                               528     2/14/2019            Promise Hospital of Wichita Falls, Inc.                       $33,300.00                                                                           $33,300.00
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                               556     2/22/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                $3,020.94                                                                            $3,020.94




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                                                                                                                                        Amount                                                Amount
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                            575     2/22/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                $4,685.00                                                                            $4,685.00
MOBILEX USA
PO BOX 17462
BALTIMORE, MD 21297                            583     2/25/2019          Promise Hospital of Overland Park, Inc.                         $68,825.00                                                                           $68,825.00
Mobility Transportation Services, LLC
5442 So. 900 E.
Suite 412
Salt Lake City , UT 84117                       70     11/28/2018            Promise Hospital of Salt Lake, Inc.                           $5,043.24                                                                            $5,043.24
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                               704     4/26/2019             Promise Hospital of Louisiana, Inc.                            $278.00                                                                              $278.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                               705     4/26/2019         Promise Hospital of East Los Angeles, L.P.                         $238.13                                                                              $238.13
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                               706     4/26/2019            Promise Hospital of Ascension, Inc.                            $1,550.00                                                                            $1,550.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                               707     4/26/2019         Professional Rehabilitation Hospital, L.L.C.                       $533.00                                                                              $533.00
MONARCH LABS, LLC
17875 SKY PARK CIRCLE
SUITE K
IRVINE, CA 92614                               708     4/26/2019             Promise Hospital of Salt Lake, Inc.                            $560.00                                                                              $560.00
Musculoskeletal Institute of LA
1534 Elizabeth Avenue, Ste 201
Shreveport, LA 71101                           427     1/22/2019              Promise Healthcare Group, LLC                                $9,847.49                                                                            $9,847.49
Musculoskeletal Institute of LA
1534 Elizabeth Avenue, Ste 201
Shreveport, LA 71101                           763      5/8/2019              Promise Healthcare Group, LLC                                $9,847.49                                                                            $9,847.49
Natchez Pathology Laboratory
5 Stahlman St
Natchez, MS 39120                              235     12/18/2018             Promise Healthcare Group, LLC                                $5,631.85                                                                            $5,631.85
National Due Diligence Services
Attn: Cindy Jared
3191 Maguire Blvd. #200
Orlando, FL 32803                              699     4/23/2019              Promise Healthcare Group, LLC                                $4,950.00                                                                            $4,950.00
NATIONAL HEALTH TRANSPORT INC.
2950 NW 7TH AVENUE
MIAMI, FL 33127                                351      1/9/2019               Promise Hospital of Dade, Inc.                              $8,886.75                                                                            $8,886.75
National Research Corporation
NRC Health
1245 Q Street
Lincoln, NE 68508                              634     3/20/2019              Promise Healthcare Group, LLC                                $3,343.81                                                                            $3,343.81
National Research Corporation
NRC Health
1245 Q Street
Lincoln, NE 68508                              635     3/20/2019              Promise Healthcare Group, LLC                                $3,343.81                                                                            $3,343.81




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                                                                                                                                              Amount                                                Amount
National Staffing Solutions, LLC
Peter Reichman
3301 North University Ave.
Provo, UT 84604                                          10     11/14/2018         Promise Hospital of Salt Lake, Inc.                          $36,811.22        $12,850.00                                                         $49,661.22
Nautilus Insurance Company, c/o Berkley Select, LLC
Buchanan Ingersoll & Rooney
Mary F. Caloway
919 N. Market St., Suite 990
Wilmington, DE 19801                                    1355    5/31/2019               Success Healthcare, LLC                                $321,790.12                                                                          $321,790.12
Nautilus Insurance Company, c/o Berkley Select, LLC
Mary F. Caloway
Buchanan Ingersoll & Rooney
919 N. Market Street, Ste. 990
Wilmington, DE 19801                                    1285    5/31/2019               Promise Healthcare, Inc.                               $762,841.91                                                                          $762,841.91
NAVEX Global, Inc
5500 Meadows Road, Suite 500
Lake Oswego, OR 97035                                   612      3/6/2019            Promise Healthcare Group, LLC                              $10,032.92                                                                           $10,032.92
NEIL H. SMITH REVOCABLE TRUST
7816 TRAVELERS TREE DRIVE
BOCA RATON, FL 33433                                    764      5/8/2019            Promise Healthcare Group, LLC                             $169,629.00                                                                          $169,629.00
Neogenomics Laboratories, Inc.
Harold C. Klaskin, Esq.
Law Offices of Harold C. Klaskin, APC
12021 Wilshire Blvd., #510
Los Angeles, CA 90025                                   803      5/9/2019       Promise Hospital of East Los Angeles, L.P.                      $15,247.63                                                                           $15,247.63
NEOTRACT, INC..
ATTN: ACCOUNTS RECEIVABLE
4473 WILLOW ROAD
SUITE 100
PLEASANTON, CA 94588                                    148     12/4/2018            Promise Healthcare Group, LLC                              $22,315.48                                                                           $22,315.48
NEPHRON 503B OUTSOURCING FACILITY
4500 12TH STREET EXTENSION
WEST COLUMBIA, SC 29172                                 856     5/16/2019          Promise Hospital of Salt Lake, Inc.                            $750.00                                                                              $750.00
Neurologica Corp.
Akerman LLP
Michael Goldberg, Esq./Joan Levit, Esq.
350 E. Las Olas Blvd., #1600
Fort Lauderdale, FL 33301                               900     5/17/2019             Promise Hospital of Lee, Inc.                              $9,352.00                                                                            $9,352.00
Neurology Mobile System Associates, Inc.
10661 SW 88th St, Suite 104
Miami, FL 33176                                          42     11/26/2018           Promise Hospital of Dade, Inc.                                                $5,400.00                                                          $5,400.00
Neurology Mobile System Associates, Inc.
10661 SW 88th St, Suite 104
Miami, FL 33176                                         444     1/25/2019            Promise Healthcare Group, LLC                                                 $5,600.00                                                          $5,600.00
NEUROLOGY MOBILE SYSTEMS ASSOCIATES
10661 SW 88TH ST #104
MIAMI, FL 33176                                         1552    6/24/2019            Promise Healthcare Group, LLC                                                  $600.00                                                            $600.00
Neurology Mobile Systems Associates, Inc
10661 SW 88th St #104
Miami, FL 33176                                         1553    6/24/2019            Promise Healthcare Group, LLC                                                                                                       $600.00       $600.00
NIEHAUS BUILDING SERVICES LLC
4209 SARPY AVENUE
ST. LOUIS, MO 63110                                     1215    5/28/2019            Promise Healthcare Group, LLC                              $10,699.83                                                                           $10,699.83
NIGHTINGALE NURSES, LLC
DRAWER 1256
TROY, MI 48007                                          884     5/20/2019                 Quantum Health, Inc.                                   $4,661.75                                                                            $4,661.75


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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                 Amount
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb
52 East Gay Street
Columbus, OH 43215                            1187    5/30/2019                Promise Healthcare, Inc.                              $197,275.00                                                            $11,231.53    $208,506.53
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb
52 East Gay Street
Columbus, OH 43215                            1584    7/15/2019                Promise Healthcare, Inc.                                                                                                     $11,231.53     $11,231.53
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb, Esq.
52 East Gay Street
Columbus, OH 43215                            1716    1/31/2020                Promise Healthcare, Inc.                                                                                                     $10,424.44     $10,424.44
Nuance Communications, Inc.
Vorys, Sater, Seymour and Pease LLP
c/o Tiffany Strelow Cobb, Esq.
52 East Gay Street
Columbus, OH 43215                            1703    1/31/2020                Promise Healthcare, Inc.                                                                                                        $813.92       $813.92
NURSES INTERNET
6055 E. WASHINGTON BLVD
SUITE 409
COMMERCE, CA 90040                            834     5/13/2019       Promise Hospital of East Los Angeles, L.P.                       $8,596.00                                                                            $8,596.00
Nurses Internet Staffing Services, Inc.
6055 E. Washington Blvd.
Suite 409
Commerce, CA 90040                            238     12/19/2018            Promise Healthcare Group, LLC                              $8,596.00                                                                            $8,596.00
Nurses Internet Staffing Services, Inc.
6055 E. Washington Blvd.
Suite 409
Commerce, CA 90040                            837     5/13/2019       Promise Hospital of East Los Angeles, L.P.                                                                                             $8,596.00      $8,596.00
Occupational Health Centers of Kansas P.A
P.O. Box 369
Lombard, IL 60148                             424     1/22/2019             Promise Healthcare Group, LLC                              $1,744.00                                                                            $1,744.00
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                           88     11/26/2018          Promise Hospital of Vicksburg, Inc.                          $1,174.86                                                                            $1,174.86
Office Depot
6600 N Military Trail
S413G
Boca Raton , FL 33496                          22     11/14/2018          St. Alexius Hospital Corporation #1                         $23,216.71                                                                           $23,216.71
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                           87     11/26/2018               Success Healthcare 1, LLC                              $19,605.13                                                                           $19,605.13
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                          103     11/26/2018    Promise Hospital of Florida at The Villages, Inc.                  $3,096.34                                                                            $3,096.34
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                          106     11/26/2018        Promise Hospital of Baton Rouge, Inc.                          $9,037.71                                                                            $9,037.71
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                          107     11/26/2018            Promise Hospital of Dade, Inc.                             $1,453.31                                                                            $1,453.31
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                          113     11/26/2018          Promise Hospital of Louisiana, Inc.                          $5,209.22                                                                            $5,209.22

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                                                                                                                                             Current General                                       Current 503(b)(9)
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                 Creditor Name and Address                Claim No. Claim Date                       Debtor                                  Unsecured Claim                                        Admin Priority
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                                                                                                                                                 Amount                                                Amount
Office Depot
6600 N Military Trail - S413G
Boca Raton, FL 33496                                        117     11/26/2018          Promise Hospital of Phoenix, Inc.                           $1,971.24                                                                            $1,971.24
Office Of Statewide Health Planning and Development
2020 W El Camino Ave , Suite 1000
Sacramento , CA 95833-2988                                  973     5/23/2019       Promise Hospital of East Los Angeles, L.P.                      $2,921.66                                                                            $2,921.66
Officeteam
Robert Half
Attn: Karen Lima
PO Box 5024
San Ramon , CA 94583                                        411     1/14/2019              St. Alexius Properties, LLC                              $2,277.79                                                                            $2,277.79
OLBERTS, KATHLEEN A.
3589 COOPER ISLAND RD
WEST SACRAMENTO, CA 95691                                   1176    5/28/2019            Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
Olympus Healthcare, Inc. and/or subsidiary Apollo Renal
Center, LLC
Attn: General Counsel
P.O. Box 557912
Miami, FL 33255                                             1086    5/28/2019            Promise Healthcare Group, LLC                            $120,528.33                                                                          $120,528.33
Omega Door & Hardware
924 Division St
Kansas City, KS 66103                                       432     1/24/2019        Promise Hospital of Overland Park, Inc.                        $1,258.75                                                                            $1,258.75
One Blood, Inc.
8669 Commodity Circle
Orlando, FL 32819                                           542      2/8/2019            Promise Healthcare Group, LLC                             $45,778.39                                                                           $45,778.39
Optical Services Company
14445 High Valley Rd.
Poway, CA 92064                                             168     12/3/2018            Promise Healthcare Group, LLC                               $589.60                                                                              $589.60
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                      1487    5/31/2019          Promise Healthcare Holdings, Inc.                          $319,668.00                                                                          $319,668.00
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                      1571    7/14/2019               Promise Healthcare, Inc.                                                                                                    $162,327.09    $162,327.09
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                      1572    7/14/2019          Promise Healthcare Holdings, Inc.                                                                                                $162,327.09    $162,327.09
Oracle America, Inc
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                                      1573    7/14/2019            Promise Healthcare Group, LLC                                                                                                  $162,327.09    $162,327.09
Oracle America, Inc.
c/o Amish R. Doshi, Esq.
Doshi Legal Group, P.C.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                                      1463    5/31/2019            Promise Healthcare Group, LLC                            $319,668.00                                                                          $319,668.00




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                                                                                                                                                       Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                  Amount
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                           656     3/27/2019          Promise Healthcare Holdings, Inc.                          $319,668.00                                                                           $319,668.00
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                           1492    5/31/2019         Promise Healthcare of California, Inc.                      $319,668.00                                                                           $319,668.00
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Ave., Suite 210E
Lake Success, NY 11042                           1495    5/31/2019              Promise Healthcare #2, LLC                             $319,668.00                                                                           $319,668.00
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                           655     3/27/2019            Promise Healthcare Group, LLC                            $319,668.00                                                                           $319,668.00
Oracle America, Inc.
Doshi Legal Group, P.C.
c/o Amish R. Doshi, Esq.
1979 Marcus Avenue, Suite 210E
Lake Success, NY 11042                           1500    5/31/2019               Promise Healthcare, Inc.                              $319,668.00                                                                           $319,668.00
Orkin, LLC
National Accts
PO Box 638898
Cincinatti, OH 45263                             632     3/12/2019            Promise Healthcare Group, LLC                              $9,825.00                                                                             $9,825.00
Otis Elevator Company
Treasury Services
c/o Credit & Collections
5500 Village Blvd
West Palm Beach, FL 33407                        674      4/3/2019            Promise Healthcare Group, LLC                              $4,234.75                                                                             $4,234.75
Our Lady of the Lake Regional Medical Center
5959 South Sherwood Forest Blvd.
Baton Rouge, LA 70816                            1256    5/29/2019            Promise Healthcare Group, LLC                             $30,185.59                                                                            $30,185.59
Ovchar, Viola
Gary Rand and Suzanne E. Rand-Lewis PLCS
c/o Suzanne E. Rand-Lewis
5990 Sepulveda Blvd. #630
Sherman Oaks, CA 91411                           1030    5/28/2019              Success Healthcare 1, LLC                             $3,000,000.00                                                                        $3,000,000.00
Pacific Bell Telephone Company
% AT&T Services, Inc.
Karen Cavagnaro-Lead Paralegal
One AT&T Way, Suite 3A104
Bedminster, NJ 07921                             817     5/13/2019       Promise Hospital of East Los Angeles, L.P.                     $78,310.61                                                                            $78,310.61
Pacific Bell Telephone Company
% AT&T Services, Inc.
Karen Cavagnaro-Lead Paralegal
One AT&T Way, Suite 3A104
Bedminster, NJ 07921                             880     5/20/2019              Success Healthcare 1, LLC                                  $897.02                                                                              $897.02
Pacific Hospital Management, Inc.
Phillip G. Vermont, Esq.
5000 Hopyard Road, Suite 225
Pleasanton , CA 94588                            129     11/30/2018           Promise Healthcare Group, LLC                                                                $157,726.58                                       $157,726.58


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               Creditor Name and Address   Claim No. Claim Date                        Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                Amount
PACIFIC MOBILE DIAGNOSTICS
C/O KELLY MCSHALL
615 E. PALO VERDE DRIVE
PHOENIX, AZ 85012                            696     4/18/2019            Promise Hospital of Phoenix, Inc.                         $131,055.70                                                                          $131,055.70
Pacific National Group
c/o Polis & Associates, APLC
19800 MacArthur Blvd., Suite 1000
Irvine , CA 92612                            264     12/26/2018            Promise Healthcare Group, LLC                            $294,964.03                                                                          $294,964.03
Pacific National Group
c/o Polis & Associates, APLC
19800 MacArthur Blvd., Suite 1000
Irvine, CA 92612                             261     12/26/2018            Promise Healthcare Group, LLC                                                             $1,000,619.00                                      $1,000,619.00
Pacific Plumbing Specialties
8451 Miralani Dr., Suite O
San Diego, CA 92126                          684      4/8/2019             Promise Healthcare Group, LLC                              $1,063.71                                                                            $1,063.71
Palm Beach County Tax Collector
Attn: Legal Services Department
P.O. Box 3715
West Palm Beach, FL 33402-3715               201     12/13/2018               Promise Healthcare, Inc.                                                                       $0.00                                             $0.00
Palm Beach County Tax Collector
Attn: Legal Services Department
P.O. Box 3715
West Palm Beach, FL 33402-3715               1677    1/13/2020                Promise Healthcare, Inc.                                                                                                     $24,962.75     $24,962.75
PALM PRINTING
2400 FIRST STREET
STE 102
FT. MYERS, FL 33901                          713      5/1/2019             Promise Healthcare Group, LLC                               $418.70                                                                               $418.70
Parish of East Baton Rouge
P.O. Box 2590
Baton Rouge, LA 70821                        1639    7/29/2019         Promise Hospital of Baton Rouge, Inc.                                             $916.00                                                             $916.00
Park Place International, LLC
Goulston & Storrs PC
c/o Peter D. Bilowz, Esq.
400 Atlantic Avenue
Boston, MA 02110                             434     1/24/2019                Promise Healthcare, Inc.                              $341,356.89                                                                          $341,356.89
PASTORAL CARE ASSOCIATES
2040 W. BETHANY HOME RD
SUITE 103
PHOENIX, AZ 85015                            765      5/8/2019            Promise Hospital of Phoenix, Inc.                                             $1,800.00                           $1,800.00                      $3,600.00
PASTORAL CARE ASSOCIATES
2040 W. BETHANY HOME RD
SUITE 103
PHOENIX, AZ 85015                            767      5/8/2019            Promise Hospital of Phoenix, Inc.                                                                                                 $1,800.00      $1,800.00
PATIENT POINT HOSPITAL SOLUTIONS
11408 OTTER CREEK SOUTH ROAD
MABELVALE, AR 72103                          769      5/9/2019     Promise Hospital of Florida at The Villages, Inc.                  $2,295.00                                                                            $2,295.00
Patient Telephone Supply, LLC
P.O. Box 84372
Baton Rouge , LA 70884                       282     12/26/2018            Promise Healthcare Group, LLC                               $323.40                                                                               $323.40
PATTEN, TIMOTHY
591 Telegraph Canyon Rd
Box 938
Chula Vista, CA 91910                        1520     6/4/2019             Promise Healthcare Group, LLC                                              $165,200.00                                                        $165,200.00
Patten, Timothy R
591 Telegraph Canyon Rd
Box 938
Chula Vista, CA 91910                        1522     6/4/2019             Promise Healthcare Group, LLC                                                                                                  $162,500.00    $162,500.00

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              Creditor Name and Address   Claim No. Claim Date                        Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                Amount
PHILLIPS, MICHAEL
123 S. CLARK DRIVE
PH4
LOS ANGELES, CA 90048                       758      5/7/2019                Success Healthcare 1, LLC                                                $12,500.00                                                         $12,500.00
PHOENIX EI TRANSPORTATION, INC.
2730 W. AGUA FRIA FREEWAY
#206
PHOENIX, AZ 85027                           756      5/7/2019            Promise Hospital of Phoenix, Inc.                           $2,323.00                                                                            $2,323.00
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD STE 118
ST. LOUIS, MO 63141                         198     12/12/2018            Promise Healthcare Group, LLC                             $13,804.96                                                                           $13,804.96
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                         183     12/11/2018            Promise Healthcare Group, LLC                             $16,290.48                                                                           $16,290.48
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                         194     12/12/2018            Promise Healthcare Group, LLC                             $13,804.96                                                                           $13,804.96
PHYSICAL THERAPY CONSULTANTS INC
THE LAW OFFICES OF JAY B UMANSKY PC
12460 OLIVE BLVD
STE 118
ST. LOUIS, MO 63141                         195     12/12/2018            Promise Healthcare Group, LLC                            $138,040.96                                                                          $138,040.96
PICC ME PLLC
Timothy Richards
1800 S. Loop Suite 396 #223
Denton, TX 76205                            548     2/15/2019             Promise Healthcare Group, LLC                             $86,199.63                                                                           $86,199.63
PICCS R Us Nursing Inc
3553 ATLANTIC AVE #357
LONG BEACH, CA 90807                        428     1/22/2019             Promise Healthcare Group, LLC                             $24,775.00                                                                           $24,775.00
Pitney Bowes Inc
27 Waterview Dr, 3rd Fl
Shelton, CT 06484                           1016    5/28/2019            Promise Hospital of Phoenix, Inc.                           $2,377.68                                                                            $2,377.68
Pivotal Tax Solutions, LLC
Law Office of Sterling R. Threet
c/o Sterling R. Threet
2345 E. University Dr., #2
Mesa, AZ 85213                              828     5/13/2019                 Success Healthcare, LLC                              $123,072.80                                                                          $123,072.80
Pivotal Tax Solutions, LLC
Law Office of Sterling R. Threet
c/o Sterling R. Threet
2345 E. University Dr., #2
Mesa, AZ 85213                              830     5/13/2019                Promise Healthcare, Inc.                              $123,072.80                                                                          $123,072.80
PlatinumCode
8095 215th St W
Lakeville, MN 55044                         616     3/13/2019               St. Alexius Properties, LLC                              $1,013.53                                                                            $1,013.53
PlatinumCode
8095 215th St W
Lakeville, MN 55044                         627     3/13/2019     Promise Hospital of Florida at The Villages, Inc.                   $278.52                                                                              $278.52
PlatinumCode
8095 215th St W
Lakeville, MN 55044                         647     3/13/2019       Promise Hospital of East Los Angeles, L.P.                        $962.02                                                                              $962.02


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                                                                                                                                                  Current Priority Current Secured                      Current Admin Total Current
              Creditor Name and Address   Claim No. Claim Date                        Debtor                                   Unsecured Claim                                        Admin Priority
                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                Amount
Playimage Inc.
c/o Siegel & Siegel, P.A.
1600 South Dixie Highway
Suite 300
Boca Raton, FL 33432                        502     2/11/2019                Promise Healthcare, Inc.                                $39,667.00                                                                           $39,667.00
PMA Companies
Allen A. Etish, Esquire
Earp Cohn P.C.
20 Brace Road - Suite 400
Cherry Hill, NJ 08034                       1167    5/29/2019          Promise Healthcare of California, Inc.                     $3,586,803.13                                                                        $3,586,803.13
PMA Companies
Earp Cohn P.C.
Allen A. Etish, Esquire
20 Brace Road, Suite 400
Cherry Hill, NJ 08034                       1095    5/29/2019                 Success Healthcare, LLC                             $2,379,833.18                                                                        $2,379,833.18
Pollard, Donald E.
Katten Muchin Rosenman LLP
Attn: Kenneth J. Ottaviano, Esq.
525 W. Monroe Street
Chicago, IL 60661                           1013    5/28/2019             Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
POWERSECURE SERVICE, INC.
377 MAITLAND AVE
SUITE 1010
ALTAMONTE SPRINGS, FL 32701                 157     12/6/2018            Promise Hospital of Phoenix, Inc.                                               $582.42                           $10,201.45                     $10,783.87
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                           89     11/26/2018               Promise Healthcare, Inc.                                  $475.53                                                                              $475.53
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                           99     11/26/2018    Promise Hospital of Florida at The Villages, Inc.                    $845.16                                                                              $845.16
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          104     11/26/2018            Promise Healthcare Group, LLC                               $3,161.23                                                                            $3,161.23
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          105     11/26/2018           Promise Hospital of Phoenix, Inc.                             $271.87                                                                              $271.87
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          108     11/26/2018             Promise Hospital of Lee, Inc.                               $233.39                                                                              $233.39
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          109     11/26/2018          Promise Hospital of Vicksburg, Inc.                           $2,556.83                                                                            $2,556.83
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          111     11/26/2018          Promise Hospital of Salt Lake, Inc.                           $1,486.46                                                                            $1,486.46
PRECISION DYNAMICS CORPORATION
27770 N ENTERTAINMENT DRIVE
SUITE 200
VALENCIA, CA 91455                          467     1/25/2019                Success Healthcare 2, LLC                                 $181.95                                                                              $181.95


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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                            Amount                                                Amount
Precision Works, Inc. dba Precision Environmental
Kent W. Keating, Esq.
199 W. Hillcrest Drive
Thousand Oaks, CA 91360                               246     12/21/2018               Success Healthcare 1, LLC                               $3,870.00                         $55,769.60                                        $59,639.60
Precision Works, Inc. dba Precision Environmental
Kent W. Keating, Esq.
199 W. Hillcrest Drive
Thousand Oaks, CA 91360                               250     12/21/2018                HLP of Los Angeles, LLC                                $3,870.00                         $55,769.60                                        $59,639.60
Pride Healthcare, LLC
Eckert Seamans
Christopher F. Graham
10 Bank Street, Suite 700
White Plains, NY 10606                                629     3/11/2019                Promise Healthcare, Inc.                               $39,853.08                                                                           $39,853.08
Pride Healthcare, LLC
Eckert Seamans
Christopher F. Graham
10 Bank Street, Suite 700
White Plains, NY 10606                                630     3/11/2019             Promise Healthcare Group, LLC                             $39,853.08                                                                           $39,853.08
Pringley, Ericka
300 Delaware Avenue Suite 1100
Wilmington, DE 19801                                  1138    5/29/2019     Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                                $0.00
Pringley, Frederick M.
S. Alexander Faris, Esq.
300 Delaware Avenue, Suite 1100
Wilmington, DE 19801                                  1125    5/29/2019     Promise Hospital of Florida at The Villages, Inc.                      $0.00                                                                                $0.00
Priority One Medical Transport, LLC
6950 Briarcliff Road
Fort Myers, FL 33912                                  499     2/11/2019              Promise Hospital of Lee, Inc.                             $1,406.00                                                                            $1,406.00
PRN Health Services Inc.
1101 E. South River Street
Appleton, WI 54915                                     68     11/28/2018          St. Alexius Hospital Corporation #1                         $57,011.75                                                                           $57,011.75
PRN HEALTH SERVICES, INC.
1101 E. SOUTH RIVER STREET
APPLETON, WI 54915                                     27     11/19/2018           Promise Hospital of Phoenix, Inc.                          $42,113.50                                                                           $42,113.50
PROCARE ONE
P.O. BOX 301076
DALLAS, TX 75303-1076                                 418     1/21/2019             Promise Healthcare Group, LLC                            $424,673.99                                                                          $424,673.99
PROCARE ONE
P.O. BOX 301076
DALLAS, TX 75303-1076                                 453     1/28/2019             Promise Healthcare Group, LLC                             $24,673.99                                                                           $24,673.99
Proforma Total Graphics
Coface North America Insurance Company
650 College Road East, Suite 2005
Princeton, NJ 08540                                    29     11/19/2018            Promise Healthcare Group, LLC                             $21,085.88                                                                           $21,085.88
PROMED APPAREL, LLC
6610 E. BASELINE RD #101
MESA, AZ 85206                                        832     5/13/2019             Promise Healthcare Group, LLC                                                                                                      $966.74       $966.74
PROMED APPAREL, LLC
6610 E. BASELINE RD.
SUITE 101
MESA, AZ 85206                                        835     5/13/2019             Promise Healthcare Group, LLC                               $966.74                                                                              $966.74
Promise Hospital
P.O. Box 13781
Miami, FL 33101-3781                                  1714     2/3/2020             Promise Healthcare Group, LLC                                                                                                    $1,031.00      $1,031.00
PROMISE MEDICAL GROUP, PLLC
9202 NW. 26TH STREET
WILDWOOD, FL 34785-7413                               786     5/10/2019          HLP Properties at the Villages, L.L.C.                       $17,850.00                                                                           $17,850.00

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                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                                Amount
PUCHLIK DESIGN ASSOCIATES INC
859 SOUTH RAYMOND AVENUE
PASADENA, CA 91105                               991     5/23/2019                   Success Healthcare, LLC                                   $0.00                                                                                $0.00
PUCHLIK DESIGNS ASSOCIATES, INC
859 SOUTH RAYMOND AVENUE
PASADENA, CA 91105                               1020    5/23/2019              Promise Hospital of Phoenix, Inc.                          $64,500.04                                                                           $64,500.04
PURTLE & ASSOCIATES, LLC
9441 STEVENS ROAD
SUITE 200
SHREVEPORT, LA 71106                             780      5/6/2019    Promise Behavioral Health Hospital of Shreveport, Inc.                $4,620.00                                                                            $4,620.00
Quality Logo Products, Inc.
c/o J. Meyers, PLLC
16414 Braeburn Ridge Trail
Delray Beach, FL 33446                           618     3/20/2019                  Promise Healthcare, Inc.                               $32,435.54                                                                           $32,435.54
Quality Staffing Services
888 East 3900 South
Salt Lake City, UT 84107                         254     12/26/2018              Promise Healthcare Group, LLC                              $5,389.55                                                                            $5,389.55
Quatrex Corporation
1185 Blanton Rd
Sharon, SC 29742                                 784      5/9/2019               Promise Healthcare Group, LLC                                                                                                    $1,251.06      $1,251.06
Quatrex Corporation
1185 Blanton Rd
Sharon, SC 29742                                 1678    1/15/2020               Promise Healthcare Group, LLC                                                                                                    $1,251.06      $1,251.06
Quest Diagnostics
Abigail Winston
8403 Fallbrook Ave
West Hills, CA 91304                             609      3/4/2019               Promise Healthcare Group, LLC                             $53,545.35                                                                           $53,545.35
Quest Diagnostics Clinical Laboratories Inc.
Gloria Nash-McNair CV 2035
1201 S Collegeville Rd
Collegeville, PA 19426                           279     12/20/2018              Promise Healthcare Group, LLC                              $3,121.79                                                                            $3,121.79
QUICKSILVER EXPRESS COURIER
P.O. BOX 64417
ST. PAUL, MN 55164-0417                          1104    5/28/2019               Promise Healthcare Group, LLC                                                                                                      $961.91       $961.91
Quicksilver Express Courier of AZ, Inc.
4625 W. McDowell Rd., Ste. 160
Phoenix, AZ 85035                                144     12/3/2018              Promise Hospital of Phoenix, Inc.                            $961.91                                                                              $961.91
QUICKSILVER EXPRESS COURIER OR AZ, INC.
TINA M. TACKER
203 E. LITTLE CANADA RD
ST PAUL, MN 55117                                1085    5/28/2019               Promise Healthcare Group, LLC                               $961.94                                                                              $961.94
Quintanilla, Glady
24636 Overlook Dr
Corona, CA 92883                                 881     5/17/2019               Promise Healthcare Group, LLC                                                                                                    $6,000.00      $6,000.00
QUINTANILLA, GLADY
24636 OVERLOOK DR
CORONA, CA 92883-5236                            877     5/17/2019               Promise Healthcare Group, LLC                              $6,000.00                                                                            $6,000.00
R & R POWER SERVICES LLC
4807 HAZEL JONES RD.
BOSSIER CITY, LA 71111                           752      5/7/2019            Promise Properties of Shreveport, LLC                                                                                               $4,853.16      $4,853.16
R & R POWER SERVICES LLC
4807 HAZEL JONES RD.
BOSSIER CITY, LA 71111                           753      5/7/2019               Promise Healthcare Group, LLC                              $4,853.16                                                                            $4,853.16
R/M Arizona Holdings, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                             1308    5/30/2019              Promise Hospital of Phoenix, Inc.                          $34,649.96                                                                           $34,649.96

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                 Creditor Name and Address                     Claim No. Claim Date                        Debtor                                Unsecured Claim                                          Admin Priority
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RADWORKS LLC
2535 W. 237TH STREET., UNIT 112
TORRANCE, CA 90505                                               642     3/21/2019            Promise Healthcare Group, LLC                               $6,208.10                                                                            $6,208.10
Rafael Rivera-Rivera, MD
1208 Brook Avenue
Wichita Falls , TX 76301                                         122     11/30/2018        Promise Hospital of Wichita Falls, Inc.                                         $29,600.00                                                         $29,600.00
Rapid Laboratory Services, LLC, an Arizona Limited Liability
Company
Kasey C. Nye
5210 E Williams Circle, Suite 800
Tucson, AZ 85711                                                 458     1/29/2019            Promise Healthcare Group, LLC                              $80,040.77                                                                           $80,040.77
Ray Cannedy Security & Investigations
1912 Kemp Blvd.
Wichita Falls, TX 76308                                          224     12/18/2018        Promise Hospital of Wichita Falls, Inc.                                          $9,385.55                                                          $9,385.55
Ray Cannedy Security & Investigations
1912 Kemp Blvd.
Wichita Falls, TX 76308                                          225     12/18/2018        Promise Hospital of Wichita Falls, Inc.                        $9,385.55                                                                            $9,385.55
RCG Mississippi, Inc.
Fresenius Medical North America
920 Winter Street
Waltham, MA 02451                                                381     1/11/2019       Professional Rehabilitation Hospital, L.L.C.                    $33,426.66                                                                           $33,426.66
RCG Mississippi, Inc. d/b/a RCG Delta
c/o Fresenius Medical Care North America
Attn: Russell P. Plato, Assistant General Counsel
920 Winter Street
Waltham, MA 02451                                                383     1/11/2019          Promise Hospital of Vicksburg, Inc.                          $33,682.89                                                                           $33,682.89
ReadyLink
PO Box 1047
Thousand Palms, CA 92276                                         1641     8/1/2019            Promise Healthcare Group, LLC                                                                                                         $0.00         $0.00
ReadyLink
PO Box 1047
Thousand Palms, CA 92276                                         1642     8/1/2019            Promise Healthcare Group, LLC                                  $0.00                                                                                $0.00
READYLINK INC
ATTN: LEGAL DEPARTMENT
PO BOX 1047
THOUSAND PALMS, CA 92276                                         1648    8/27/2019         Promise Hospital of Wichita Falls, Inc.                       $31,865.83                                                                           $31,865.83
Record Xpress of California, LLC
Access Information Protected
500 Unicorn Park Drive, Suite 503
Woburn, MA 01801                                                  56     11/21/2018           Promise Healthcare Group, LLC                              $65,119.52                                                                           $65,119.52
Record Xpress of California, LLC
Access Information Protected
500 Unicorn Park Drive, Suite 503
Woburn, MA 01801                                                 725      5/3/2019                 Quantum Health, Inc.                                  $65,119.52                                                                           $65,119.52
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                             1045    5/30/2019           Promise Hospital of Louisiana, Inc.                         $12,643.47                                                                           $12,643.47
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                             1155    5/30/2019                Promise Healthcare, Inc.                                $5,373.22                                                                            $5,373.22
Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                             1163    5/30/2019                Promise Healthcare, Inc.                               $12,643.47                                                                           $12,643.47


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Red Ball Oxygen Co Inc
Attn: General Counsel
609 North Market St.
Shreveport, LA 71137                                         1178    5/30/2019             Promise Hospital of Louisiana, Inc.                          $5,373.22                                                                            $5,373.22
Red Hawk Fire & Security
7700 Gulf Freeway
Houston, TX 77017                                            693     4/18/2019              Promise Healthcare Group, LLC                                $647.50                                                                              $647.50
Red Hawk Fire & Security
7700 Gulf Freeway
Houston, TX 77047                                            694     4/18/2019                   HLP of Los Angeles, LLC                                 $647.50                                                                              $647.50
Red Hawk Fire & Security
Attn: Anita Wimbley
7700 Gulf Fwy
Houston, TX 77017                                            695     4/18/2019              Promise Healthcare Group, LLC                                $150.00                                                                              $150.00
Reed Mechanical Equipment, Inc
P.O. Box 6631
Shreveport, LA 71136-6631                                    976     5/21/2019             Promise Hospital of Louisiana, Inc.                                                                                                  $351.20       $351.20
REED MECHANICAL EQUIPMENT, INC.
P.O. BOX 6631
SHREVEPORT, LA 71136                                         953     5/21/2019             Promise Hospital of Louisiana, Inc.                           $351.20                                                                              $351.20
Reichert, Christina
c/o The Law Offices of Carlin & Buchsbaum, LLP
301 E. Ocean Blvd., Ste. 1550
Long Beach, CA 90802                                         227     12/20/2018             Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
Reid, Felicita
Daniela Romero, Esq.
Law Office of Daniela Romero, APLC
1015 N. Lake Ave., Ste. 212
Pasadena, CA 91104                                           1438    5/31/2019           Promise Healthcare of California, Inc.                       $500,000.00                                                                          $500,000.00
Reid, Felicita
Daniela Romero, Esq.
Law Office of Daniela Romero, APLC
1015 North Lake Ave., #212
Pasadena, CA 91104                                           1358    5/31/2019         Promise Hospital of East Los Angeles, L.P.                     $500,000.00                                                                          $500,000.00
RELIANCE WHOLESALE, INC.
DANIEL K. BANDKLAYDER, P.A.
11130 N. KENDALL DRIVE
SUITE 104
MIAMI, FL 33176                                              363     1/10/2019             Promise Hospital of Louisiana, Inc.                         $11,335.88                                                                           $11,335.88
Reliance Wholesale, Inc.
Daniel K. Bandklayder, P.A.
11130 N. Kendall Drive, Suite 104
Miami, FL 33176                                              365     1/10/2019             Promise Hospital of Phoenix, Inc.                           $18,733.90                                                                           $18,733.90
Reliant Energy Retail Services, LLC
c/o Sandra Martel
P. O. Box 1046
Houston, TX 77251-9995                                       576     2/25/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $14,983.65                                             $6,241.03                     $21,224.68
Reliant Energy Retail Services, LLC
c/o Sandra Martel
P.O. Box 1046
Houston, TX 77251-9995                                       577     2/25/2019               Promise Hospital of Dallas, Inc.                             $17.88                                                 $11.92                        $29.80
Renal Treatment Center - Southeast L.P., a subsidiary of
DaVita, Inc.
Timothy M. Swanson
1400 16th Street, Suite 600
Denver, CO 80202                                             718      5/2/2019               Promise Hospital of Dallas, Inc.                          $35,925.04                                                                           $35,925.04


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                 Creditor Name and Address                     Claim No. Claim Date                        Debtor                                  Unsecured Claim                                         Admin Priority
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Renal Treatment Center - West, Inc., a subsidiary of DaVita,
Inc.
Timothy M. Swanson
1400 16th Street, Suite 600
Denver, CO 80202                                                 719      5/2/2019            Promise Hospital of Phoenix, Inc.                         $264,349.14                                                                           $264,349.14
Rex A. Hymel Co., Inc.
13 Mustang Lane
St. Rose, LA 70087                                               153     12/5/2018             Promise Healthcare Group, LLC                              $2,604.15                                                                             $2,604.15
Richard L. Brown, by and through his Successor-in-interest,
Shellee Renaud
Peck Law Group
Steven C. Peck, Esq
6454 Van Nuys Boulevard, Suite 150
Van Nuys, CA 91401                                               495      2/7/2019             Promise Healthcare Group, LLC                           $1,000,000.00                                                                         $1,000,000.00
RIDELINKS, INC.
1 SOUTH FAIR OAKS AVE.
SUITE 302
PASADENA, CA 91105                                               472      2/5/2019          Promise Healthcare of California, Inc.                                                                               $9,041.89                      $9,041.89
RIVERPARK AMBULATORY SURGICAL
107 FRONT STREET
VIDALIA, LA 71373                                                947     5/23/2019                Promise Healthcare, Inc.                                $3,985.04                                                                             $3,985.04
RIVERPARK IMAGING CENTER
107 FRONT STREET
VIDALIA, LA 71373                                                986     5/23/2019                Promise Healthcare, Inc.                               $11,026.69                                                                            $11,026.69
RJ KOOL
234 W 12TH AVENUE
NORTH KANSAS, MO 64116                                           1669     1/9/2020             Promise Healthcare Group, LLC                                                                                                       $204.94        $204.94
ROBERT D. HORNE ROTH IRA
340 BIRCH ST
WINNETKA, IL 60093                                               778      5/9/2019             Promise Healthcare Group, LLC                                                                                                   $367,350.00    $367,350.00
ROBERT D. HORNE ROTH IRA
340 BIRCH ST
WINNETKA, IL 60093                                               788      5/9/2019             Promise Healthcare Group, LLC                                                                $367,350.00                                       $367,350.00
ROBERT SCOT BUILDING VENTURE
PO BOX 437
GLENCOE, IL 60022                                                895     5/20/2019             Promise Healthcare Group, LLC                                                                                                 $1,300,000.00   $1,300,000.00
ROBERT SCOT BUILDING VENTURE
ROBERT HARRIS, MANAGER
P.O. BOX 437
GLENCOE, IL 60022                                                893     5/20/2019             Promise Healthcare Group, LLC                           $1,300,000.00                                                                         $1,300,000.00
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1
Mail Stop A3-A
Indianapolis, IN 46256                                           913     5/22/2019     Promise Hospital of Florida at The Villages, Inc.                  $9,991.76                                                                             $9,991.76
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                           915     5/22/2019           Promise Hospital of Louisiana, Inc.                         $18,784.15                                             $18,976.98                     $37,761.13
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                           916     5/22/2019            Promise Hospital of Phoenix, Inc.                          $19,544.88                                                                            $19,544.88


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Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     922     5/22/2019                Promise Healthcare, Inc.                               $71,180.30                                            $20,426.66                     $91,606.96
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     923     5/22/2019              Promise Hospital of Lee, Inc.                            $12,233.28                                             $1,449.68                     $13,682.96
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     924     5/22/2019             Promise Hospital of Dade, Inc.                             $4,356.04                                                                            $4,356.04
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     925     5/22/2019       Professional Rehabilitation Hospital, L.L.C.                      $195.21                                                                              $195.21
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     926     5/22/2019          Promise Hospital of Vicksburg, Inc.                           $5,152.26                                                                            $5,152.26
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
9115 Hauge Road-Building B2, Mail Stope B2-4
Indianapolis, IN 46256                                     1727    2/27/2020                Promise Healthcare, Inc.                              $360,350.75                                                                          $360,350.75
Roche Diagnostics Corporation
Douglas Durbin
Senior Corporate Credit Analyst
Roche Diagnostics Corporation
9115 Hague Road-Building B3-1, Mail Stop A3-A
Indianapolis, IN 46256                                     912     5/22/2019         Promise Hospital of Baton Rouge, Inc.                           $922.72                                                                              $922.72
RODRIGUEZ, MARY
9048 1/2 CEDAR STREET
BELLFLOWER, CA 90706                                       1474    5/31/2019       Promise Hospital of East Los Angeles, L.P.                                         $6,000.00        $6,000.00              $0.00                     $12,000.00
Rodriguez, Mary
9331 Rose St
Bellflower, CA 90706                                       1263    5/30/2019       Promise Hospital of East Los Angeles, L.P.                                         $6,000.00        $6,000.00              $0.00                     $12,000.00
Rodriguez, Mary L.
9331 Rose St
Bellflower, CA 90706                                       1503    5/31/2019       Promise Hospital of East Los Angeles, L.P.                                                                                             $6,000.00      $6,000.00
Rogers, David
3506 Folkstone Ct
Burbank, CA 91504                                          504     2/11/2019               Success Healthcare 1, LLC                               $40,000.00                                                                           $40,000.00
Roofing Constructors, Inc. dba Western Roofing Service
c/o CRF Solutions
PO Box 1389
Simi Valley, CA 93062                                      1019    5/17/2019            Promise Healthcare Group, LLC                               $6,353.00                                                                            $6,353.00
Roque, Ann
c/o Mahoney Law Group APC
249 East Ocean Blvd., Ste.814
Long Beach, CA 90802                                       710     4/30/2019       Promise Hospital of East Los Angeles, L.P.                      $94,979.00        $12,850.00                                                        $107,829.00


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                                                                                                                                             Amount                                                 Amount
Ross, Hoyt
7005 Equestrian Trail
Summerfield, NC 27358                                1091    5/28/2019         HLP Properties at the Villages Holdings, LLC                     $62,700.00                                                                           $62,700.00
Rouge, Ann M
C/O Mahoney Law Group APC
249 East Ocean Blvd., #814
Long Beach, CA 90802                                 709     4/30/2019          Promise Hospital of East Los Angeles, L.P.                      $94,979.00        $12,850.00                                                        $107,829.00
Royal Cup Coffee
160 Cleage Dr
Birmingham, AL 35217                                 793     5/10/2019              Promise Hospital of Phoenix, Inc.                             $325.60                                                                              $325.60
ROYCE INTEGRATED SOLUTIONS
3863 PEMBROKE ROAD
HOLLYWOOD, FL 33021                                  230     12/17/2018              Promise Healthcare Group, LLC                                $607.65                                                                              $607.65
ROYCE INTEGRATED SOLUTIONS
3863 PEMBROKE ROAD
HOLLYWOOD, FL 33021                                  759      5/7/2019       Promise Hospital of Florida at The Villages, Inc.                    $607.65                                                                              $607.65
RTI Surgical, Inc.
Lana Wilson
11621 Research Circle
Alachua, FL 32615                                    479      2/6/2019               Promise Healthcare Group, LLC                              $23,480.00                                                                           $23,480.00

RUBEN GONZALEZ, INDIVIDUALLY AND AS THE PERSONAL
REPRESENTATIVE OF THE ESTATE OF MARTA GONZALEZ
S. ALEXANDER FARIS, ESQ.
300 DELAWARE AVENUE SUITE 1100
WILMINGTON , DE 19801                                1173    5/29/2019               Promise Hospital of Dade, Inc.                                 $0.00                                                                                 $0.00
Ruben Gonzalez, Individually and as the personal
representative of the estate of Marta Gonzalez
S. Alexander Faris, Esq.
300 Delaware Avenue, Suite 1100
Wilmington, DE 19801                                 1134    5/29/2019                  Promise Healthcare, Inc.                                    $0.00                                                                                 $0.00
Rutledge Plumbing Co.
1120 Sheppard Rd.
Burkburnett, TX 76354                                234     12/18/2018              Promise Healthcare Group, LLC                               $2,100.00                                                                            $2,100.00
SAI Global Compliance, Inc
SAI Global Compliance, Inc
Attn: B. Schmitz, Accounting Mgr
205 W. Wacker Dr.
Suite 1800
Chicago, IL 60606                                    823     5/13/2019                  Promise Healthcare, Inc.                                $78,925.00                                                                           $78,925.00
SAMUEL ETCHIE MD
7770 REGENTS RD. #109
SAN DIEGO, CA 92122                                  1082    5/28/2019                    Quantum Health, Inc.                                  $80,000.00                                                                           $80,000.00
SAN DIEGO COUNTY TREASURER - TAX COLLECTOR
ATTN: BANKRUPTCY DESK
1600 PACIFIC HIGHWAY ROOM 162
SAN DIEGO, CA 92101                                  1710    1/31/2020               Promise Healthcare Group, LLC                                                                                                         $6.56          $6.56
San Diego County Treasurer-Tax Collector
Attn: BK Desk
1600 Pacific Highway, Rm 162
San Diego, CA 92101                                  535     2/13/2019                  Quantum Properties, L.P.                                                                   $38,855.00                                        $38,855.00
SANDERS, KRISSIE
8820 MONROVIA
#19651
LENEXA, KS 66285-7040                                1502    5/31/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                  $2,458.68                                                          $2,458.68




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                                                                                                                                                            Amount                                                Amount
Sandhill Investors, LLC
c/o Warner, Sechrest & Butts, P.A.
c/o Sean G. Hipworth, Esq.
5200 SW 91st Terrace, Suite 101
Gainesville, FL 32608                                               1108    5/24/2019     Promise Rejuvenation Center at the Villages, Inc.                   $93,863.11                                                                           $93,863.11
SANDHILL INVESTORS, LLC
WARNER, SECHREST & BUTTS, P.A.
C/O S.G.H.
5200 SW 91ST TERRACE, SUITE 101
GAINESVILLE, FL 32608                                               146     12/3/2018      Promise Hospital of Florida at The Villages, Inc.                  $93,863.11                                                                           $93,863.11
SandHill Investors, LLC
Warner, Sechrest 7 Butts, P.A.
c/o Sean G. Hipworth, Esq.
5200 SW 91st Terrace, Suite 101
Gainesville, FL 32608                                               1172    5/24/2019      Promise Hospital of Florida at The Villages, Inc.                  $93,863.11                                                                           $93,863.11
Satish Chada, MD
1208 Brook Avenue
Wichita Falls, TX 76301                                             123     11/30/2018          Promise Hospital of Wichita Falls, Inc.                                         $33,000.00                                                         $33,000.00
Satish Chada, MD
1208 Brook Avenue
Wichita Falls, TX 76301                                             121     11/30/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.                                $22,000.00                                                         $22,000.00
Saunders, Keona
4003 Memorial Dr
Belleville, IL 62220                                                747      5/7/2019                Promise Healthcare #2, LLC                                                                                                      $5,866.00      $5,866.00
SAUNDERS, KEONA
4003 MEMORIAL DRIVE
BELLEVILLE, IL 62226                                                750      5/7/2019              Promise Healthcare Group, LLC                               $2,382.78         $4,167.33                           $3,636.00                     $10,186.11
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                                 715      5/2/2019            St. Alexius Hospital Corporation #1                            $227.75                                                                              $227.75
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                                 720      5/2/2019            St. Alexius Hospital Corporation #1                           $2,025.00                                                                            $2,025.00
SCHAEFFER ELECTRIC COMPANY
4667 GREEN PARK ROAD
ST. LOUIS, MO 63123                                                 722      5/2/2019            St. Alexius Hospital Corporation #1                            $989.18                                                                              $989.18
Schindler Elevator Corporation
1530 Timberwolf Drive
Holland, OH 43528                                                   218     12/18/2018            Promise Hospital of Louisiana, Inc.                          $6,228.86                                                                            $6,228.86
ScImage Inc.
4916 El Camino Real
Los Altos, CA 94022                                                 409     1/17/2019              Promise Healthcare Group, LLC                              $26,666.72                                                                           $26,666.72
Scott M. Seidel, Chapter 7 Trustee of the estate of Walnut Hill
Physicians’ Hospital, LLC
Fareed Kaisani
500 N. Akard Street, Suite 3800
Dallas, TX 75201                                                    464     1/30/2019               Promise Hospital of Dallas, Inc.                          $61,931.22                                                                           $61,931.22
SECURE NURSING SERVICE, INC.
3333 WILSHIRE BLVD.
SUITE 625
LOS ANGELES, CA 90010                                               1151    5/29/2019              Promise Healthcare Group, LLC                                                 $2,170.00                                                          $2,170.00
Securitas Security Services USA Inc.
Attn: Tom Roszhart, Business Services Group (00220)
4330 Park Terrace Drive
Westlake Village, CA 91361                                          1232    5/30/2019            St. Alexius Hospital Corporation #1                          $29,964.50                                                                           $29,964.50




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                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                     Amount                                                 Amount
SEDIGHI MD, P.A., HOOMAN
1420 W. MOCKINGBIRD LN, #420
DALLAS, TX 75247                             596     2/25/2019               Promise Healthcare Group, LLC                              $11,880.00                                                                           $11,880.00
Senior RX Care of Kansas, LLC
Attn: Legal
121 SE 6th Avenue
Topeka, KS 66603                             743      5/7/2019    Promise Skilled Nursing Facility of Overland Park, Inc.               $41,968.91                                            $19,271.23                     $61,240.14
Sharn Inc.
6850 Southbelt Dr
Caledonia, MI 49316                           4      11/13/2018              Promise Healthcare Group, LLC                               $5,823.50                                                                            $5,823.50
SHC, Services, Inc
1640 Redstone Center Dr
Park City, UT 84098                           7      11/13/2018                 Promise Healthcare, Inc.                                $38,064.31                                                                           $38,064.31
Sherwin Williams Co.
915 Murray Dr
Suite 338
Lexington , KY 40505                         373      1/8/2019               Promise Healthcare Group, LLC                               $3,069.60                                                                            $3,069.60
Shultz Ira, Edward J
29709 Somerset RD
Perrysburg, OH 43551                         1090    5/28/2019               Promise Healthcare Group, LLC                                               $800,000.00                                                        $800,000.00
SIDNEY, CHARKARMALY
501 NORTH ROSSMORE AVE #205
LOS ANGELES, CA 90004                        801      5/9/2019          Promise Hospital of East Los Angeles, L.P.                      $23,392.25         $2,973.56                                                         $26,365.81
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02062                            1456    5/30/2019               Promise Healthcare Group, LLC                              $26,592.19                                                                           $26,592.19
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02062                            1504    5/30/2019               Promise Healthcare Group, LLC                              $29,479.81                                                                           $29,479.81
Siemens Healthcare Diagnostics, Inc
Attn: General Counsel
115 Norwood Park South
Norwood, MA 02602                            1453    5/30/2019               Promise Healthcare Group, LLC                              $23,837.24                                                                           $23,837.24
SIEMENS HEALTHCARE DIAGNOSTICS, INC
P. O BOX 121102
DALLAS, TX 75312-1102                        1455    5/30/2019             Promise Hospital of Ascension, Inc.                          $14,547.10                                             $9,129.11                     $23,676.21
Siemens Healthcare Diagnostics, Inc.
Attn: General Counsel
P.O. Box 121102
Dallas, TX 75312-1102                        1445    5/30/2019               Promise Healthcare Group, LLC                               $7,899.10                                                                            $7,899.10
Sierra Equities, Inc
Attn: General Counsel
801 North Brand Blvd.
Suite 1010
Glendale, CA 91203                           733      5/6/2019              Promise Hospital of Phoenix, Inc.                               $0.00                                                                                 $0.00
SIMON, JOSEPH
7466 SANTA DOMINGO WAY
BUENA PARK, CA 90620                         783      5/9/2019          Promise Hospital of East Los Angeles, L.P.                                         $4,590.24                                                          $4,590.24
SimpleLTC Systems, LLC
Attn: Accounts Payable
2435 N Central Expwy, Ste 1510
Richardson, TX 75080                         217     12/17/2018              Promise Healthcare Group, LLC                                $526.00                                                                              $526.00
Singh, MD, Ravinder
8920 Wilshire Blvd., Ste. 520
Beverly Hills, CA 90211                      633     3/14/2019               Promise Healthcare Group, LLC                              $84,750.00                                                                           $84,750.00

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                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                   Amount                                                Amount
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                              268     12/26/2018        Promise Hospital of Vicksburg, Inc.                            $936.70                                                                              $936.70
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                              269     12/26/2018        Promise Hospital of Louisiana, Inc.                           $5,068.39                                                                            $5,068.39
Sizewise Rentals, LLC
P.O. Box 320
Ellis , KS 67637                              270     12/26/2018          Promise Healthcare Group, LLC                                $903.67                                                                              $903.67
Sizewise Rentals, LLC
P.O. BOX 320
Ellis, KS 67637                               291     12/26/2018          Promise Hospital of Dallas, Inc.                            $7,568.48                                                                            $7,568.48
Sizewise Rentals, LLC
PO Box 320
Ellis, KS 67637                               267     12/26/2018          Promise Healthcare Group, LLC                              $14,074.00                                                                           $14,074.00
Sizewise Rentals, LLC
PO Box 320
Ellis, KS 67637                               274     12/26/2018       Promise Hospital of Baton Rouge, Inc.                         $37,944.88                                                                           $37,944.88
SmartRoom
3732 West 120th St
Hawthorne, CA 90250                           1183    5/30/2019           Promise Healthcare Group, LLC                                 $23.03                                                                               $23.03
Smith & Nephew, Inc.
Attn: Kacey L. Faughnan, Esq.
7135 Goodlett Farms Parkway
Cordova, TN 38016                             969     5/24/2019           Promise Healthcare Group, LLC                                $489.00                                                                              $489.00
SMT Services, Inc.
Keith Talley
4030 S 500 W Ste 90
Salt Lake City, UT 84123                      544     2/19/2019         Promise Hospital of Salt Lake, Inc.                            $560.00                                                                              $560.00
Soler, Bill
PO Box 684
York, SC 29745                                259     12/26/2018          Promise Healthcare Group, LLC                                                                                     $1,251.06                      $1,251.06
Soler, Bill
PO Box 684
York, SC 29745                                776      5/9/2019           Promise Healthcare Group, LLC                                $625.53                                                                              $625.53
Soliant Health
Steven Rebidas
10151 Deerwood Park Blvd.
Jacksonville, FL 32256                        134     11/26/2018             Promise Healthcare, Inc.                               $167,088.93                                                                          $167,088.93
Sonos Links LLC
204 E. Mckenzie Street
Suite E8
Punta Gorda, FL 33950                         339      1/4/2019           Promise Healthcare Group, LLC                               $2,700.00                                                                            $2,700.00
SOUTH BROADWAY PHILLIPS
DBA SO BROADWAY CITGO
3605 SO BROADWAY
ST. LOUIS, MO 63118                           1464    5/31/2019           Promise Healthcare Group, LLC                               $2,800.00                                                                            $2,800.00
South Florida Business Journal
c/o Szabo Associates Inc.
3355 Lenox Road NE, Suite 945
Atlanta, GA 30326                             163     12/10/2018             Promise Healthcare, Inc.                                 $4,897.00                                                                            $4,897.00
Southern California Gas Company
PO Box 30337
Los Angeles, CA 90030                          92     11/20/2018          Promise Healthcare Group, LLC                               $1,872.89                                                                            $1,872.89
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                           631     3/11/2019         Promise Hospital of Vicksburg, Inc.                          $31,128.75                                                                           $31,128.75

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                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                 Amount                                                  Amount
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                          1515     6/4/2019          Promise Hospital of Vicksburg, Inc.                          $31,128.75                                                                           $31,128.75
Southern Healthcare Agency, Inc.
301 New Pointe
Ridgeland, MS 39157                          1518     6/4/2019          Promise Hospital of Vicksburg, Inc.                                                                                                $31,128.75     $31,128.75
Southern Medical Staffing, LLC
1500 Metro Dr
Alexandria, LA 71301                         139     11/30/2018         Promise Hospital of Ascension, Inc.                          $86,500.81                                                                           $86,500.81
Southern Textile Services LLC
Attn: Evan T. Miller
Bayard, P.A.
600 N. King Street
Wilmington, DE 19801                         1004    5/23/2019           Promise Hospital of Louisiana, Inc.                         $34,234.10                                                                           $34,234.10
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                         960     5/23/2019          Promise Hospital of Ascension, Inc.                          $38,865.47                                                                           $38,865.47
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                         961     5/23/2019                Promise Healthcare, Inc.                              $119,144.82                                                                          $119,144.82
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                         971     5/23/2019          Promise Hospital of Vicksburg, Inc.                          $21,017.00                                                                           $21,017.00
Southern Textile Services LLC
Bayard, P.A.
Attn: Evan T. Miller
600 N. King Street
Wilmington, DE 19801                         1006    5/23/2019       Professional Rehabilitation Hospital, L.L.C.                    $25,028.25                                                                           $25,028.25
Southland Management Group, Inc.
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                       555     2/20/2019       Promise Hospital of East Los Angeles, L.P.                     $349,854.89                                            $93,923.08                    $443,777.97
Southland Management Group, Inc. ("SMG")
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                       1646    8/15/2019       Promise Hospital of East Los Angeles, L.P.                     $349,854.89                                            $93,923.08                    $443,777.97
Southwestern Bell Telephone Company
AT&T Corp
% AT&T Services, Inc.
Karen Cavagnaro, Esq.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                         868     5/17/2019            Promise Healthcare Group, LLC                              $50,376.27                                                                           $50,376.27
Southwestern Bell Telephone Company
c/o AT&T Services, Inc.
Karen A. Cavagnaro - Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                         873     5/17/2019          St. Alexius Hospital Corporation #1                           $2,453.08                                                                            $2,453.08




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                                                                                                                                             Amount                                                Amount
Southwestern Bell Telephone Company
c/o AT&T Services, Inc.
Karen A. Cavagnaro - Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                    882     5/20/2019            Promise Hospital of Dallas, Inc.                           $1,756.94                                                                            $1,756.94
Soutland Management Group, Inc. ("SMG")
c/o Ascher & Associates, P.C.
11022 Acacia Parkway, Suite D
Garden Grove, CA 92840                                  1645    8/15/2019       Promise Hospital of East Los Angeles, L.P.                    $349,854.89                                            $93,923.08                    $443,777.97
SPECIALIZED HEALTHCARE PARTNERS, LLC
ATTN: STEVE KNOWLES
220 CONGRESS PARK DRIVE
SUITE 210
DELRAY BEACH, FL 33445                                   45     11/23/2018           Promise Healthcare Group, LLC                             $38,057.12                                                                           $38,057.12
SPECIALTY ADVERTISING, INC.
4317 REDDING ROAD
BOYNTON BEACH, FL 33436                                 676      4/8/2019            Promise Healthcare Group, LLC                               $965.40                                                                              $965.40
SPECIALTY DOORS & AUTOMATION, INC.
4700 LONG BEACH BLVD
LONG BEACH, CA 90805                                    845     5/14/2019            Promise Healthcare Group, LLC                                                                                                      $491.98       $491.98
Specialty Doors & Automation, Inc.
4700 Long Beach Blvd.
Long Beach, CA 90805                                    846     5/14/2019            Promise Healthcare Group, LLC                               $491.98                                                                              $491.98
Specialty Doors + Automation Inc
4700 Long Beach Blvd.
Long Beach, CA 90805                                     6      11/13/2018           Promise Healthcare Group, LLC                               $491.98                                                                              $491.98
SPECIALTY DOORS AND AUTOMATION, INC.
4700 LONG BEACH BLVD
LONG BEACH, CA 90805                                    841     5/14/2019            Promise Healthcare Group, LLC                               $491.98                                                                              $491.98
Spectrum a/k/a Charter Communications Inc.
Sheppard Mullin Richter Hampton LLP
Edward H. Tillinghast, III, Esq.
30 Rockefeller Plaza
New York, NY 10112                                      1230    5/30/2019        Promise Hospital of Overland Park, Inc.                       $15,064.18                                                                           $15,064.18
SPECTRUM MEDICAL X-RAY COMPANY
1721 STEWART STREET
SANTA MONICA, CA 90404                                  613      3/5/2019            Promise Healthcare Group, LLC                              $4,286.57                                                                            $4,286.57
SPEEDCAST CONNECT
8511 WELLSFORD PLACE
SUITE D
SANTA FE SPRINGS, CA 90670                              1148    5/29/2019            Promise Healthcare Group, LLC                              $1,686.06                                                                            $1,686.06
SPRING HOUSE WATER COMPANY, INC.
788 3RD STREET
HEALDTON, OK 73438                                      654     3/27/2019            Promise Healthcare Group, LLC                                                                                    $4,076.38                      $4,076.38
St Jospeh Medical Center
1000 Carondelet Drive
Kansas City, MO 64114                                   200     12/12/2018           Promise Healthcare Group, LLC                            $119,110.85                                                                          $119,110.85
St. Alexius Hospital/Funding Partners Designee, LLC
Staci Laurino
11036 Tesson Ferry Rd
St. Louis, MO 63123                                     214     12/12/2018           Promise Healthcare Group, LLC                              $6,200.00                                                                            $6,200.00
St. Alexius Hospital/Funding Partners Designee, LLC
Staci Laurino
11036 Tesson Ferry Rd
St. Louis, MO 63123                                     944     5/21/2019            Promise Healthcare Group, LLC                              $6,000.00                                                                            $6,000.00




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                                                                                                                                                     Amount                                                 Amount
ST. CHRISTOPHER IMAGING, LLC
1725 ELIZABETH AVE
SHREVEPORT, LA 71101                                          1154    5/24/2019              Promise Healthcare Group, LLC                              $40,800.00                                                                           $40,800.00
St. Jude Medical Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           543     2/15/2019      Promise Hospital of Florida at The Villages, Inc.                  $48,816.08                                                                           $48,816.08
St. Jude Medical Division of Abbott Laboratories Inc.
Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212                                           664      4/3/2019              Promise Healthcare Group, LLC                              $31,634.57         $1,000.00                           $1,000.00                     $33,634.57
STAAR SURGICAL CO.
1911 WALKER AVE.
MONROVIA, CA 91016                                            154     12/5/2018              Promise Healthcare Group, LLC                               $4,310.10                                                                            $4,310.10
STAAR Surgical Company
Attn: Rachel Horta
1911 Walker Ave.
Monrovia, CA 91016                                            456     1/30/2019              Promise Healthcare Group, LLC                               $3,642.15                                                                            $3,642.15
Stanley Steemer of Los Angeles County, Inc., a California
corporation
McIntyre Law Group
166 W. Ramsey St.
Banning, CA 92220                                             440     1/22/2019              Promise Healthcare Group, LLC                              $81,705.00                                                                           $81,705.00
Star Alliance Security Inc
c/o Madaen Law, Inc.
Attn: Bahram Madaen, Esq.
16787 Beach Blvd # 777
Huntington Beach, CA 92647                                     67     11/28/2018             Promise Healthcare Group, LLC                              $34,763.59                                                                           $34,763.59
STAR TRANSPORTATION
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                       186     12/11/2018          Promise Hospital of Wichita Falls, Inc.                        $6,396.00                                                                            $6,396.00
STAR TRANSPORTATION
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                       188     12/11/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.              $28,175.00                                                                           $28,175.00
Stat-Med, Inc.
Charles J. Brown III, Esq.
1201 N Orange Street, Suite 300
Wilmington, DE 19801                                           13     11/16/2018             Promise Healthcare Group, LLC                              $12,217.50                                                                           $12,217.50
Stericycle Solutions, Inc
Attn: General Counsel
28161 N. Keith Drive
Lake Forest, IL 60045                                         790      5/9/2019              Promise Healthcare Group, LLC                              $66,512.21                                                                           $66,512.21
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                         1421    5/31/2019              Promise Healthcare Group, LLC                                                                                                         $0.00          $0.00
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                         1636    7/24/2019                  Promise Healthcare, Inc.                              $300,155.42        $11,481.09                                                        $311,636.51
Sterling, Suzanne K.
20 Fairway Island
Grasonville, MD 21638                                         1637    7/24/2019                  Promise Healthcare, Inc.                                                                                                     $34,604.65     $34,604.65
Steward Healthcare
Central Business Office
Attn: John Eckert Director of Operations
4801 E Washington
Suite 200
Phoenix, AZ 85034                                             215     12/14/2018            Promise Hospital of Phoenix, Inc.                          $332,740.18                                                                          $332,740.18

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                                                                                                                                      Amount                                                 Amount
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh , PA 15232                         1349    5/30/2019          Promise Hospital of East Los Angeles, L.P.                     $646,758.00                                                                          $646,758.00
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1374    5/30/2019                  Quantum Properties, L.P.                               $646,758.00                                                                          $646,758.00
Stewart B Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1378    5/30/2019       Promise Hospital of Florida at The Villages, Inc.                 $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1289    5/30/2019             Promise Hospital of Ascension, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1291    5/30/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.              $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1292    5/30/2019              Promise Properties of Dade, Inc.                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1295    5/30/2019                HLP Properties of Vidalia, LLC                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1298    5/30/2019                  Success Healthcare 1, LLC                              $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1299    5/30/2019      Promise Rejuvenation Center at the Villages, Inc.                  $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1309    5/30/2019    Promise Skilled Nursing Facility of Overland Park, Inc.              $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1310    5/30/2019               Bossier Land Acquisition Corp.                            $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1311    5/30/2019             Promise Hospital of Louisiana, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1315    5/30/2019                 Promise Healthcare #2, LLC                              $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1319    5/30/2019                   HLP of Shreveport, Inc.                               $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1320    5/30/2019           Promise Hospital of Overland Park, Inc.                       $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1321    5/30/2019               Promise Hospital of Dallas, Inc.                          $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1322    5/30/2019            Promise Hospital of Wichita Falls, Inc.                      $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1326    5/30/2019         HLP Properties at the Villages Holdings, LLC                    $646,758.00                                                                          $646,758.00

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                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                Amount
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1327    5/30/2019            Promise Properties of Shreveport, LLC                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1332    5/30/2019               Vidalia Real Estate Partners, LLC                          $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1335    5/30/2019                 Promise Hospital of Lee, Inc.                            $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1338    5/30/2019              Promise Hospital of Salt Lake, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1339    5/30/2019    Promise Behavioral Health Hospital of Shreveport, Inc.                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1343    5/30/2019             Promise Rejuvenation Centers, Inc.                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1345    5/30/2019          Professional Rehabilitation Hospital, L.L.C.                    $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1346    5/30/2019              Promise Healthcare Holdings, Inc.                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1350    5/30/2019            Promise Hospital of Baton Rouge, Inc.                         $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1351    5/30/2019                   Promise Healthcare, Inc.                               $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1353    5/30/2019            Promise Healthcare of California, Inc.                        $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1359    5/30/2019                Promise Properties of Lee, Inc.                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1364    5/31/2019                   Success Healthcare, LLC                                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1368    5/30/2019                     HLP Properties, Inc.                                 $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1383    5/30/2019                   HLP of Los Angeles, LLC                                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1385    5/30/2019              Promise Hospital of Phoenix, Inc.                           $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1398    5/30/2019                  Success Healthcare 2, LLC                               $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                          1344    5/30/2019                      LH Acquisition, LLC                                 $646,758.00                                                                          $646,758.00




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                                                                                                                                                    Current Priority Current Secured                      Current Admin Total Current
              Creditor Name and Address   Claim No. Claim Date                           Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
Stewart B. Barmen IRA Rollover
Stewart B Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1352    5/30/2019                     Quantum Health, Inc.                                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue
Unit 3
Pittsburgh, PA 15232                        1340    5/30/2019                         PH-ELA, Inc.                                    $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1260    5/30/2019                  St. Alexius Properties, LLC                            $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1324    5/30/2019              Promise Hospital of Vicksburg, Inc.                        $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1328    5/30/2019                Promise Healthcare Group, LLC                            $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1330    5/30/2019             HLP Properties at the Villages, L.L.C.                      $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1341    5/30/2019                Promise Hospital of Dade, Inc.                           $646,758.00                                                                          $646,758.00
STEWART B. BARMEN IRA ROLLOVER
STEWART B. BARMEN
5301 FIFTH AVENUE, UNIT 3
PITTSBURGH, PA 15232                        1342    5/30/2019              St. Alexius Hospital Corporation #1                        $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1347    5/30/2019                     HLP HealthCare, Inc.                                $646,758.00                                                                          $646,758.00
Stewart B. Barmen IRA Rollover
Stewart B. Barmen
5301 Fifth Avenue, Unit 3
Pittsburgh, PA 15232                        1348    5/30/2019    PHG Technology Development and Services Company, Inc.                $646,758.00                                                                          $646,758.00
STORER EQUIPMENT CO LTD
PO BOX 6761
SHREVEPORT, LA 71136                        1450    5/31/2019             Promise Properties of Shreveport, LLC                         $4,607.05                                                                            $4,607.05
Stout, Rainy J
16941 Green Lane #1
Huntington Beach, CA 92649                  374      1/9/2019                Promise Healthcare Group, LLC                                                $1,230.76                                                          $1,230.76
STRAUCH, GERALD O.
380 GREEN BAY ROAD, APARTMENT 1-C
WINNETKA, IL 60093                          1537    6/13/2019                Promise Healthcare Group, LLC                            $201,000.00                                                                          $201,000.00
STREAMLINE VERIFY, LLC
100 BOULEVARD OF THE AMERICAS
LAKEWOOD, NJ 08701                          1106    5/24/2019                Promise Healthcare Group, LLC                              $1,937.78                                                                            $1,937.78
STRONG'S BACKHOE SERVICE, INC.
9440 LINWOOD AVE.
SHREVEPORT, LA 71106                         26     11/19/2018               Promise Healthcare Group, LLC                             $35,375.00                                                                           $35,375.00


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                 Creditor Name and Address                Claim No. Claim Date                       Debtor                                Unsecured Claim                                           Admin Priority
                                                                                                                                                                  Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                               Amount                                                   Amount
Stryker Corporation, Sage Products
Purkey & Associates, PLC
Lori L Purkey
5955 West Main St., Ste. 236
Kalamazoo, MI 49009                                         1419    5/31/2019            Promise Healthcare Group, LLC                               $2,163.00                                                                            $2,163.00
Stryker Instruments, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                         192     12/12/2018           Promise Healthcare Group, LLC                               $1,184.86                                                                            $1,184.86
Stryker Instruments, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                         197     12/12/2018           Promise Healthcare Group, LLC                               $1,184.86                                                                            $1,184.86
Stryker Medical, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                         355     1/10/2019            Promise Healthcare Group, LLC                             $13,379.10                                                                            $13,379.10
Stryker Orthopaedics, a Division of Stryker Corporation
c/o Lori L Purkey
Purkey & Associates, PLC
5955 West Main Street, Suite 236
Kalamazoo, MI 49009                                         485      2/7/2019            Promise Healthcare Group, LLC                             $10,697.35                                                                            $10,697.35
Stuttgart, LP
3 Greenway Plaza, Suite 1000
Houston, TX 77046                                           851     5/14/2019            Promise Healthcare Group, LLC                           $1,696,448.00                                                                        $1,696,448.00
SUMMAGE, TRACY
2624 HORACEK RD
HAUGHTON, LA 71037-8337                                     814     5/13/2019            Promise Healthcare Group, LLC                                                     $0.00                                                              $0.00
Summage, Tracy D.
2624 Horacek Rd
Haughton, LA 71037                                          825     5/13/2019            Promise Healthcare Group, LLC                               $4,500.00                                                                            $4,500.00
SUN, DANIEL AND ALICE
4821 LAUREL STREET
BELLAIRE, TX 77401                                          852     5/14/2019            Promise Healthcare Group, LLC                            $180,952.00                                                                           $180,952.00

Superior Acquisitions, LLC d/b/a Superior Equipment Co.
Steven M. Hamburg
231 So. Bemiston Ave Suite 1111
St. Louis, MO 63105                                         320     12/27/2018         St. Alexius Hospital Corporation #1                            $841.76                                                                              $841.76
Surgical Direct Inc.
2355 Centerline Industrial Dr
St. Louis, MO 63146                                         755      5/7/2019            Promise Healthcare Group, LLC                             $50,078.27                                                                            $50,078.27
Surgical Evolution Inc.
Gardener, Riechmann & Chow
438 E. Katella Ave., Suite 202
Orange, CA 92867                                            640     3/18/2019       Promise Hospital of East Los Angeles, L.P.                     $19,751.00                                                                            $19,751.00
Surgical Evolution Inc.
Gardener, Riechmann & Chow
438 E. Katella Ave., Suite 202
Orange, CA 92867                                            649     3/20/2019       Promise Hospital of East Los Angeles, L.P.                     $19,751.00                                                                            $19,751.00
Surgical Program Development, LLC
18000 Studebaker Road, # 700
Cerritos, CA 90703                                          897     5/21/2019               Promise Healthcare, Inc.                            $45,900,000.00                                                                       $45,900,000.00


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                                                                                                                                                            Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                           Amount                                                 Amount
Surgical Program Development, LLC
18000 Studebaker Road, #700
Cerritos, CA 90703                                     898     5/21/2019              Success Healthcare 1, LLC                           $45,900,000.00                                                                         $45,900,000.00
SW General, Inc.
Danelle Kelling
8465 N. Pima Road
Scottsdale, AZ 85258                                   1146    5/30/2019          Promise Hospital of Phoenix, Inc.                          $42,339.69                                                                             $42,339.69
Sysco Arizona, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      566     2/21/2019          Promise Hospital of Phoenix, Inc.                               $7.06                                              $4,793.29                        $4,800.35
Sysco Kansas City Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      569     2/20/2019             Promise Healthcare #2, LLC                                $8,680.23                                            $10,660.17                      $19,340.40
Sysco Los Angeles, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      559     2/20/2019              Promise Healthcare, Inc.                                 $8,562.13                                            $14,533.74                      $23,095.87
Sysco Los Angeles, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      567     2/20/2019              Success Healthcare 1, LLC                                                                                     $31,562.36                      $31,562.36
Sysco North Texas, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      563     2/20/2019              Promise Healthcare, Inc.                                                                                       $3,074.96                        $3,074.96
Sysco South Florida, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      562     2/20/2019              Promise Healthcare, Inc.                                 $5,709.55                                                            $12,171.75      $17,881.30
Sysco West Coast Florida Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      564     2/20/2019             Promise Healthcare #2, LLC                                 $233.19                                              $4,687.47                        $4,920.66
Sysco West Texas, a division of Sysco USA I, Inc.
Arnall Golden Gregory LLP
c/o Frank N. White
171 17th Street NW, Suite 2100
Atlanta, GA 30363                                      565     2/20/2019        Promise Hospital of Wichita Falls, Inc.                        $2,955.71                                            $13,318.18                      $16,273.89
Talbot Group, LLC
11741 W. ROMIN ROAD
POST FALLS, ID 83854-4716                              402     1/17/2019         St. Alexius Hospital Corporation #1                         $58,807.16                                                                             $58,807.16
Talbot Group, LLC
11741 W. ROMIN ROAD
POST FALLS, ID 83854-4716                              413     1/17/2019              Promise Healthcare, Inc.                               $55,459.05                                                                             $55,459.05
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                                  1018    5/29/2019         Promise Hospital of Vicksburg, Inc.                           $3,406.33                                              $353.10                         $3,759.43


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                Creditor Name and Address   Claim No. Claim Date                          Debtor                                    Unsecured Claim                                        Admin Priority
                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                Amount
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1022    5/29/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                   $36.82                                                                               $36.82
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1025    5/29/2019                  Success Healthcare 1, LLC                                 $3,497.43                                                $53.47                      $3,550.90
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1037    5/29/2019                  Promise Healthcare, Inc.                                  $4,475.21                                             $1,037.55                      $5,512.76
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1042    5/29/2019                  Success Healthcare 1, LLC                                  $559.55                                                                              $559.55
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1044    5/29/2019            Promise Hospital of Wichita Falls, Inc.                         $2,400.19                                              $691.50                       $3,091.69
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1088    5/29/2019           Promise Hospital of Overland Park, Inc.                          $5,111.48                                              $990.97                       $6,102.45
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1089    5/29/2019       Promise Hospital of Florida at The Villages, Inc.                     $862.53                                                                              $862.53
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1097    5/29/2019               Promise Hospital of Dade, Inc.                               $6,306.21                                             $1,465.12                      $7,771.33
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1098    5/29/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                 $4,523.94                                              $693.24                       $5,217.18
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1112    5/29/2019            Promise Hospital of Baton Rouge, Inc.                             $36.94                                                                               $36.94
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1126    5/29/2019              Promise Hospital of Phoenix, Inc.                             $7,992.14                                             $1,125.82                      $9,117.96
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1132    5/29/2019             Promise Hospital of Louisiana, Inc.                            $5,880.53                                                                            $5,880.53
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1162    5/29/2019               Promise Hospital of Dallas, Inc.                             $1,339.09                                              $203.55                       $1,542.64
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1164    5/29/2019            Promise Hospital of Baton Rouge, Inc.                           $8,438.53                                              $342.03                       $8,780.56
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1165    5/29/2019                Promise Hospital of Lee, Inc.                               $7,322.24                                             $3,614.60                     $10,936.84
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1168    5/29/2019              Promise Hospital of Salt Lake, Inc.                          $10,358.99                                             $4,721.00                     $15,079.99
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1169    5/29/2019                  Promise Healthcare, Inc.                                 $17,807.36                                             $1,531.87                     $19,339.23
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1170    5/29/2019                  Promise Healthcare, Inc.                                 $47,653.52                                            $11,913.38                     $59,566.90
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1247    5/29/2019          Promise Hospital of East Los Angeles, L.P.                         $113.90                                               $349.54                        $463.44

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                Creditor Name and Address   Claim No. Claim Date                       Debtor                                 Unsecured Claim                                         Admin Priority
                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                 Amount
Taylor Communications Inc
600 Albany St
Dayton, OH 45417-3405                         1250    5/29/2019       Promise Hospital of East Los Angeles, L.P.                     $19,603.71                                             $4,994.47                     $24,598.18
TEAM MEDICAL
3421 GARY DRIVE
PLANO, TX 75023                               1446    5/28/2019        Promise Hospital of Wichita Falls, Inc.                       $10,200.00                                                                           $10,200.00
Tech Electronics Inc.
6437 Manchester Ave
St. Louis, MO 63139                           232     12/17/2018           Promise Healthcare Group, LLC                               $789.42                                                                              $789.42
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                            1079    5/24/2019          Promise Hospital of Louisiana, Inc.                          $3,127.27                                                                            $3,127.27
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                            1087    5/24/2019             HLP Properties of Vidalia, LLC                            $1,800.00                                                                            $1,800.00
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                            1092    5/24/2019          Promise Hospital of Vicksburg, Inc.                          $2,250.00                                                                            $2,250.00
TECHSCAN, INC
PO BOX 189
MANCHACA, TX 78652                            1094    5/24/2019            Promise Healthcare Group, LLC                              $2,250.00                                                                            $2,250.00
TEG Architects LLC
426 E. Court Ave.
Jeffersonville, IN 47130                      1302    5/30/2019          Promise Hospital of Louisiana, Inc.                         $40,163.83                                                                           $40,163.83
Teleflex Medical Inc.
3015 Carrington Mill Blvd, Suite 300
Morrisville, NC 27560-8871                    622      3/7/2019            Promise Healthcare Group, LLC                               $379.89                                                                              $379.89
Telnet-Rx Inc.
3940 Prospect Ave, Suite R
Yorba Linda, CA 92886                         582     2/25/2019            Promise Healthcare Group, LLC                                                $5,008.15                                                          $5,008.15
Temp-Con LLC
Attn: Sarah Dawson
15670 S Keeler Street
Olathe, KS 66062                              914     5/22/2019        Promise Hospital of Overland Park, Inc.                        $2,580.47                                             $6,360.00                      $8,940.47
TENACORE HOLDINGS INC.
MARK BRUCKS
1525 E. EDINGER AVE.
SANTA ANA, CA 92705                           480      2/5/2019            Promise Healthcare Group, LLC                             $14,745.47                                                                           $14,745.47
TERRACON CONSULTANTS, INC
P.O. BOX 959673
ST. LOUIS, MO 63195-9673                      901     5/20/2019               Promise Healthcare, Inc.                                $6,170.00                                                                            $6,170.00
Terracon Consultants, Inc.
Attn: Megan Thomas
10841 S. Ridgeview Rd.
Olathe, KS 66061                              911     5/20/2019               Promise Healthcare, Inc.                                                                                                      $6,170.00      $6,170.00
Texas Carpet Outlet
2801 Kell Blvd
Wichita Falls, TX 76308                       193     12/12/2018           Promise Healthcare Group, LLC                              $1,811.46                                                                            $1,811.46
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O Box 12548
Austin, TX 78711-2548                         1730    3/10/2020                  LH Acquisition, LLC                                                                                       $10,457.89                     $10,457.89




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              Creditor Name and Address           Claim No. Claim Date                          Debtor                                  Unsecured Claim                                         Admin Priority
                                                                                                                                                             Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                            Amount                                                 Amount
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                               1729    3/10/2020               Promise Hospital of Dallas, Inc.                                                                                 $10,457.89                     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                               1731    3/10/2020    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                     $10,457.89                     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                               1732    3/10/2020                  Promise Healthcare, Inc.                                                                                                      $10,457.89     $10,457.89
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548                               1734    3/10/2020           Promise Hospital of Wichita Falls, Inc.                                                                                              $10,457.89     $10,457.89
TEXAS FLYING LEGENDS MUSEUM'S ASSIGNED INTEREST
FROM MARCO LP (#95 & #137)
3 GREENWAY PLZ STE 1000
HOUSTON, TX 77046-0333                              854     5/14/2019              Promise Healthcare Group, LLC                            $7,916,667.00                                                                         $7,916,667.00
Texas Health and Human Services Commission
Leslea Pickle
4900 North Lamar Blvd
Austin, TX 78751                                    457     1/29/2019              Promise Healthcare Group, LLC                               $7,940.96                                                                             $7,940.96
Texas Health and Human Services Commission
Leslea Pickle
4900 North Lamar Blvd
Austin, TX 78751                                    746      5/6/2019              Promise Healthcare Group, LLC                               $7,940.96                                                                             $7,940.96
The Advisory Board Company
Attn:CDM
185 Asylum Street 03B
Hartford , CT 06103                                 222     12/18/2018                Success Healthcare 1, LLC                              $119,821.15                                                                           $119,821.15
The Advisory Board Company
The Advisory Board Company/UHC
Attn: CDM 03B
185 Asylum Street
Hartford, CT 06103                                  221     12/18/2018                Success Healthcare 1, LLC                              $119,821.15                                                                           $119,821.15
The Berke Group, LLC
2970 Peachtree Road NW, Suite 300
Atlanta, GA 30305                                   546     2/18/2019              Promise Healthcare Group, LLC                                                                                      $5,000.00                      $5,000.00
The City of Paramount, et al.
City Attorney, John Cavanaugh, Esq.
16400 Colorado Avenue
Paramount, CA 90723                                 465      2/4/2019              Promise Healthcare Group, LLC                             $297,161.83                                                                           $297,161.83
The City of Paramount, et al.
John Cavanaugh, Esq., City Attorney
16400 Colorado Avenue
Paramount, CA 90723                                 476      2/5/2019              Promise Healthcare Group, LLC                             $297,161.83                                                                           $297,161.83
The Next Level of Performance
DBA NLP Aqua Solutions
Attn: General Counsel
PO Box 110514
Lakewood Ranch, FL 34211                            779      5/9/2019                Promise Hospital of Lee, Inc.                                                                                  $435,396.84                    $435,396.84

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                                                                                                                                                    Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                  Amount                                                  Amount
The Spectranetics Corporation
Philips IGT
9965 Federal Dr
Colorado Springs, CO 80921                     557     2/22/2019            Promise Healthcare Group, LLC                             $13,605.00                                                                           $13,605.00
The Talbot Group LLC
11741 W Romin Rd
Post Falls , ID 83854                          412     1/17/2019              Success Healthcare 1, LLC                               $38,875.00                                                                           $38,875.00
The Ultimate Software Group, Inc.
Akerman, LLP
c/o D. Brett Marks, Esq.
350 East Las Olas Blvd., Suite 1600
Fort Lauderdale, FL 33301                      1693    1/28/2020              Success Healthcare 1, LLC                                                                                                     $13,796.00     $13,796.00
The Ultimate Software Group, Inc.
c/o D. Brett Marks, Esq.
350 East Las Olas Blvd., Suite 1600
Fort Lauderdale, FL 33301                      1699    1/28/2020               Success Healthcare, LLC                                                                                                      $13,796.00     $13,796.00
The Vascular Lab LLC
7648 Picardy Ave. Ste. 100
Baton Rouge, LA 70808                           11     11/14/2018           Promise Healthcare Group, LLC                              $6,575.00                                                                            $6,575.00
THE VILLAGES DAILY SUN
1020 LAKE SUMMER LANDING
THE VILLAGES, FL 32162                         729      5/6/2019            Promise Healthcare Group, LLC                              $8,062.31                                                                            $8,062.31
THERXSERVICES, INC.
ATTN: NANCY KILLIAN
P.O. BOX 76063
TAMPA, FL 33675                                545     2/18/2019            Promise Hospital of Dade, Inc.                            $94,854.87                                                                           $94,854.87
Thomas & Company
Attn: Kathy Wilson
P.O. Box 280100
Nashville, TN 37228                            874     5/17/2019            Promise Healthcare Group, LLC                              $4,652.45                                                                            $4,652.45
Thomson Reuters
610 Opperman Drive
Eagan, MN 55123                                524      2/7/2019            Promise Healthcare Group, LLC                             $13,228.00                                                                           $13,228.00
ThyssenKrupp Elevator Corp.
c/o Law Office of D. Park Smith
250 Cherry Springs Road, Suite 200
Hunt, TX 78024                                  76     11/29/2018         St. Alexius Hospital Corporation #1                         $39,774.12                                                                           $39,774.12
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                             15     11/26/2018              Promise Healthcare, Inc.                                $1,113.92                                                                            $1,113.92
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                             16     11/26/2018              Promise Healthcare, Inc.                                  $216.17                                                                             $216.17
Time Warner Cable
7820 Crescent Executive Drive 1st Floor
Charlotte, NC 28217                            429     1/23/2019            Promise Healthcare Group, LLC                                $393.08                                                                             $393.08
TimeKeeping Systems, Inc.
Accounts Receivable
30700 Bainbridge Rd, Ste H
Solon, OH 44139                                620      3/8/2019       Promise Hospital of East Los Angeles, L.P.                      $2,131.59                                                                            $2,131.59
Tirmizi, Syed Omar
4340 Overland Avenue
Culver City, CA 90230                          417     1/21/2019            Promise Healthcare Group, LLC                                               $14,300.00                                                         $14,300.00
TOLEDO OFFICE EQUIPMENT
111 WEST OLIVE DRIVE
#B
SAN YSIDRO, CA 92173                           728      5/6/2019            Promise Healthcare Group, LLC                                $354.23                                                                             $354.23

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                Creditor Name and Address                   Claim No. Claim Date                       Debtor                                Unsecured Claim                                          Admin Priority
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TOLEDO OFFICE EQUIPMENT
111 WEST OLIVE DRIVE
#B
SAN YSIDRO, CA 92173                                          736      5/6/2019            Promise Healthcare Group, LLC                                                                                                      $354.23       $354.23
Topps Paving & Sealing LLC
11502 Dorsett Rd.
Maryland Heights, MO 63043                                     50     11/26/2018           Promise Healthcare Group, LLC                             $16,790.00                                                                           $16,790.00
TOTAL ENVIRONMENTAL MANAGEMENT INC
1415 N BURTON PLACE
ANAHEIM, CA 92806                                             968     5/23/2019            Promise Healthcare Group, LLC                             $12,600.00                                                                           $12,600.00
Total Scope, Inc.
17 Creek Parkway
Upper Chichester, PA 19061                                    398     1/16/2019               Success Healthcare 1, LLC                               $3,750.00                                                                            $3,750.00
TouchPoint Medical
Commercial Collection Corp of NY
34 Seymour St
Tonawanda, NY 14150                                           1557     7/1/2019            Promise Healthcare Group, LLC                             $14,951.96                                                                           $14,951.96
Trans Life, Inc.
c/o Law Office of Michael Berger
9454 Wilshire Blvd., 6th Floor
Beverly Hills, CA 90212                                       483      2/6/2019               Success Healthcare 1, LLC                             $117,808.59                                                                          $117,808.59
Trans Life, Inc.
c/o Law Office of Michael Berger
9454 Wilshire Blvd., 6th Floor
Beverly Hills, CA 90212                                       484      2/6/2019            Promise Healthcare Group, LLC                            $117,808.59                                                                          $117,808.59
TRANS STAR AMBULANCE
4312 CALL FIELD ROAD
WICHITA FALLS, TX 76308                                       187     12/11/2018        Promise Hospital of Wichita Falls, Inc.                      $17,415.50                                                                           $17,415.50
TriMed, Inc.
27533 Avenue Hopkins
Santa Clarita, CA 91355                                       345      1/8/2019                HLP of Los Angeles, LLC                                $5,009.42                                                                            $5,009.42
True-See Systems, LLC
Attn: Patti O. Kemp
5146 Murphy Drive
Metairie, LA 70006                                            229     12/14/2018           Promise Healthcare Group, LLC                                $941.15                                                                             $941.15
True-See Systems, LLC
Attn: Patti O. Kemp
5146 Murphy Drive
Metairie, LA 70006                                            826     5/13/2019            Promise Healthcare Group, LLC                                $941.15                                                                             $941.15
Truly Nolen Branch 079
432 S. Williams Blvd.
Tucson, AZ 85711                                              876     5/17/2019             Promise Hospital of Lee, Inc.                             $1,049.40                                                                            $1,049.40
Trustaff Travel Nurses, LLC
Gary F. Franke Co., L.P.A.
120 East Fourth Street, Suite 1040
Cincinnati, OH 45202                                          686     4/10/2019        Promise Hospital of Overland Park, Inc.                       $13,388.06                                                                           $13,388.06
TWC Services, Inc.
PO Box 1612
Des Moines, IA 50306-1612                                     644     3/21/2019             Promise Hospital of Lee, Inc.                             $1,241.93                                                                            $1,241.93
U.S. Department of Health and Human Services, Centers for
Medicare & Medicaid Services
Eric Wolfish, HHS Ass't Regional Counsel
801 Market Street, Suite 9700
Philadelphia, PA 19107                                        1565    7/11/2019         Promise Hospital of Baton Rouge, Inc.                       $108,707.55                                                                          $108,707.55




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                Creditor Name and Address                   Claim No. Claim Date                         Debtor                                Unsecured Claim                                           Admin Priority
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U.S. Department of Health and Human Services, Centers for
Medicare & Medicaid Services
Eric Wolfish, HHS Ass't Regional Counsel
801 Market Street, Suite 9700
Philadelphia, PA 19107                                        1567    7/11/2019                   Quantum Health, Inc.                               $1,481,467.36                                                                        $1,481,467.36
U.S. Med-Equip, LLC
7028 Gessner Rd
Houston, TX 77040                                             295     12/26/2018           Promise Hospital of Louisiana, Inc.                          $3,701.96                                                                             $3,701.96
Uline Shipping Supplies
12575 Uline Drive
Pleasant Prairie, WI 53158                                    774      5/9/2019              Promise Healthcare Group, LLC                                $685.78                                                                              $685.78
Ulrich Medical USA Inc
18221 Edison Ave.
Chesterfield, MO 63005                                        164     11/30/2018             Promise Healthcare Group, LLC                             $18,811.92                                                                            $18,811.92
UMA N. AGGARWAL TRUST
9792 OLD WARSON ROAD
ST. LOUIS, MO 63124                                           1462    5/31/2019              Promise Healthcare Group, LLC                            $187,225.00                                                                           $187,225.00
United Healthcare Insurance Company
ATTN: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             25     11/19/2018         Promise Hospital of Baton Rouge, Inc.                            $996.19                                                                              $996.19
United Medical Staffing, Inc.
109 South College Rd.
Lafayette, LA 70503                                           372     1/11/2019          Promise Hospital of Baton Rouge, Inc.                          $2,299.06                                                                             $2,299.06
United Regional Health Care System
1600 11th Street
Wichita Falls, TX 76301                                       581     2/21/2019              Promise Healthcare Group, LLC                            $341,812.01                                                                           $341,812.01
United Regional Physician Group
PO Box 9261
Wichita Falls, TX 76308                                       1005    5/23/2019              Promise Healthcare Group, LLC                                 $11.28                                                                               $11.28
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             24     11/19/2018             Promise Hospital of Dade, Inc.                           $141,174.64                                                                           $141,174.64
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             33     11/21/2018     Promise Hospital of Florida at The Villages, Inc.                $221,004.83                                                                           $221,004.83
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             34     11/21/2018              Promise Hospital of Lee, Inc.                           $147,521.06                                                                           $147,521.06
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             35     11/21/2018           Promise Hospital of Louisiana, Inc.                         $12,309.41                                                                            $12,309.41
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             36     11/21/2018         Promise Hospital of Overland Park, Inc.                       $21,900.00                                                                            $21,900.00
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                             37     11/21/2018            Promise Hospital of Phoenix, Inc.                           $9,774.25                                                                             $9,774.25




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                                                                                                                                               Amount                                                Amount
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                      38     11/21/2018            Promise Hospital of Salt Lake, Inc.                            $548.44                                                                             $548.44
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                      53     11/27/2018          Promise Hospital of Wichita Falls, Inc.                        $1,688.24                                                                            $1,688.24
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                      62     11/27/2018           St. Alexius Hospital Corporation #1                          $11,018.84                                                                           $11,018.84
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                      64     11/27/2018                Success Healthcare 1, LLC                               $56,560.14                                                                           $56,560.14
UnitedHealthcare Insurance Company
Attn: CDM/Bankruptcy
185 Asylum Street - 03B
Hartford, CT 06103                                      65     11/27/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.              $16,061.75                                                                           $16,061.75
UNIVERSAL METRO, INC.
12253 E. FLORENCE AVE
SANTA FE SPRINGS, CA 90670                             155     12/5/2018              Promise Healthcare Group, LLC                               $4,883.72                                                                            $4,883.72
US Foods, Inc.
Bryan Cave Leighton Paisner, LLP
Leslie A. Bayles
161 North Clark Street, Suite 4300
Chicago, IL 60601                                      1408    5/31/2019           Promise Hospital of Baton Rouge, Inc.                          $1,728.99                          $3,973.48         $10,019.36                     $15,721.83
US Foods, Inc.
Bryan Cave Leighton Paisner, LLP
Leslie A. Bayles
161 North Clark Street, Suite 4300
Chicago, IL 60601                                      1413    5/31/2019             Promise Hospital of Louisiana, Inc.                          $1,928.36                         $12,545.57         $35,655.08                     $50,129.01
US Foods, Inc.
Leslie A. Bayles
Bryan Cave Leighton Paisner, LLP
161 North Clark Street, Suite 4300
Chicago, IL 60601                                      1412    5/31/2019            Promise Hospital of Ascension, Inc.                           $1,728.99                          $3,973.48         $10,019.36                     $15,721.83
US Foods, Inc.
Leslie A. Bayles, Bryan Cave Leighton Paisner, LLP
161 North Clark Street, Suite 4300
Chicago, IL 60601                                      1414    5/31/2019      Promise Hospital of Florida at The Villages, Inc.                                                      $3,500.00          $3,000.00                      $6,500.00
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     283     12/26/2018          Promise Hospital of Baton Rouge, Inc.                             $41.14                                                                              $41.14
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     284     12/26/2018            Promise Hospital of Vicksburg, Inc.                         $38,678.90                                                                           $38,678.90
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     290     12/26/2018             Promise Healthcare Group, LLC                                 $883.30                                                                             $883.30
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     294     12/26/2018              Promise Hospital of Dallas, Inc.                           $3,892.85                                                                            $3,892.85
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                                     299     12/26/2018          Promise Hospital of Wichita Falls, Inc.                        $1,830.96                                                                            $1,830.96

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                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                        Amount                                                Amount
US Med-Equip, LLC
7028 Gessner Rd
Houston , TX 77040                              296     12/26/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.               $1,602.08                                                                            $1,602.08
US Med-Equip,LLC
7028 Gessner Rd
Houston, TX 77040                               292     12/26/2018         Promise Hospital of Overland Park, Inc.                        $21,428.44                                                                           $21,428.44
US Med-Equip,LLC
7028 Gessner Rd
HOUSTON, TX 77040                               293     12/26/2018             Promise Healthcare Group, LLC                               $8,288.96                                                                            $8,288.96
USOC MEDICAL
KIM GRAY
20 MORGAN
IRVINE, CA 92618                                 47     11/26/2018             Promise Healthcare Group, LLC                              $46,260.42                                                                           $46,260.42
Utah Dept of Health, Health Care Financing
Bureau of Financial Services
PO Box 143104
 84114-3104                                     1583    7/15/2019             Promise Hospital of Salt Lake, Inc.                                          $121,813.89                                                        $121,813.89
Utah Dept. of Health, Health Care Financing
PO Box 143104
Salt Lake City, UT 84114-3104                   1702    1/31/2020             Promise Hospital of Salt Lake, Inc.                                                                                               $30,608.34     $30,608.34
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                    59     11/27/2018             Promise Healthcare Group, LLC                                  $30.33            $96.80        $5,018.88                                         $5,146.01
V.C. MEDICAL ENTERPRISES
VIRGINIA K. CASABAR
2223 HILL DRIVE
LOS ANGELES, CA 90041                           161     12/6/2018              Promise Healthcare Group, LLC                              $15,009.00                                                                           $15,009.00
V.C. MEDICAL ENTERPRISES
VIRGINIA K. CASABAR
2223 HILL DRIVE
LOS ANGELES, CA 90041                           162     12/6/2018              Promise Healthcare Group, LLC                              $43,822.00                                                                           $43,822.00
VAC-TEC, INC.
301 SKYWAY DR.
EULESS, TX 76040                                208     12/10/2018             Promise Healthcare Group, LLC                               $4,588.18                                                                            $4,588.18
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                            946     5/23/2019                Promise Healthcare #2, LLC                                                               $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                            948     5/23/2019                    HLP HealthCare, Inc.                                                                 $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                            950     5/23/2019             Promise Healthcare Holdings, Inc.                                                           $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                            952     5/23/2019               Promise Hospital of Dallas, Inc.                                                          $5,348,316.57                                      $5,348,316.57




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                 Creditor Name and Address   Claim No. Claim Date                          Debtor                                 Unsecured Claim                                       Admin Priority
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                                                                                                                                      Amount                                               Amount
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           958     5/23/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                            $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           962     5/23/2019               Promise Healthcare Group, LLC                                                           $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           963     5/23/2019                         PH-ELA, Inc.                                                                  $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           970     5/23/2019            Promise Hospital of Baton Rouge, Inc.                                                      $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           972     5/23/2019       Promise Hospital of Florida at The Villages, Inc.                                               $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           980     5/23/2019          Promise Hospital of East Los Angeles, L.P.                                                   $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           981     5/23/2019                   Success Healthcare, LLC                                                             $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           982     5/23/2019             Promise Hospital of Ascension, Inc.                                                       $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           985     5/23/2019           Promise Hospital of Overland Park, Inc.                                                     $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           988     5/23/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                            $5,348,316.57                                     $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                           989     5/23/2019             Promise Hospital of Louisiana, Inc.                                                       $5,348,316.57                                     $5,348,316.57




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Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          990     5/23/2019           Promise Hospital of Phoenix, Inc.                                                        $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          992     5/23/2019              Promise Hospital of Lee, Inc.                                                         $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          993     5/23/2019       Professional Rehabilitation Hospital, L.L.C.                                                 $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          994     5/23/2019           Promise Hospital of Salt Lake, Inc.                                                      $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          995     5/23/2019                 Quantum Health, Inc.                                                               $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          996     5/23/2019               Success Healthcare 1, LLC                                                            $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          999     5/23/2019          Promise Hospital of Vicksburg, Inc.                                                       $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          1000    5/23/2019         Promise Hospital of Wichita Falls, Inc.                                                    $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          1001    5/23/2019             Promise Hospital of Dade, Inc.                                                         $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc.
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034                                          1041    5/23/2019         Promise Healthcare of California, Inc.                                                     $5,348,316.57                                      $5,348,316.57
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1021    5/23/2019       Promise Hospital of East Los Angeles, L.P.                                                                                        $106,478.41    $106,478.41




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Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1023    5/23/2019                        PH-ELA, Inc.                                                                                                      $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1024    5/23/2019               Promise Hospital of Lee, Inc.                                                                                              $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1026    5/23/2019              Promise Healthcare Group, LLC                                                                                               $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1027    5/23/2019                Promise Healthcare #2, LLC                                                                                                $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1051    5/23/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                   $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1054    5/23/2019                 Promise Healthcare, Inc.                                                                                                 $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1056    5/23/2019              Promise Hospital of Dade, Inc.                                                                                              $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1057    5/23/2019            Promise Hospital of Ascension, Inc.                                                                                           $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1058    5/23/2019          Promise Hospital of Wichita Falls, Inc.                                                                                         $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1063    5/23/2019          Promise Hospital of Baton Rouge, Inc.                                                                                           $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1064    5/23/2019           Promise Healthcare of California, Inc.                                                                                         $106,478.41    $106,478.41




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                  Creditor Name and Address                 Claim No. Claim Date                          Debtor                                  Unsecured Claim                                       Admin Priority
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                                                                                                                                                      Amount                                               Amount
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1065    5/23/2019             Promise Healthcare Holdings, Inc.                                                                                               $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1066    5/23/2019               Promise Hospital of Dallas, Inc.                                                                                              $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1067    5/23/2019          Promise Hospital of Overland Park, Inc.                                                                                            $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1069    5/23/2019                    HLP HealthCare, Inc.                                                                                                     $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR SPE 1, LLC
Jaffe Raitt Heuer & Weiss, P.C.
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste. 2500
Southfield , MI 48034                                         1073    5/23/2019             Promise Hospital of Louisiana, Inc.                                                                                             $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1009    5/23/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                  $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1028    5/23/2019             Promise Hospital of Vicksburg, Inc.                                                                                             $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1035    5/23/2019             Promise Hospital of Phoenix, Inc.                                                                                               $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1036    5/23/2019                 Success Healthcare 1, LLC                                                                                                   $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1059    5/23/2019             Promise Hospital of Salt Lake, Inc.                                                                                             $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                          1060    5/23/2019                  Success Healthcare, LLC                                                                                                    $106,478.41    $106,478.41




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                  Creditor Name and Address                Claim No. Claim Date                          Debtor                                 Unsecured Claim                                          Admin Priority
                                                                                                                                                                      Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                    Amount                                                  Amount
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                         1061    5/23/2019                    Quantum Health, Inc.                                                                                                       $106,478.41    $106,478.41
Varilease Finance, Inc. as Servicer for VFI KR VPEI, LLC
Jaffe Raitt Heuer & Weiss, PC
Attn: Jay L. Welford, Esq.
27777 Franklin Rd., Ste 2500
Southfield, MI 48034                                         1071    5/23/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                                                                    $106,478.41    $106,478.41
Veolia Water Technologies Inc DBA: Elga
Elga Labwater
5 Earl Court, Unit 100
Woodridge, IL 60517                                          466      2/1/2019               Promise Healthcare Group, LLC                                                                                     $7,058.46                      $7,058.46
Verathon
20001 North Creek Pkwy N
Bothell, WA 98011                                            354      1/9/2019              Promise Hospital of Salt Lake, Inc.                         $12,753.78                                                                           $12,753.78
VHS2008, LLC
c/o Lee C. Kantrow and David S. Rubin
Kantrow Spaht Weaver & Blitzer, APLC
445 N. Blvd. Suite 300
Baton Rouge, LA 70802                                        1476    5/31/2019            Promise Hospital of Baton Rouge, Inc.                                                         $1,008,080.40                                      $1,008,080.40
VIC the PICC Southwest, LLC d/b/a VIC the PICC, LLC
Attn: General Counsel
1351 E. Pine Street
Suite F
Lodi, CA 95240                                               1529    6/10/2019               Promise Healthcare Group, LLC                               $1,680.00                                                                            $1,680.00
VitaHEAT Medical, LLC
Attn: Peter Farmakis
21660 West Field Parkway
Deer Park, IL 60010                                           55     11/27/2018      Promise Hospital of Florida at The Villages, Inc.                   $9,200.00                                                                            $9,200.00
Vitalant f/k/a Blood Systems Inc.
Bhavi Shah -Vitalant
6210 E.Oak Street
Scottsdale, AZ 85257                                         1451    5/29/2019               Promise Healthcare Group, LLC                              $49,861.72                                                                           $49,861.72
VSH2008, LLC
c/o David S. Rubin
PO Box 2997
Baton Rouge, LA 70821-2997                                   147     12/3/2018            Promise Hospital of Baton Rouge, Inc.                        $195,477.90                                                                          $195,477.90
VWR International LLC
100 Matson Ford Rd, Bldg One
Suite 200
Radnor, PA 19082                                             638     3/15/2019               Promise Healthcare Group, LLC                              $14,487.48                                                                           $14,487.48
W.W. Grainger, Inc
401 South Wright Road W4E.C37
Janesville, WI 53546                                         173     12/10/2018           Promise Hospital of Baton Rouge, Inc.                         $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc
401 South Wright Road W4E.C37
Janesville, WI 53546                                         179     12/10/2018              Promise Healthcare Group, LLC                              $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                         174     12/10/2018         Promise Hospital of East Los Angeles, L.P.                      $32,497.25                                                                           $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                                         175     12/10/2018            Promise Hospital of Louisiana, Inc.                          $32,497.25                                                                           $32,497.25




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                 Creditor Name and Address   Claim No. Claim Date                       Debtor                                  Unsecured Claim                                         Admin Priority
                                                                                                                                                     Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                    Amount                                                 Amount
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                           176     12/10/2018             Success Healthcare 1, LLC                               $32,497.25                                                                             $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                           177     12/10/2018         Promise Healthcare Holdings, Inc.                           $32,497.25                                                                             $32,497.25
W.W. Grainger, Inc.
401 South Wright Road W4E.C37
Janesville, WI 53546                           182     12/10/2018                HLP HealthCare, Inc.                                 $32,497.25                                                                             $32,497.25
W.W. Grainger, Inc.
401 South Wright Road
Attn SCD
Janesville, WI 53546                           181     12/10/2018       Promise Properties of Shreveport, LLC                         $32,497.25                                                                             $32,497.25
Walker Medical Linen Services
Attn: David S. Shapiro
2601 E Truman Road
Kansas City, MO 64127                          115     11/27/2018          Promise Healthcare Group, LLC                              $34,465.31                                                                             $34,465.31
Wallace, Robert W
c/o Leslie Quinn Esq. PLLC
7867 SE 12th Circle
Ocala, FL 34480                                326      1/3/2019           Promise Healthcare Group, LLC                                $7,899.71                                                                              $7,899.71
Wassman, Patrick
Avard Law Offices
PO Box 101110
Cape Coral, FL 33910                           370      1/4/2019           Promise Healthcare Group, LLC                           $10,000,000.00                                                                         $10,000,000.00
Watkins, George
5274 Felicia St
Camarillo, CA 93012                            931     5/23/2019               Success Healthcare, LLC                                                                                                      $264,196.00     $264,196.00
Watson, Anthony
4600 Broadway, Apt. 209
St. Louis, MO 63111                            1695    1/28/2020           Promise Healthcare Group, LLC                                                                                                          $0.00           $0.00
Webb Shade Memorial Fund
201 W. Monroe St.
P.O. Box C
Pleasantville, IA 50225                        1417    5/31/2019           Promise Healthcare Group, LLC                            $1,512,208.00                                                                          $1,512,208.00
Weiss Staffing Solutions LLC
c/o Cascade Health Services
1045 Swift Avenue
N Kansas City, MO 64116                        322     12/28/2018       Promise Hospital of Overland Park, Inc.                      $104,200.08                                                                            $104,200.08
Wells Fargo Vendor Financial Services LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                         1284    5/29/2019           Promise Healthcare Group, LLC                                $2,231.22                                                                              $2,231.22
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                         1177    5/29/2019            Promise Hospital of Dallas, Inc.                            $3,363.57                                                                              $3,363.57
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                         1281    5/29/2019            Promise Hospital of Dallas, Inc.                            $2,329.13                                                                              $2,329.13
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                         1286    5/29/2019               Promise Healthcare, Inc.                                 $2,231.22                                                                              $2,231.22




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                 Creditor Name and Address                     Claim No. Claim Date                          Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                         Amount                                                Amount
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                           1297    5/29/2019               Promise Hospital of Dallas, Inc.                          $10,396.19                                                                           $10,396.19
Wells Fargo Vendor Financial Services, LLC
Attn: Kimberly Park
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404                                           1300    5/29/2019                  Success Healthcare, LLC                                $51,627.82                                                                           $51,627.82
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                                  547      2/8/2019                  Promise Healthcare, Inc.                                $9,606.82                                                                            $9,606.82
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                                  552      2/8/2019             Promise Hospital of Louisiana, Inc.                              $0.00                                                                                $0.00
Wells Fargo Vendor Financial Services, LLC
WFVFS - Bankruptcy
PO Box 13708
Macon, GA 31208                                                  1728     3/3/2020                  Promise Healthcare, Inc.                                $3,608.84                                                                            $3,608.84
Westmed dba McCormick Ambulance
PO Box 5004
Mariposa, CA 95338                                               573     2/21/2019              Promise Healthcare Group, LLC                               $2,142.00                                                                            $2,142.00
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                                           20     11/14/2018   Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                  $9,016.27                                         $9,016.27
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                                           21     11/14/2018          Promise Hospital of Wichita Falls, Inc.                                                          $13,656.42                                        $13,656.42
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP
JEANMARIE BAER
PO BOX 8188
WICHITA FALLS, TX 76307                                          396     1/15/2019           Promise Hospital of Wichita Falls, Inc.                                                                                             $13,656.42     $13,656.42
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.
PO BOX 8188
WICHITA FALLS, TX 76307                                          394     1/15/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                     $9,016.27      $9,016.27
WICHITA COUNTY
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.
PO BOX 8188
WICHITA FALLS, TX 76307                                          395     1/15/2019              Promise Healthcare Group, LLC                                                                                                    $22,672.69     $22,672.69
William H.Myers Profit Sharing Plan and Trust fbo William H.
Myers, Trustee
c/o Porter, Wright, Morris & Arthur LLP
9132 Strada Place, 3rd Floor
Naples, FL 34108-2683                                            1282    5/29/2019              Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
WILLIAMS, THERESA
BERGER HARRIS LLP
DAVID B. ANTHONY, ESQUIRE
1105 N. MARKET STREET, 11TH FOOR
WILMINGTON, DELAWARE 19810                                       1184    5/30/2019                 Success Healthcare 1, LLC                              $999,999.99                                                                          $999,999.99


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                 Creditor Name and Address                    Claim No. Claim Date                          Debtor                                Unsecured Claim                                          Admin Priority
                                                                                                                                                                        Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                      Amount                                                  Amount
Williams, Theresa
Berger Harris LLP
David B. Anthony, Esquire
1105 N. Market Street, 11th Floor
Wilmington, DE 19801                                            1185    5/30/2019                   HLP of Los Angeles, LLC                              $999,999.99                                                                          $999,999.99

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford , CT 06103                                             1480    5/31/2019                  Promise Healthcare, Inc.                                                                  $27,644.00                                        $27,644.00

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1486    5/31/2019             Promise Hospital of Louisiana, Inc.                                                            $27,644.00                                        $27,644.00

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1490    5/31/2019               Bossier Land Acquisition Corp.                                                               $27,644.00                                        $27,644.00

Wilmington Trust, National Association, as collateral agent
Shipman & Goodwin LLP
Attn: Marie Pollio
One Constitution Plaza
Hartford, CT 06103                                              1506    5/31/2019           Promise Properties of Shreveport, LLC                                                            $27,644.00                                        $27,644.00
Windstream
1450 N Center Point Rd.
Hiawatha, IA 52233                                              650     3/19/2019              Promise Healthcare Group, LLC                             $261,185.56                                                                          $261,185.56
WISE CONSULTING ASSOCIATES, INC.
C/O DENISE PARKER, DIRECTOR OF ACCOUNTING
54 SCOTT ADAM ROAD
SUITE 206
HUNT VALLEY, MD 21030                                           1530    6/13/2019                  Promise Healthcare, Inc.                                  $481.25                                                                             $481.25
WITH YOU IN MIND PUBLICATIONS
502 N. MAIN STREET
PMB 116
WEATHERFORD, TX 76086                                           802     5/10/2019           Promise Hospital of Wichita Falls, Inc.                          $360.00                                                                             $360.00
WITH YOU IN MIND PUBLICATIONS
502 N. MAIN STREET
PMB 116
WEATHERFORD, TX 76086                                           804     5/10/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                 $360.00                                                                             $360.00
Wolters Kluwer Legal & Regulatory US, A Div. of CCH
Incorporated
Attn: Accounts Receivable
7201 McKinney Circle
Frederick, MD 21704                                              60     11/28/2018            Promise Hospital of Phoenix, Inc.                            $1,536.85                                                                            $1,536.85
Wolters Kluwer Legal & Regulatory US, A Div. of CCH
Incorporated
Attn: Accounts Receivable
7201 McKinney Circle
Frederick, MD 21704                                              61     11/28/2018              Promise Hospital of Dade, Inc.                               $729.08                                                                             $729.08




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                Creditor Name and Address       Claim No. Claim Date                         Debtor                                  Unsecured Claim                                        Admin Priority
                                                                                                                                                         Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                         Amount                                                Amount
Woodbury, Edmund C.
1169 Cherry Street
Winnetka, IL 60093                                1318    5/31/2019             Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00
Worldwide Produce
2652 Long Beach Avenue
Los Angeles, CA 90058                             592     2/25/2019             Promise Healthcare Group, LLC                               $3,100.57                                                                            $3,100.57
XEROX CORPORATION
ATTN: V.O. ADAMS
PO BOX 660506
DALLAS, TX 75266-9937                             663      4/3/2019                 Promise Healthcare, Inc.                              $287,650.48                                                                          $287,650.48
X-Spine Systems Inc.
Goldman Evans and Trammell LLC
10323 Cross Creek Blvd F
Tampa , FL 33647                                  358      1/8/2019             Promise Healthcare Group, LLC                               $3,900.00                                                                            $3,900.00
X-Spine Systems Inc.
Goldman Evans and Trammell LLC
10323 Cross Creek Blvd F
Tampa , FL 33647                                  933     5/23/2019             Promise Healthcare Group, LLC                              $13,750.00                                                                           $13,750.00
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                 371      1/8/2019             Promise Healthcare Group, LLC                                 $500.00        $12,850.00                                                         $13,350.00
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                 1535    6/13/2019             Promise Healthcare Group, LLC                                                $13,350.00                                                         $13,350.00
YEE, BRIAN
10415 SANTA MARTA ST
CYPRESS, CA 90630                                 1536    6/13/2019             Promise Healthcare Group, LLC                                                                                                    $13,350.00     $13,350.00
YOO, JAMIE
20319 BARNARD AVE.
WALNUT, CA 91789                                  625     3/10/2019                Success Healthcare 1, LLC                               $33,046.17                                                                           $33,046.17
YORK, ELINCOLN
6310 REED ROAD
HOUSTON, TX 77087                                 1685    1/21/2020              Promise Hospital of Dallas, Inc.                                                                                                 $3,029.07      $3,029.07
YORK, ELINCOLN
6310 REED ROAD
HOUSTON, TX 77087                                 1686    1/21/2020              Promise Hospital of Dallas, Inc.                           $3,029.07                                                                            $3,029.07
Zaheer Aslam, MD Advanced Psychiatric Care PC
Edward Handy - APC
9400 Gladiolus Dr, Suite 340
Fort Myers, FL 33908                              172     12/6/2018             Promise Healthcare Group, LLC                               $4,877.40                                                                            $4,877.40
Zimbleman, Jamie
12105 Lexington Park Dr Apt 108
Tampa, FL 33626                                   1323    5/30/2019     Promise Rejuvenation Center at the Villages, Inc.                                                                                         $3,000.00      $3,000.00
ZIMBLEMAN, JAMIE
20 JUNIPER PASS WAY
OCALA, FL 34480                                   1239    5/30/2019     Promise Rejuvenation Center at the Villages, Inc.                                     $3,000.00                                                          $3,000.00
Zimmer Biomet
345 East Main Street
Warsaw, IN 46580                                  904     5/22/2019                 Promise Healthcare, Inc.                               $43,099.55                                                                           $43,099.55
Zurich American Insurance Company
PO Box 68549
Schaumburg, IL 60196                              114     11/26/2018            Promise Healthcare Group, LLC                                   $0.00                                                                                $0.00




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                                                                                                                                                Current General                                      Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address                   Claim No. Claim Date                          Debtor                                Unsecured Claim                                       Admin Priority
                                                                                                                                                                   Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                    Amount                                               Amount
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1591    7/15/2019                Promise Healthcare #2, LLC                                                                                                       $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1593    7/15/2019           Promise Hospital of Wichita Falls, Inc.                                                                                               $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1597    7/15/2019                     HLP Properties, Inc.                                                                                                        $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1598    7/15/2019             Promise Hospital of Phoenix, Inc.                                                                                                   $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1600    7/15/2019           Promise Healthcare of California, Inc.                                                                                                $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1602    7/15/2019                  Quantum Properties, L.P.                                                                                                       $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1603    7/15/2019    Promise Skilled Nursing Facility of Wichita Falls, Inc.                                                                                      $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1607    7/15/2019                    Quantum Health, Inc.                                                                                                         $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1609    7/15/2019                    HLP HealthCare, Inc.                                                                                                         $0.00         $0.00




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                                                                                                                                                                      Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address                   Claim No. Claim Date                            Debtor                                  Unsecured Claim                                       Admin Priority
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Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1610    7/15/2019             Promise Properties of Shreveport, LLC                                                                                                   $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1612    7/15/2019                 Promise Hospital of Dallas, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1613    7/15/2019                    HLP of Los Angeles, LLC                                                                                                          $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1617    7/15/2019           Promise Hospital of East Los Angeles, L.P.                                                                                                $0.00         $0.00
Zurich American Insurance Company and Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                             1619    7/15/2019                    Success Healthcare, LLC                                                                                                          $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago , IL 60606                                            1594    7/15/2019    PHG Technology Development and Services Company, Inc.                                                                                            $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1606    7/15/2019        Promise Rejuvenation Center at the Villages, Inc.                                                                                            $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1616    7/15/2019                       LH Acquisition, LLC                                                                                                           $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                             1621    7/15/2019                          PH-ELA, Inc.                                                                                                               $0.00         $0.00




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                Creditor Name and Address               Claim No. Claim Date                          Debtor                                  Unsecured Claim                                       Admin Priority
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Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderon
200 W Madison Street, Suite 3000
Chicago, IL 60606                                         1630    7/15/2019               Bossier Land Acquisition Corp.                                                                                                      $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1626    7/15/2019                Promise Hospital of Lee, Inc.                                                                                                      $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1599    7/15/2019    Promise Skilled Nursing Facility of Overland Park, Inc.                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1608    7/15/2019             Promise Rejuvenation Centers, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1614    7/15/2019         HLP Properties at the Villages Holdings, LLC                                                                                        Unliquidated        $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1615    7/15/2019              Vidalia Real Estate Partners, LLC                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1624    7/15/2019             Promise Hospital of Louisiana, Inc.                                                                                                   $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1625    7/15/2019               Promise Properties of Lee, Inc.                                                                                                     $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1627    7/15/2019            Promise Hospital of Baton Rouge, Inc.                                                                                                  $0.00         $0.00




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                Creditor Name and Address               Claim No. Claim Date                          Debtor                                 Unsecured Claim                                       Admin Priority
                                                                                                                                                                Claim Amount     Claim Amount                       Priority Amount Claim Amount
                                                                                                                                                 Amount                                               Amount
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                         1595    7/15/2019           Promise Hospital of Overland Park, Inc.                                                                                                $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                         1601    7/15/2019                  Promise Healthcare, Inc.                                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street., Suite 3000
Chicago, IL 60606                                         1604    7/15/2019             Promise Hospital of Ascension, Inc.                                                                                                  $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M Anderson
Fox Swibel Levin & Carroll LLP
200 W Madison Street, Suite 3000
Chicago, IL 60606                                         1618    7/15/2019    Promise Behavioral Health Hospital of Shreveport, Inc.                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1620    7/15/2019                HLP Properties of Vidalia, LLC                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1622    7/15/2019                  Success Healthcare 1, LLC                                                                                                       $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1623    7/15/2019              Promise Properties of Dade, Inc.                                                                                                    $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1629    7/15/2019                   HLP of Shreveport, Inc.                                                                                                        $0.00         $0.00
Zurich American Insurance Company Steadfast Insurance
Company
Margaret M. Anderson
Fox Swibel Levin & Carroll LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                         1633    7/15/2019             Promise Hospital of Vicksburg, Inc.                                                                                                  $0.00         $0.00




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                                                                                                                                                              Current Priority Current Secured                      Current Admin Total Current
                Creditor Name and Address                Claim No. Claim Date                         Debtor                                Unsecured Claim                                       Admin Priority
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                                                                                                                                                Amount                                               Amount
Zurich American Insurance Company Steafast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                          1611    7/15/2019           HLP Properties at the Villages, L.L.C.                                                                                               $0.00         $0.00
Zurich American Insurance Company, Steadfast Insurance
Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison, Suite 3000
Chicago, IL 60606                                          1605    7/15/2019      Promise Hospital of Florida at The Villages, Inc.                                                                                         $0.00         $0.00

Zurich Insurance Company Steadfast Insurance Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                          1631    7/15/2019              Promise Hospital of Dade, Inc.                                                                                                    $0.00         $0.00

Zurich Insurance Company Steadfast Insurance Company
Fox Swibel Levin & Carroll LLP
Margaret M. Anderson
200 W. Madison Street, Suite 3000
Chicago, IL 60606                                          1632    7/15/2019            Promise Hospital of Salt Lake, Inc.                                                                                                 $0.00         $0.00




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